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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                   ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,
                                           Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.




        COALITION PLAINTIFFS’ BRIEF IN SUPPORT OF
          MOTION FOR PRELIMINARY INJUNCTION



                            August 3, 2018
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      Plaintiffs Coalition for Good Governance, William Digges III, Laura

Digges, Megan Missett, and Ricardo Davis (the “Coalition Plaintiffs”) file this

Brief in Support of their Motion for Preliminary Injunction.

      INTRODUCTION AND SUMMARY

      Officials from the highest levels of the Federal Government have issued

repeated and increasingly urgent warnings to states like Georgia to not use

electronic voting machines in the upcoming elections and instead to switch to

paper ballots. Defendants stubbornly refuse to take any action, insisting -- against

overwhelming evidence to the contrary -- that Georgia’s system is secure. The

Coalition Plaintiffs are therefore compelled to bring this motion for preliminary

injunctive relief to protect their fundamental right to vote and their rights under the

Equal Protection Clause of the United States Constitution.

      As will be explained below, Georgia AccuVote DRE electronic voting

system is extremely vulnerable to undetectable attack or system error. Plaintiffs

will further show the likelihood of irreparable harm because the results of any

election using the DRE machines is unverifiable and highly likely to be inaccurate.

Moreover, notwithstanding the Secretary’s protestations to the contrary, Georgia

can lawfully switch to a paper ballot system using existing resources with minimal

effort. For these reasons, Defendants should be enjoined through the pendency of

this litigation from using the unverifiable and hopelessly compromised AccuVote

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DRE paperless voting system, and instead should be enjoined to use paper ballots.

         LEGAL STANDARDS

         A.     Granting of a Preliminary Injunction

         Chief Justice Roberts summarized the familiar test for the granting of a

preliminary injunction in Winter v. NRDC, 555 U.S. 7, 20 (2008):1

         A plaintiff seeking a preliminary injunction must establish that he is
         likely to succeed on the merits, that he is likely to suffer irreparable
         harm in the absence of preliminary relief, that the balance of equities
         tips in his favor, and that an injunction is in the public interest.

         These are not rigid requirements to be applied by rote. “The essence of

equity jurisdiction has been the power of the Chancellor to do equity and to mold

each decree to the necessities of the particular case. Flexibility rather than rigidity

has distinguished it.” Weinberger v. Romero–Barcelo, 456 U.S. 305, 312 (1982).

         B.     Procedure and Evidence

         Though discovery in this case has not formally opened and the Defendants

have not answered the Third Amended Complaint, this Motion is not premature.

“The grant of a temporary injunction need not await any procedural steps

perfecting the pleadings or any other formality attendant upon a full-blown trial of

this case.” United States v. Lynd, 301 F.2d 818, 823 (5th Cir. 1962) (Tuttle, J.).



1
    See also Alabama v. U.S. Army Corps of Engineers, 424 F.3d 1117, 1131 (11th Cir. 2005).



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      In considering this Motion, the Court also is permitted to rely upon hearsay

and upon affidavits in lieu of live testimony. “[A] preliminary injunction is

customarily granted on the basis of procedures that are less formal and evidence

that is less complete than in a trial on the merits.” Univ. of Tex. v. Camenisch, 451

U.S. 390, 395 (1981); Levi Strauss & Co. v. Sunrise Int’l Trading, Inc., 51 F.3d

982, 985 (11th Cir. 1995) (at the “preliminary injunction stage, a district court may

rely on affidavits and hearsay materials which would not be admissible evidence

for a permanent injunction”).

      ARGUMENT

      A.     Coalition Plaintiffs Are Likely to Succeed on the Merits

      Plaintiffs are likely to succeed on their claims that the use of Georgia’s DRE

voting system to record votes burdens the Plaintiffs’ fundamental right to vote

(Count One) and violates the Equal Protection Clause (Count Two).

      Plaintiffs’ fundamental-right-to-vote claim is based upon “the right of

qualified voters within a state to cast their ballots and have them counted.” United

States v. Classic, 313 U.S. 299, 315 (1941). “No right is more precious in a free

country than that of having a voice in the election of those who make the laws

under which, as good citizens, we must live. Other rights, even the most basic, are

illusory if the right to vote is undermined.” Wesberry v. Sanders, 376 U.S. 1, 17

(1964).

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      This foundational constitutional right necessarily includes the right to have

one’s vote counted accurately. “Every voter’s vote is entitled to be counted once.

It must be correctly counted and reported.” Gray v. Sanders, 372 U.S. 368, 380

(1963). “Having once granted the right to vote on equal terms, the State may not,

by later arbitrary and disparate treatment, value one person’s vote over that of

another.” Bush v. Gore, 531 U.S. 98, 104-05 (2000).

      States may not, by arbitrary action or other unreasonable impairment, burden

a citizen’s right to vote. Baker v. Carr, 369 U.S. 186, 208 (1962) (“citizen’s right

to a vote free of arbitrary impairment by state action has been judicially recognized

as a right secured by the Constitution”). “[T]he free exercise and enjoyment of the

rights and privileges guaranteed to the citizens by the Constitution and laws of the

United States” entails

      the right and privilege to express by their votes their choice of a
      candidate for Senator and their right to have their expressions of
      choice given full value and effect by not having their votes impaired,
      lessened, diminished, diluted and destroyed by fictitious ballots
      fraudulently cast and counted, recorded, returned, and certified.

United States v. Saylor, 322 U.S. 385, 386 (1944). See also Reynolds v. Sims, 377

U.S. 533, 555 (1964) (“[T]he right of suffrage can be denied by a debasement or

dilution of the weight of a citizen’s vote just as effectively as by wholly prohibiting

the free exercise of the franchise.”).



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        Plaintiffs need not establish at trial, much less at the preliminary injunction

stage of the case, that an impairment of their right to have their votes counted

accurately has already occurred or that it is certain to occur. Instead, Plaintiffs will

prevail at trial with a showing that the burden imposed upon their rights by the

very substantial risk that votes will be miscounted or diluted by the DRE system

outweighs any of the State in insisting upon the continued use of the DRE

machines. Crawford v. Marion County Election Bd., 553 U.S. 181, 190 (2008).

        As to Plaintiffs’ claim under the Equal Protection Clause, the issue is

whether Georgia voters using AccuVote DREs are “less likely to cast an effective

vote” than absentee voters using paper ballots. Wexler v. Anderson, 452 F.3d 1226

(11th Cir. 2006).2 See also Dunn v. Blumstein, 405 U.S. 330, 336 (1972) (“[A]

citizen has a constitutionally protected right to participate in elections on an equal

basis with other citizens in the jurisdiction.”).

        There is a substantial likelihood that Plaintiffs will prevail on both claims.




2
  The Wexler case involved Florida’s use of AccuVote DRE machines, but the plaintiffs there did not
allege or prove that the machines were vulnerable to attack. Instead, the plaintiffs’ theory was that “by
certifying touchscreen voting systems that are incapable of providing for the type of manual recounts
contemplated by Florida law, the defendants have violated the equal protection and due process rights of
voters in touchscreen counties.” 452 F.3d at 1226. In rejecting this claim, the Eleventh Circuit explained
that the allegations Plaintiffs make in this case – that voters using touchscreen systems are less likely to
cast an effective vote than voters using paper ballots – would state an equal protection violation. Id. at
1231.


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            1.     Georgia’s Current DRE System

      The primary features of Georgia’s current DRE system are not in dispute.

The voting system used in Georgia today consists of the Diebold Global Election

Systems (“Diebold”) AccuVote DRE touchscreen voting units (“DREs”), the

Diebold optical scanners for tabulating paper ballots, and the Diebold General

Election Management Software (“GEMS”) for tabulation and reporting of data

generated by DRE and Diebold optical scanners, as well as the electronic pollbook

components and electronic accessories that interface with the vote recording

system. Georgia uses approximately 27,000 Diebold DRE touchscreen voting

machines. (Third Amended Complaint (“TAC”) ¶ 59).

        Each DRE internally contains much of the same hardware that might

typically be found in a very low-end general-purpose personal desktop computer in

use in the early 2000s. (Bernhard Decl. ¶ 11). Georgia’s DREs run a Diebold-

modified version of Microsoft’s Windows CE operating system, the most recent

version run in Georgia is Windows CE 4.1—which Microsoft stopped supporting

in early January 2013. (Bernhard Decl. ¶ 11). As a consequence, Microsoft is no

longer issuing updates or security patches for that software. (Bernhard Decl. ¶ 23).

“As the operating system is over twenty years old, it lags behind the two decades

of computer security research and is extremely vulnerable to a wide variety of

attacks that Diebold’s software, regardless of version, cannot defend against.” Id.

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A proprietary Diebold software application called BallotStation provides the user

interface that voters and poll workers see. BallotStation interacts with the voter,

accepts, records, and tallies votes on the DRE. ( Bernhard Decl. ¶ 21).

      DREs are conﬁgured by inserting a memory card into a slot behind a locked

door on the side of the machine. Before the election, the ﬁle system on the

memory card stores the election deﬁnition, sound ﬁles, interpreted code that is used

to print reports, and other conﬁguration information. When operating properly,

DREs use software to translate the voter’s physical act of touching a particular

place on the touchscreen into a vote for the corresponding candidate or issue,

which vote is then recorded on both the DRE’s removable memory card and

internal flash memory. Both records of the votes are unreadable to humans.

Crucially, Georgia’s DREs do not create or retain any non-electronic record of the

voter’s selections. (Bernhard Decl. ¶ 12; Lamb Decl. ¶ 5).

      Upon the closing of the polls, poll workers cause DREs to interpret collected

electronic vote information, tabulate vote tallies, and convert it to human readable

form to print tallies. The DRE memory cards are removed, secured for transport to

a transmission center, in the case of Fulton County, or to county election offices.

(TAC ¶ 72-73). DRE memory cards are collected and uploaded into the county

election office GEMS server (running on a desktop computer). (TAC ¶ 75).

      Georgia uses paper ballots for mail-in absentee ballots and in-person

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provisional ballots. These paper ballots are scanned and tabulated by Diebold

AccuVote Optical Scan units, located in the county election offices. On election

night, the memory cards from the Diebold AccuVote Optical Scan units are

uploaded to the Diebold GEMS server and combined with the data from the DREs

to create unofficial consolidated results and generate reports in human readable

form. (TAC ¶ 76-78).

        For present purposes, there are two crucial features of Georgia’s election

system that must be re-emphasized. First, DREs, by design, create no non-

electronic record of voter intent. There is no possible way to verify if the DRE

system has correctly recorded and counted the intent of the voters. This is

completely unacceptable for public elections. As Director of Homeland Security

Kirstjen Nielsen recently testified: “You must have a way to audit and verity the

election result.”3 Second – and this is significant in the evaluation of the proposed

remedy – every county in Georgia currently uses the paper ballot/optical scan

system proposed by Plaintiffs. Thus, the remedy of conducting the upcoming

November and December 2018 elections using paper ballots instead of DREs is



3
  Volz, Dustin, and Patricia Zengerle. “Inability to audit U.S. elections a ‘national security concern’:
Homeland chief,”Reuters (March 21, 2018), available at https://www.reuters.com/article/us-usa-trump-
russia-security/inability-to-audit-u-selections-a-national-security-concern-homeland-chief-
idUSKBN1GX200. For a videotape of Secretary Nielsen’s testimony before the Senate, see
https://www.youtube.com/watch?v=lXjYNLJ9yAM&feature=youtu.be (video of testimony at 3:38).


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eminently feasible.

                   2.      DREs Are Profoundly Insecure and Vulnerable

          The unreliability and vulnerability of electronic voting systems like the one

used by the State of Georgia has attracted widespread and uniform alarm at all

levels of government. On July 26, 2018, House Intelligence Committee Chairman

Devin Nunes joined many federal officials and agencies concerned with national

security to call for a complete ban on electronic voting.4 In May, the Senate Select

Committee on Intelligence concluded that paperless DREs “are at highest risk of

security flaws,” and stated that “[s]tates should rapidly replace outdated and

vulnerable voting systems” with machines that “[a]t a minimum . . . have a voter-

verified paper trail.”5 Similarly, in March, DHS Secretary Nielsen labeled

electronic voting systems “a national security concern.”6

          In January 2018, the Congressional Task Force on Election Security issued a

Final Report addressing the insecurity of the country’s voting infrastructure:

          Given the breadth of security risks facing voting machines, it is
          especially problematic that approximately 20% of voters are casting
          their ballots on machines that do not have any paper backup. These
          voters are using paperless Direct Recording Electronic (DRE)
          machines that have been shown over and again to be highly

4
    http://thehill.com/hilltv/rising/398949-house-intel-chair-calls-for-ban-on-electronic-voting-systems.
5
 Senate Select Committee on Intelligence, Russian Targeting of Election Infrastructure During the 2016
Election: Summary of Initial Findings and Recommendations (May 8, 2018) (“SSCI Report”), at
https://www.burr.senate.gov/imo/media/doc/RussRptInstlmt1-%20ElecSec%20Findings,Recs2.pdf.

6   See supra note 3.
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        vulnerable to attack. Because these machines record votes on the
        internal memory of the machine, and do not leave any paper backup, it
        is near impossible to detect whether results have been tampered with.7

        As detailed in the Declaration of Matthew D. Bernhard, attached hereto as

Exhibit A, and in the Brief of Amici Curiae Common Cause, National Election

Defense Coalition, and Protect Democracy (“Common Cause Amici Brief”), these

recent alarms from the federal government amplify years of warnings from

computer scientists, who have uniformly concluded that paperless balloting is

unreliable, unquestionably insecure, and unverifiable. (Bernhard Decl. ¶¶ 13- 20;

Common Cause Amici Brief, [Doc. 240-1, passim]). California’s 2007 “Top-to-

Bottom Review” (“TTBR”)8 found that DREs were “inadequate to ensure accuracy

and integrity of the election results…”; that the system contained “serious design

flaws that have led directly to specific vulnerabilities, which attackers could

exploit to affect election outcomes…”; and that “attacks could be carried out in a

manner that is not subject to detection by audit, including review of software

logs.”9 Citing these vulnerabilities of the Diebold’s AccuVote DREs, California



7
 Congressional Task Force of Election Security, Final Report, https://democrats-
homeland.house.gov/sites/democrats.homeland.house.gov/files/documents/TFESReport.pdf (Feb. 14,
2018), at 24 (emphasis added).
8
 See Joseph A. Calandrino, et al., Source Code Review of the Diebold Voting System,
http://votingsystems.cdn.sos.ca.gov/oversight/ttbr/diebold-source-public-jul29.pdf (Jul. 20, 2007).
9
  See California Secretary of State, Withdrawal Of Approval,
http://votingsystems.cdn.sos.ca.gov/vendors/premier/premier-11824-revision-1209.pdf (Dec. 31, 2009
rev.), at 2, 3.
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Secretary of State Debra Bowen decertified California’s voting system.10 Ohio’s

2007 “Evaluation and Validation of Election-Related Equipment, Standards and

Testing (“EVEREST”)11 concluded that Ohio’s AccuVote “system lacks the

technical protections necessary to guarantee a trustworthy election under

operational conditions.” 12

          Any number of published studies are in accord. (Bernhard Decl. ¶¶ 14, 15,

16, 17; id., fn. 1, 2, 3). 13 The vulnerabilities identified by all of these

governmental authorities and computer experts apply specifically to the DREs used

by the State of Georgia today. (Bernhard Decl. ¶ 21; Lamb Decl. ¶¶ 7-10 ).

          Significantly, the flaws in DREs can be exploited whether or not the

machines are directly connected to the Internet. An attacker can gain physical

access to a memory card in many different ways and could by that means install

malicious code that spreads automatically from machine to machine. Similarly, an

attacker could infect the programming by emailing a virus to election officials

responsible for programming the machines. An attacker with access to the server

on which DRE software is stored – like the KSU server discussed below – could



10
     See Withdrawal Of Approval, supra note 9, at 5.
11
  Pennsylvania State Univ., et al., EVEREST: Evaluation and Validation of Election-Related Equipment,
Standards and Testing, https://www.eac.gov/assets/1/28/EVEREST.pdf (Dec. 7, 2007).
12
     See EVEREST, supra note 11, at 103.
13
 See also Feldman, et al., “Security Analysis of the Diebold AccuVote-TS Voting Machine,” Proc. 2007
USENIX/ACCURATE Electronic Voting Technology Workshop, 1 (Aug. 2007).
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alter the software surreptitiously so that election officials themselves install the

malware in the course of election preparations. Demonstrations show that it is

easy to break into AccuVote TSXs with nothing more than a BIC pen and install

vote-stealing software that changes votes in undetectable ways. (Bernhard Decl.

¶¶ 29-30).

             3.     Georgia’s System Has Already Been Compromised

      The already unacceptable extreme vulnerability of Georgia’s system was

greatly increased by Secretary Kemp’s failure to secure the State’s central election

server before and after the 2016 elections. (See generally Lamb Decl. ¶¶ 11- 19).

From at least 2002 until at least December 31, 2017, Georgia’s Secretaries of State

have contracted with Kennesaw State University (“KSU”), for the creation of the

Center for Election Services (“CES”) at KSU to assist the Secretary in the

fulfillment of his statutory duties to manage Georgia’s DRE system. CES’s

Executive Director Merle King maintained a computer server with the URL

“elections.kennesaw.edu,” on which CES hosted a comprehensive assemblage of

electronic files consisting of software applications, password files, tabulation

database programs, encryption keys, confidential voter registration information,

ballot proofs, technical training videos, and other sensitive information critical to

the safe and secure operation of Georgia’s DRE-based voting system. The

information hosted on the “elections.kennesaw.edu” server was not authorized to

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be publicly accessible. But between at least August 2016 and March 2017, and

likely for a much longer time, this server was fully accessible to any computer user

with Internet access.

      In late August 2016, cybersecurity researcher Logan Lamb accessed files

hosted on the “elections.kennesaw.edu” server on the public internet, including the

voter histories and personal information of all Georgia voters, tabulation and

memory card programming databases for past and future elections, instructions and

passwords for voting equipment administration, and executable programs

controlling essential election resources. When he accessed these sensitive files,

Lamb noted that the files had been publicly exposed for so long that Google had

cached (i.e., saved digital backup copies of) and published much of the sensitive

data on the Internet. (Lamb Decl. ¶¶ 13- 14).

      On August 28, 2016, Lamb contacted King by telephone and email to warn

him that CES should assume that the sensitive documents hosted on the

“elections.kennesaw.edu” server had already been downloaded by unauthorized

persons and that all sensitive files should be considered compromised. King

immediately informed CES staff of the breach. Yet for reasons that have never

been explained, the server was not secured for months. Lamb and colleague

Christopher Grayson accessed the server again several times in late February 2017

and on March 1, 2017, and they were repeatedly able to access and download the

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same types of files that Lamb had accessed months earlier. (Lamb Decl. ¶ 15).

      On March 1, 2017, Grayson contacted a KSU Computer Science Instructor

and informed him of the exact times and IP addresses of his own recent repeated

access of the unsecured voting system server. KSU finally caused the elections

server to be isolated from the public Internet on or about March 1, 2017.

      After it became known that the “elections.kennesaw.edu” server was

compromised, CES staff emails indicate that Secretary Kemp’s agents at KSU did

not conduct or order a forensic examination to determine whether the server had

been altered or manipulated. Neither Secretary Kemp’s agents at KSU, nor his

internal staff at the Secretary of State’s office, has ever properly verified the

integrity of any software, passwords, databases or encryption keys that were hosted

on the compromised “elections.kennesaw.edu” server. As a consequence, the

compromised software, passwords, and encryption keys continue to be used on the

equipment that has been and will be employed to conduct Georgia’s public

elections. (Lamb Decl. ¶ 19).

      According to recent indictments issued by Special Counsel Robert Mueller,

at the same time that Lamb was alerting Secretary Kemp’s team at KSU that

Georgia’s server was completely exposed, and Secretary Kemp’s team were doing

nothing about it, Russian operatives were visiting “the websites of certain counties



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in Georgia, Iowa, and Florida to identify vulnerabilities.”14

                   4.    Secretary Kemp’s Agents Have Destroyed the Evidence of Who
                   Accessed the KSU Server

          Evidence of these and other intrusions into Georgia’s system has probably

been destroyed and lost forever due to the deliberate actions of Secretary Kemp’s

agents after the filing of this lawsuit. At least by the filing of this lawsuit on July

3, 2017, Secretary Kemp and his agents were under a duty to preserve evidence.

In clear breach of this duty, the Secretary’s agents, three days after this lawsuit was

filed, destroyed all data on the hard drives of the KSU “elections.kennesaw.edu”

server. On August 9, 2017, less than 24 hours after this action was removed to this

Court, Secretary Kemp’s agents went further and destroyed all data on the hard

drives of a secondary server hosted at “unicoi.kennesaw.edu,” which contained

similar, but not identical data, to that on the “elections.kennesaw.edu” server. The

“logfiles” that contain historical records of external access from the public Internet

to the “elections.kennesaw.edu” and “unicoi.kennesaw.edu” servers would have

been deleted when all data on the respective servers’ hard drives were destroyed.

          The destruction of this data is significant in two respects. First, the loss of

the data will make it impossible for Georgia to determine the nature and extent of

any intrusions into the system and, accordingly, to remedy the harm caused



14
     United States v.Netyksho, et al., Indictment (D.D.C., July 13, 2018) ¶ 75.
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thereby. Second, the destruction of the data on these servers entitles Plaintiffs, at a

bare minimum, to evidentiary presumptions that will make success on the merits

even more likely. Kraft Reinsurance Ireland, Ltd. v. Pallets Acquisitions, LLC,

845 F. Supp. 2d 1342, 1358 (N.D. Ga. 2011) (“Spoliation is the

destruction...of evidence, or the failure to preserve property for another’s use

as evidence in pending or reasonably foreseeable litigation.”).

             5.     Georgia’s Voting Security Failure Has Not Been Remedied

      Secretary Kemp may contend that the fact that Georgia’s server may have

been ravaged by foreign or domestic criminals in 2016 and 2017 does not have an

impact on the current vulnerability of Georgia’s election system because election

files are now on a new server with purported proper security under the direct

control of the Secretary of State.

      The overwhelming evidence, however, establishes to the contrary. “A

massive, time-consuming effort would be required to address the security breaches

that occurred in Georgia,” states expert Matt Bernhard, “requiring experienced

technicians to give hands-on attention to individual machines (tens of thousands of

pieces of equipment), one at a time.” (Bernhard Decl. ¶ 44). Because of the

interconnected nature of the system, which consists of thousands of vulnerable

electronic components, properly decontaminating the components at risk across the

state would be a nearly impossible undertaking. (Bernhard Decl. ¶ 45; see also

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Lamb Decl. ¶ 20). There is no evidence that Georgia has even attempted to

mitigate the massive risks created by the KSU exposure.

             6.     Evidence of Malfunctions in Recent Elections

      In addition, there is alarming new evidence that Georgia’s DRE voting

system has inexplicably malfunctioned in recent elections in ways that impact

voters directly:

   • Voter eligibility information in the Diebold electronic pollbooks (part of the

      certified DRE system) differs from Secretary of State’s official voter

      registration records, which has caused potential and actual

      disenfranchisement. (Clark Decl. ¶¶ 10-15; Bowers Decl. ¶¶ 35-46; Marks

      Decl. ¶ 2).

   • Inaccurate political party designation in electronic pollbook has caused voter

      disenfranchisement. (Luse Decl. ¶¶ 6-8).

   • Unauthorized changes in the voter registration records have changed polling

      places and assigned voters to improper districts. (Mitchell Decl. ¶¶ 8-11).

   • Inaccurate DRE electronic ballots have been issued to at least one voter,

      causing the DRE screen to display wrong districts and candidates during

      early voting – plainly subjecting unwary voters to disenfranchisement.

      (Kadel Decl. ¶¶ 8-28).



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   • Numerous polling place recap sheets provided by Fulton County to Coalition

       Plaintiffs have revealed unresolved material differences between the number

       of voters voting at the polling place and the number of ballots cast as

       reported on the DRE machine results tapes. (Marks Decl. ¶ 2, Ex. 2).

   • A DRE machine tabulation results tape in Hall County did not include

       results from 9 races, suggesting the possibility that voters were not given a

       complete ballot or votes were not counted. (Bowers Decl. ¶¶ 5-8; Copeland

       Decl. ¶ 5).

   • DRE machines have printed irregular timestamps indicating materially

       delayed ballot tallies and reporting and machine malfunction. (E.g., Bowers

       Decl. ¶ 19; Copeland Decl. ¶ 9).

   • A Hall County voting machine malfunctioned, was taken out of service and

       showed no votes cast on a delayed closing tape. Pollworkers had difficulty

       closing the polls and disagreed on whether votes were cast on the problem

       machine. (Bowers Decl. ¶¶ 25-31).

   •   Voter turnout of more than 100% was reported in precincts in Habersham

       County and Fulton County. (Marks Decl. ¶ 4, Ex. 3).

       It is almost a certainty that the discrepancies reported to Plaintiffs and

described above are only a small fraction of the actual number of problems

encountered state-wide. These errors are consistent with the kinds of errors that

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experts would expect to be generated by malware, programming errors, or other

sources of computer system malfunction.             (Bernhard Decl. ¶ 49).

               7.      International Threat Intensifies: “The Lights Are Blinking”

       The vulnerability of Georgia’s DRE voting system is not only an issue of

past exposure, but a matter of ongoing and growing concern. Director of National

Intelligence Daniel Coats stated on July 17, 2018: “Every day, foreign actors —

the worst offenders being Russia, China, Iran and North Korea — are penetrating

our digital infrastructure and conducting a range of cyber intrusions and attacks

against targets in the United States.”15 The federal government is issuing similar

reports and warnings daily. At a hearing on this Motion, Plaintiffs will present

expert testimony that makes plain to this Court what the U.S. government and

private researchers already know — Georgia’s voting system is a catastrophically

open invitation to malicious actors intent on disrupting our democracy.

               8.      Conclusion – Plaintiffs are Likely to Succeed on the Merits

       On the basis of the foregoing, as to Plaintiffs’ fundamental right to vote

claim (Count One), Plaintiffs are likely to succeed at trial on the merits by

establishing with overwhelming evidence that Georgia’s DRE voting system is

extremely vulnerable to attack, by design is unverifiable, and has been further


15
  Remarks of D. Coats to Hudson Institute, July 17, 2018. Transcript available at
https://www.npr.org/2018/07/18/630164914/transcript-dan-coats-warns-of-continuing-russian-
cyberattacks. (Last viewed July 30, 2018).
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compromised by the Defendants’ neglect. Plaintiffs will further show that the risk

that votes will be miscounted or diluted outweighs any interest of the State in

insisting upon the continued use of these machines. Crawford, 553 U.S. at 190.

      As to Plaintiffs’ claim under the Equal Protection Clause (Count Two),

Plaintiffs will likely succeed in establishing that users of DRE machines are “less

likely to cast an effective vote” than users of paper ballots because of the foregoing

vulnerability and flaws in the DRE voting system. Wexler, 452 F.3d at 1231.

      B.     Plaintiffs Are Likely to Suffer Irreparable Harm

      The harm to Plaintiffs if the injunction is not granted is by its very nature

irreparable. Voting is a “fundamental political right, because preservative of all

rights.” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886). There will be no remedy –

through damages or otherwise – if the DRE system fails to issue correct ballots or

count the votes in the November and December 2018 elections correctly.

      Defendants may contend that Plaintiffs cannot prove to a metaphysical

certitude that the DREs will miscount their votes. This argument misstates the

legal test and miscomprehends the nature and extent of the threatened injuries.

First, the test for granting equitable relief is not whether injury is certain to occur,

but whether it is “likely” to occur. Winter, 555 U.S. at 20. Plaintiffs have shown

that, unless this injunction is granted, the legitimacy of Georgia’s election results

will be cast into doubt and irreparable harm is likely to occur to the right of voters

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to have their votes correctly counted. Second, the likely miscounting of any votes

infringes upon Plaintiffs’ constitutional rights. Anderson v. United States, 417

U.S. 211, 226 (1974) (Marshall, J.) (“The deposit of forged ballots in the ballot

boxes, no matter how small or great their number, dilutes the influence of

honest votes in an election, and whether in greater or less degree is immaterial.”).

      Third, Georgia’s use of paperless electronic voting system undoubtedly

increases the risk of irreparable harm, and the increased risk of harm constitutes

actual injury. See Monsanto Co. v. Geerston Seed Farms, 561 U.S. 139, 153-154

(2010) (“A substantial risk of gene flow injures respondents in several ways”);

Massachusetts v. E.P.A., 549 U.S. 497, 526 (2007) (“The risk of

catastrophic harm, though remote, is nevertheless real.”); Farmer v. Brennan, 511

U.S. 825, 828 (1994) (“‘A prison official's ‘deliberate indifference’ to a

substantial risk of serious harm to an inmate violates the Eighth Amendment.”).

Indeed, the actual harm with respect to Plaintiffs’ equal-protection claim is the

increased risk that DRE votes will not be counted correctly or verified in post-

election challenges relative to verifiable paper ballots. Wexler, 452 F.2d at 1231.

That harm – the increase in the risk - is certain to occur.

      Finally, the widespread acceptance of the legitimacy and accuracy of an

election is itself a value that is certain to be irreparably harmed if the election goes

forward using Georgia’s profoundly vulnerable and concededly unverifiable

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system. What Judge Biery said in Casarez v. Valverde County over twenty years

ago unquestionably remains true today: “‘Those who have studied history and have

observed the fragility of democratic institutes in our own time realize that one of

country’s most precious possessions is . . . widespread acceptance of election

results.’” 957 F. Supp. 847, 865 (W.D. Tex. 1997) (citation omitted).

      C.     Balance of Equities Favors Granting the Injunction

      The balance of equities tips heavily in Plaintiffs favor. On the one hand, the

weight of Plaintiffs’ equities is substantial. “No right is more precious in a free

country than that of having a voice in the election of those who make the laws

under which, as good citizens, we must live. Other rights, even the most basic, are

illusory if the right to vote is undermined.” Wesberry, 376 U.S. at 17.

      On the other hand, the injunction will not cause Defendants substantial

harm, but will merely require Defendants to do what every federal agency on

record has urged the State to do: use paper ballots to record votes. An injunction

also will not cause Defendants to do anything new. Defendants already record

votes by paper ballot and count them by optical scanner or by hand; the injunction

will of course cause a substantial increase in the number of votes cast by paper

ballot, but the actual burden of this change on the Defendants will be slight.

      Indeed, the cost of additional paper ballots and associated supplies (felt tip

pens, cardboard privacy screens) is likely to be more than offset by the savings

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associated with not having to deploy tens of thousands of labor-intensive DRE

machines. The State of Maryland in 2016 switched from the type of DRE

machines that Georgia uses to the paper ballot/optical scanner process that would

be deployed if this preliminary injunction were granted. Rebecca Wilson, Chief

Election Judge at Precinct 17-01 in Prince George’s County, Maryland, states in

her declaration that Maryland’s paper ballot system “is far easier and faster to set

up, manage and close down” than were the previous DRE machines. (Wilson

Decl. ¶ 5). Ms. Wilson’s highly detailed declaration shows how the number of

steps necessary to set up and close down the paper ballot and optical scanning

system is a small fraction of the effort to set up and close down the DRE machines

in her precinct. (Wilson Decl. ¶¶ 6-12). Wilson further explains that it took little

or no pollworker training to make the switch, and that “[v]oters have expressed to

me that they were happy with the new paper balloting equipment.” (Wilson Decl.

¶¶ 13-17, 26). Indeed, even this framing of the issue is overly generous to

Defendants, for these cost estimates do not measure the astronomical cost to the

State if the election is hacked.

      Finally, District Courts have repeatedly found that fundamental voting rights

outweigh the administrative cost associated with fixing election systems or

procedures. An illustrative case is NAACP v. Cortes, 591 F. Supp. 2d 757 (E.D.

Pa. 2008). In Cortes, the plaintiff sued seven days before the 2008 general

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election, seeking an injunction addressing Pennsylvania’s contingency plans in the

event that the DREs in a polling place malfunctioned. The District Court granted

the injunction and issued an order requiring the Secretary of the Commonwealth to

direct County Boards to distribute paper ballots whenever 50% of the electronic

voting machines in a precinct became inoperable. The District Court rejected as

factually unfounded the defendants’ arguments that changing the rule as to use of

paper ballots would “cause chaos and confusion,” and that poll workers had not

been trained as to the simultaneous use of paper ballots and DRE machines. While

the court agreed that the suit was filed “at the eleventh hour,” the court found that

“the granting of injunctive relief as requested will cause minimal harm to

defendants.” 591 F. Supp.2d at 763, 768.

      Other district courts have reached the same conclusion in cases involving

election systems and processes. “Although these reforms may result in some

administrative expenses for Defendants, such expenses are likely to be minimal

and are far outweighed by the fundamental right at issue.” United States v. Berks

County, 250 F. Supp. 2d 525, 541 (E.D. Pa. 2003) (granting preliminary

injunction); see also Johnson v. Halifax County, 594 F. Supp. 161, 171 (E.D.N.C.

1984) (granting preliminary injunction, finding that administrative and financial

burdens on defendant not undue in light of irreparable harm caused by unequal

opportunity to participate in county election).

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      D.     Injunction Is in the Public Interest

      The requested relief is in the public interest because it is in accord with the

unanimous, and urgent, recommendations from officials at the highest levels of the

Federal Government. In addition, public confidence in Georgia’s election systems

will be greatly enhanced by the granting of the requested relief. “‘The public must

have confidence that the election process is fair.’” Casarez, 957 F. Supp. at 865

(granting preliminary injunction in election case) (citation omitted). The

preliminary injunction requested by the Coalition Plaintiffs is manifestly in the

public interest.

      CONCLUSION

      For the foregoing reasons, the Motion should be granted.

      This 3rd day of August, 2018.


       /s/ Bruce P. Brown                    /s/ Robert A. McGuire, III
       Bruce P. Brown                        Robert A. McGuire, III
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 /s/ William Brent Ney             /s/ Cary Ichter
 William Brent Ney                 CARY ICHTER
 Georgia Bar No. 542519            Georgia Bar No. 382515
 Attorney for Coalition            Attorney for Coalition
 for Good Governance, William      for Good Governance, William
 Digges III, Laura Digges,         Digges III, Laura Digges,
  Ricardo Davis, and Megan         Ricardo Davis and Megan
 Missett                           Missett
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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.


                       CERTIFICATE OF COMPLIANCE

        I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of LR 5.1, using font

type of Times New Roman and a point size of 14.

                                     /s/ Bruce P. Brown
                                     Bruce P. Brown
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


                         CERTIFICATE OF SERVICE

       This is to certify that I have this day caused the foregoing COALITION

PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY

INJUNCTION to be served upon all other parties in this action by via electronic

delivery using the PACER-ECF system.

       This 3RD day of August, 2018.

                                       /s/ Bruce P. Brown
                                       Bruce P. Brown
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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
v.

BRIAN KEMP, ET AL.,
Defendants.




     DECLARATIONS IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                PRELIMINARY INJUNCTION

                                   August 3, 2018
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    DECLARATION OF MATTHEW D. BERNHARD
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                         UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

                                                    )
DONNA CURLING, et al.                               )
                                                    )
Plaintiff,                                          )
                                                    )   CIVIL ACTION FILE NO.:
vs.                                                 )   1:17-cv-2989-AT
                                                    )
BRIAN P. KEMP, et al.                               )
                                                    )
Defendant.                                          )
                                                    )
                                                    )

                     DECLARATION OF MATTHEW D. BERNHARD


        MATTHEW D. BERNHARD ("Declarant") hereby declares as follows:

       1.     I am Ph.D. candidate at the University of Michigan in Computer Science with a
focus on computer security. I received my Bachelor’s degree from Rice University, and my
Master’s in Computer Science from the University of Michigan.

        2.      I have focused my study in the field of computer science, including cyber-security
in voting systems since 2012, including specific work on new, secure voting technology (the
STAR-Vote system from Austin, Texas). I have worked with the Verified Voting Foundation on
gathering data about currently deployed voting systems. I consulted with the Jill Stein recount
campaign in 2016 to assess threat models and incident reports in Michigan, Wisconsin, and
Pennsylvania. I have also worked with other experts in the field to provide a theoretical survey of
properties of election security.

        3.      Following the 2016 recount, I, along with a colleague, performed a statistical
analysis of the data generated in the 2016 recounts in Wisconsin and Michigan. Our findings
highlighted a lack of strong evidence towards concluding that the 2016 election was sufficiently
secured in those states, as well as highlighting some anomalous data. For example, our findings
indicated that the Optech IIIP­Eagle machines in use in some Wisconsin counties had a
significantly high error rate. These machines were subsequently decertified and taken out of use
in Wisconsin. We also found significant anomalies in Michigan’s Wayne County, owing to the
fact that the chain of custody had been compromised in almost half of precincts. In response to



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these anomalies, the state launched an investigation into Wayne county and subsequently
purchased new voting equipment for the whole of the state.

         4.    During the last 8 months I have conducted focused research on Diebold AccuVote
voting system, of the type used by Georgia, with a specific emphasis on TS and TSX machines.
That research has included in­lab testing at the University of Michigan on machines acquired
through eBay, during which we performed an in­depth technical analysis of the systems and
found significant vulnerabilities. I have also on several occasions observed AccuVote units in the
field in Georgia, both at the Fulton County Election Preparation Center on multiple occasions
and at the Grady High School precinct during an election. As with lab testing, I observed a
significant number of operational vulnerabilities that make Georgia’s election infrastructure
fundamentally unsafe and untrustworthy.

        5.     I have published and spoken extensively about the cybersecurity and other risks
of electronic voting systems and have assisted in preparation of other experts for Congressional
testimony concerning these topics.

       6.        A copy of my curriculum vitae is attached as Exhibit A.

        T    I

        7.      Paperless voting machines, of the type used in Georgia, directly record votes to an
electronic storage medium. Such machines are called Direct Recording Electronic voting
machines, or DREs for short.

         8.     As DREs only record votes to an electronic medium, e.g. a USB stick, a voter has
no way of independently verifying that the button they touched on the screen is what the machine
recorded in memory. Other voting mechanisms, like paper ballots, provide this feature, which is
called a voter­verifiable paper audit trail (VVPAT). VVPATs allow voters to check that the vote
cast is the vote they intended, independent of the system itself.

        9.       As DREs do not have this feature, it is impossible for a voter to check that their
vote was recorded as they intended. Since voters are stored solely in memory, if something in the
software were causing votes to be misrecorded, such an error could similarly cause the system to
misreport that it was correctly recording votes. If the system is not correctly recording votes,
either in error or out of malice, there is no way to tell. Any assurance provided by the machine
would be akin to a criminal insisting that he did not commit the crime­­­other evidence is needed
to corroborate the claim.

       10.     Because DREs provide no way to independently verify that votes are correctly
recorded, security experts strongly recommend against their use with near unanimity, a
recommendation with which I concur.

     11.     DREs are essentially just regular computers, often running the same software as a
commodity laptop. Like any regular computer, DREs are vulnerable to any kind of malicious

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exploitation, and in fact often moreseo as they typically run out­of­date software that lacks
critical security patches. Exploitable vulnerabilities in DREs run the full gamut: buffer overflows
in the vote recording software, privilege escalation bugs in the operating system, improper
checksum verification by the bootloader, and architectural flaws such as improper use of voter
authentication technologies are just a few examples at various levels of the DRE system. Using
one of these exploitations, an attacker can make the DRE do just about anything. For example,
my academic advisor made one such DRE, the Sequoia AVC Edge, run Pac­Man. There is
nothing different about Georgia’s voting system that would prevent a similar exploitation. This
level of vulnerability makes it exceedingly possible for DREs to be infected with software that
does not accurately record votes.

        12.     Since DREs have no way to independently verify votes as recorded, any software
that could change votes could do so undetected. Since DREs are not made available for public
auditing, there is no way to determine if their software has been modified in anyway. Even if
such an audit were to be performed, it is still not certain that it would definitively prove the
machines are free from infection. As such, for the individual voter and election official, there is
no way to know that a DRE machine has accurately recorded votes. These machines could
essentially output random results and, barring results that prove surprising in light of other
evidence, no one would know. Worse, even if suspicions about incorrect election results were
raised, DREs provide no recourse to explore, detect, or correct for these mistakes. In short, DREs
are in no way fit to be trusted with any election process.




        13.    Other experts in the field of voting system security and computer science and I
rely on a body of academic research conducted over the years that includes the following key
reports as summarized in paragraphs 14 through 25.

        14.     Kohno et al.’s 2004 “Analysis of an Electronic Voting System”1 report is the first
independent security analysis of a Diebold voting system that I am aware of. The report focuses
on the election management system (EMS) and AccuVote TS machine, the same that is used in
Georgia. The report’s authors found that it is possible to create voter access cards which enable
the voter to vote an unlimited number of times. The report also highlighted numerous
vulnerabilities in the source code that can be exploited to gain complete control over the voting
system as well as show how each voter voted. This report spurred the commissioning of
additional analyses of the AccuVote TS by the states of Ohio (Compuware2) and Maryland
(SAIC3, RABA4). All of these reports corroborated the findings of Kohno et al., even
implementing voter access cards granting unlimited votes.




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        15.     An independent study on behalf of Blackbox Voting was conducted by Harri
Hursti in 2006,5 following the work of Kohno et al. This study looked exclusively at the
AccuVote TS and TSX machines. This report explains the vulnerabilities present in Windows
CE, the operating system of the machines, which provides almost no security beyond what an
application itself can provide. Essentially, rather than attacking the voting software itself, an
attacker can attack the operating system to completely control the system, or, at a lower level, the
bootloader. The report also notes that the machine lacks physical security: with just a Philips
head screwdriver an attacker can completely circumvent the locks and seals meant to protect the
internals of the machine. With this level of vulnerability, an attacker can coerce the voting
machine into doing anything.

        16.     A contemporaneous 2006 study done at Princeton by Feldman et al.6 examined
just the AccuVote TS. This study confirmed findings of prior work. Additionally, this study
implemented a new attack, whereby software designed to steal votes (a virus) is installed on the
machine by exploiting the vulnerabilities highlighted in previous work. Once on the machine, the
virus can completely change votes, and additionally make copies of itself onto any removable
media that is plugged into the machine. In this way, an attacker with access to only one voting
machine can potentially infect an entire precinct, county, or in Georgia’s case, state, as the
software reproduces in an exponential fashion with each new infection. Some of the
vulnerabilities highlighted in the study are hardware­based, and thus not patchable. These
vulnerabilities exist in the machines to this day. The study also found that logic and accuracy
testing and parallel testing, methods to detect and reduce machine errors, do not detect any
malicious behavior by the machine.

       17.      Kiayias et al., researchers from the University of Connecticut,7 built on Hursti and
Feldman et al., designing an attack against the AccuVote TSX machine that could swap
candidate order or remove a candidate from the ballot by exploiting many of the vulnerabilities
pointed out in the earlier studies.

        18.     The Top­to­Bottom Review (TTBR),8 commissioned by the State of California in
2007, found that every component of Diebold voting systems, of the type used in Georgia, were
riddled with vulnerabilities. With access only to the election management system (EMS, called
GEMS by Diebold) and a few of the machines, researchers found vulnerabilities which, if
exploited, permit attackers to gain full access to the election management system and complete
control of individual voting machines, including the ability to surreptitiously add, delete, or
change votes. The EMS was found to have insufficient passwords, integer overflow bugs, no
security enforcement outside the graphical user interface, and lack of critical security patches to
the Windows operating system it runs on. Essentially, an attacker could modify any data in the
EMS (ballot styles, vote databases, etc.) as well as gain control of the operating system. The
TTBR corroborated prior work about significant, numerous vulnerabilities in the voting
machines and expanded it, finding a lack of input validation in voter­accessible fields that lead to




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erratic behavior, privilege escalation that would enable a voter to gain full administrative control
over the voting machine with little to no effort, and that election administrator credentials can be
extracted from the memory cards used to store votes during the close of election process. The
TTBR also found that the machines expose how voters vote.

        19.      The EVEREST report9 commissioned by the State of Ohio in 2007 corroborated
the TTBR and found similar issues in Premier (Diebold) systems. In addition to further
confirming prior work, EVEREST also examined ExpressPoll books, computers used to verify
voter registration data and authorized voters to vote on election day. The ExpressPoll, considered
to be a critical component of Georgia’s DRE election system, was found to have similar
vulnerabilities to the other systems already studied: lack of security patches, unencrypted voter
records, and insecure booting procedures that allow an attacker to run any software, including
malware, on the unit. EVEREST also found new vulnerabilities in GEMS and the AccuVote
TSX, including key reuse, unauthenticated log access (anyone can forge an audit log), a shared
SSL certificate between the EMS and TSX, allowing an attacker to impersonate the EMS and
upload fake election results, lack of accurate security protections on data keys, BIOS password
reuse that would allow an attacker to run arbitrary software, and unpatched operating system
vulnerabilities that allow an attacker to gain full access to the EMS or voting machine.

       20.      The Florida Department of State commissioned a study of Diebold voting
software in 200710 to examine Diebold election management software, touch­screen voting
machines, and optical scan voting machines. This report was independent and contemporaneous
with the EVEREST and TTBR reports. The study focused only on corroborating prior
vulnerability findings from Hursti, Feldman et al., Kohno et al., Ohio’s Compuware assessment,
and Maryland’s RABA and SAIC reports. The study found that some issues from prior source
code reviews had been fixed in in­the­field machines, but many other attack vectors, like
unlimited votes with smart cards or operating system vulnerabilities had not been fixed and still
presented an avenue for attack.

        21.     All of these studies explore electronic voting systems used in Georgia. Much of
the research was conducted on BallotStation versions 4.3, 4.4.1, and 4.6.4. While the version
used in Georgia, 4.5.2! has a high overlap in functionality and form to these previously studied
systems, it is not known how much functionality, and by extension vulnerability, overlap.
However, given that many of the vulnerabilities above rely on the architecture of the voting
system, not particular features of the software, it is almost certain that they apply to Georgia’s
system.

        22.     A few cursory examples of vulnerabilities that apply to Diebold software,
regardless of version, include the smartcard vulnerabilities, wherein any malicious party can craft
a smartcard that impersonates a voter access card but which ignores the machine’s command to
deactivate itself. In effect, voter cards which allow an unlimited number of votes are still possible
in the Georgia system.




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        23.    Georgia’s system still runs on Windows CE, an operating system which has not
been supported in 5 years. This means that critical security patches that would mitigate some of
the lower­level attacks proposed and implemented above simply do not exist. As the operating
system is over twenty years old, it lags behind the two decades of computer security research and
is extremely vulnerable to a wide variety of attacks that Diebold’s software, regardless of
version, cannot defend against. If Diebold’s software is a house, the operating system is the
foundation upon which the house is built. No amount of drywall repair can fix a cracked
foundation.

        24.     Georgia’s voting machine are still programmed using PCMCIA memory cards,
and any piece of software hosted on such a memory card can infect the voting machine, as the
Princeton study demonstrated. Officials are quick to claim that the machines are not connected to
the Internet, and therefore secure, but as we have witnessed in the Stuxnet episode11 as well as
recent Russian attempts to infiltrate other critical infrastructure,12 this does not prevent malware
from coming in contact with the voting machines.

        25.     Finally, the fundamental architecture of Georgia’s voting machines, specifically
the AccuVote TS and AccuVote TSX, prevent them from providing reliable evidence that the
election results they produce are correct. Votes merely exist on memory cards, and any source of
error, malice, or act of god can change the votes and leave absolutely no indication that such a
change has occurred. Even if such a change were detected, all original evidence of voter intent
no longer exists, so it is not possible to reconstruct a correct election result. In short, Georgia’s
voting machines fail to meet the burden of proof for accurate, verifiable election outcomes: a
durable record of voter intent. For this reason, these machines are unfit for use in any electoral
context.


                           M               D

        26.    In recent months my academic advisor and I have begun replicating past research
into AccuVote TS and TSX machines, as well as attempting to find new vulnerabilities in more
recent versions of the software. As Georgia’s software is totally unavailable, my efforts have
primarily focused on BallotStation 4.7.

       27.      We have successfully recreated the unlimited voter access card attack, and I am
confident that, given just a few seconds with access to one of Georgia’s voting machines, I could
very easily produce a card that would let any Georgia voter vote as many times as they would
like.

       28.     We have observed that more recent versions of the voting software application,
BallotStation, does include fixes for some of the more egregious vulnerabilities found in prior




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work. For instance, votes are no longer stored completely in plaintext, and the cryptographic key
used on each machine is now no longer the same. However, the fixes put in place are fairly easily
defeated: malware can read the keys out of memory and decrypt votes.

         29.     The physical security of the machines is easily defeated. The AccuVote TS
machines have their memory cards and power buttons protected by a lock that is keyed by the
same key used in minibars and jukeboxes, which is readily available for purchase online. Failing
this, the locks can be picked in under 10 seconds. The power button and memory card are
protected in a similar fashion on the TSX, however the lock used on that machine is a cylindrical
lock. I can pick this lock in less than ten seconds with nothing but a BIC pen. Video of my first
attempt at this can be found here: https://www.youtube.com/watch?v=vqNJL0fYwSk.

        30.   Vote­stealing software that changes votes in an undetectable way has been put on
TSX machines by my advisor and I, targeting the 4.6.4 version of BallotStation. We
demonstrated this for the New York Times here:
https://www.nytimes.com/video/opinion/100000005790489/i-hacked-an-election-so-can-the-russ
ians.html

        31.     We have observed that the seals used to secure individual voting machines after
the close of polls may be purchased on Amazon13. If an attacker were to break off a seal, it would
be easy to simply replace it, and etch the serial number of the broken seal on the replacement
seal. The same can be said for the cable ties used to secure the voting machines in a precinct to
each other.

       32.     In short, with even a short window of access to one of Georgia’s voting machines,
it would be easy for an attacker to install undetectable vote­stealing software. I have personally
observed Georgia election workers leave voting equipment unattended and insufficiently sealed
to prevent tampering within the last 30 days.

        33.     Due to the architectural flaws of the system, and failures in operational security at
many levels, it is not possible for any person to faithfully attest that each voting machine in the
state of Georgia is free from malware that could affect election results.

                             N

        34.     After the primary on Tuesday, July 24th, 2018, I and my colleagues observed the
close of polls at Grady High School in Atlanta, Georgia. After the poll workers had closed down
the polling place, they stacked the voting machines and sealed them. At this point, they all left
the gym, leaving myself and my colleagues alone with the voting machines, with only one
security camera watching over us. It would have been very easy for an attacker to disable the
camera and modify the voting machines without detection. As the results of the Princeton study
demonstrate, it only takes one lapse for a virus to propagate from machine to machine, silently
changing votes all over the state of Georgia. As mentioned above, the seals and cable locks on



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the machines are available for purchase, so they provide no security against this kind of attack.

        35.     I have also on several occasions visited the Fulton County Election Preparation
Center in 2017 and 2018. On several occasions, I was allowed to roam the warehouse where all
of Fulton County’s voting machines are programmed, serviced, and stored, as well as where
election night results are tabulated and published. The facility was wholesale lacking in
operational security necessary to protect Georgia’s machines from tampering or misuse.

       36.     In the Fulton County Election Preparation Center warehouse, I witnessed


                       a. stacks of voter access and supervisor cards that could easily be stolen,
                          with no chain of custody to ensure none have left the facility,

                       b. printouts of password sheets are pasted all over the facility, divulging
                          passwords that would allow anyone to render voting machines
                          unusable,

                       c. stacks of memory cards were strewn about during the election
                          programming process, as many cards are programmed at once using
                          card replicators. If a virus were present on even one of these memory
                          cards, the card replicators would ensure that the virus could spread
                          even more quickly than first imagined in the Princeton study,

                       d. I was able to learn the three­digit password for the code­protected door
                          into the facility while being invited in by a poll worker, and

                       e. the election prep center has no surveillance on its exterior, save for a
                          motion detector, and the security cameras inside the facility are often
                          obstructed by the high warehouse shelves.

       37.     In Fulton County, votes are transmitted on election night from annexes via
modem, meaning that all ballots from the annexes are sent unencrypted to the tabulation server.
An employee reported that occasionally the phone lines leading into the tabulation server receive
telemarketing calls.

        38.    Votes transmitted via modem are routed using AccuVote TSX machines into the
tabulation server. Given the vulnerabilities present in the machine, any malware resident on these
machines could very efficiently change election results.

        39.     In June of 2018 at the Fulton County Election Preparation Center, I observed the
logic and accuracy testing performed on the voting machines before they are sent to their
precincts. These tests are fully automated, and could be easily defeated by malware that simply
kept track of the date. In 2015, it came to light that Volkswagen had written software in their cars


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to fool emissions tests in just this way, and a voting machine logic and accuracy test is far more
simple than an automobile emissions test.14

        40.    I understand that four poll books in Georgia were stolen in April 201715. This
raises additional security concerns. The poll books contain an encryption key to generate voter
access cards (VACs). Someone in possession of the poll books could, thus, extract these keys
and use them later to generate VACs that could be used to cast illegal votes, as discussed above.
To address the threat posed by this breach of security, it would be necessary to generate new
encryption keys and install them in all poll books and voting machines.



                              ADVANCED PERSISTENT THREAT

        41.    Advanced Persistent Threats (APTs) are cyber attackers that specialize in gaining
unauthorized access to system and maintain that access over a long period of time, undetected. In
order to defend against these kinds of attackers, an incredibly high level of security discipline is
required. After a period of vulnerability, it is a significant effort to identify the presence of APTs
and successfully eliminate their access.

        42.     Advanced Persistent Threat actors often try to penetrate critical infrastructure
systems in order to gain access, gather intelligence, and gain the ability to create damage at a
time of their choosing. As one example, Exhibit B is an FBI bulletin from 2013 on Advanced
Persistent Threat actors’ attacks against the aviation sector. Exhibit C is a more recent alert from
the Department of Homeland Security, revised on August 23, 2017, detailing activities by “actors
of the North Korean government to target the media, aerospace, financial, and critical
infrastructure sectors in the United States and globally.”

         43.     Given my knowledge and study of cybersecurity as it pertains to voting systems,
it is extremely likely that APTs are trying to access and manipulate election systems. Given the
level of vulnerability present in Georgia’s voting system, it is a near certainty that if an APT has
tried to get in, it has succeeded. As I myself have gained access to Georgia’s election system, it is
certainly true that a well resourced and motivated attacker could do so as well.

        44.     A massive, time­consuming effort would be required to address the security
breaches that occurred in Georgia, requiring experienced technicians to give hands­on attention
to individual machines (tens of thousands of pieces of equipment), one at a time. The memory
cards also would need to be disinfected or replaced. Such an effort could mitigate the potential
effects of past breaches but future breaches would still be possible.




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        45.     Due to the apparent lack of chain of custody of election equipment in Georgia,
specifically voter cards and memory cards, Georgia would have to first provide a way to
exhaustively inventory every piece of election equipment in its possession, and then
meticulously scrub each component to ensure no malware persists. Such an effort would be
enormously costly, and potentially not possible.

       46.     Even if such a task could be completed, if at any time in the future another
exposure or breach occurs, the entire process would have to be repeated, again at enormous cost.

        47.    Because of the vulnerability of Georgia’s voting system to software manipulation,
and because of intelligence reports about APTs having attempted to affect elections in the United
States, such precautions appear to be necessary in Georgia. Without significant effort to detect
and revoke access to attackers, the ability for Georgia’s voting systems to correctly carry out
elections should be viewed with even greater skepticism.

         48.    DREs are fundamentally unable to provide sufficient evidence that the election
results they produce are correct. Given Georgia’s reliance on these machines, and known security
breaches in 2016 and 2017, and the significant challenges to mitigate current vulnerabilities in
the system, it is my opinion that Georgia, in order to effectively run its elections, must abandon
its DREs prior to the upcoming November election.


        49.      I have reviewed the affidavits and exhibits listed in paragraph _____ of the
Motion for Preliminary Injunction, as well as additional documentation of numerous similar
irregularities from recent elections. The errors reported are consistent with the kinds of errors I
would expect to see generated by malware, programming errors, or other sources of computer
system malfunction. The Diebold DRE system, including the ExpressPollbook, is known to be
vulnerable to malicious manipulation that would produce such errors. Without a forensic
examination of the machines involved in the reports, the reported errors cannot be explained to
any degree of certainty. In some cases, the lack of a reliable audit trail and the ability for
malicious users to install undetectable malware could result in the original source of the
irregularities and malfunctions being indeterminable even in spite of a forensic examination.

       50.      I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that the
foregoing is true and correct.

       Executed on this date, August 2,
                                     3 2018.


                                                      Matthew D. Bernhard




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 Matthew D. Bernhard                                                        2260 Hayward Street
 matber@umich.edu                                                           Ann Arbor, MI 48109
                                                                          Main/Cell: 281­725­8544


EDUCATION
     University of Michigan, Ann Arbor, MI (2015 – present)
     PhD Candidate Student, Computer Science and Engineering
     Advisor: J. Alex Halderman
     University of Michigan, Ann Arbor, MI (2015 – 2018)
     Master of Science, Computer Science and Engineering
     Rice University, Houston, TX (2012 – 2015)
     Bachelor of the Arts, Computer Science
     Advisor: Dan Wallach

EXPERIENCE
     Verified Voting – 2018 - present
     Data Science Consultant, Ann Arbor, MI
        – Collected, organized, and wrote up technical information about new voting machines
            being acquired by localities

       Cloudflare – San Francisco, CA
       Cryptography Intern, Summer 2017
           –   Developed Certificate Transparency monitoring features. Also built an SSL detector to
               determine what SSL settings customer sites can support.

       Computer Security Lab – Rice University, Houston TX
       Lead Software Developer, Fall 2012 - Spring 2015
          – Lead a team in upgrading and maintaining STAR-Vote, a pedagogical voting system
          – Performed usability study on ballot preparation tool
          – Explored leveraging utilities provided by the Chromium project to process sandbox and
             enforce tighter systems controls
          – Examined secure data structures such as authenticated dictionaries for implementing a
             secure web bulletin board

       Microsoft Research – Microsoft, Redmond WA
       Research Intern, Summer 2015, Advised by Josh Benaloh
          – Investigated trusted computing features in the Windows operating system
          – Designed ASKVote, the Auditably Secure Voting scheme to provide software assurance
             and election evidence
          – Designed voting client for conference demonstration hall survey

TEACHING
     Introduction to Computer Security – University of Michigan
     Graduate Student Instructor, Winter, 2018
           – Lectured, led discussion section, graded, and provided course support.




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     Securing Digital Democracy – University of Michigan, Coursera
     Course Operations Liaison, 2014 – 2018
        – Compiled and maintained course resources and facilitated student discussion in message
           boards for course introducing the field of voting technology in the context of computer
           security
     Fundamentals of Parallel Programming – COMP 322, Rice University
     Teaching Assistant, Spring 2015
        – Shaped curriculum and led lab discussions for an introductory course on parallel
           programming featuring Java parallelism and Apache Spark

     Introduction to Program Design – COMP 215, Rice University
     Teaching Assistant, Fall 2014
         – Led lab discussions and wrote and reviewed assignments and exams for an introductory
           course on Java and Object Oriented Programming


PEER­REVIEWED PUBLICATIONS
     403 Forbidden: A Global View of Geoblocking
     Allison McDonald, Matthew Bernhard, Benjamin VanderSloot, Will Scott, J. Alex Halderman,
     Roya Ensafi
     To appear at the ACM Internet Measurement Conference 2018 (IMC ‘18), Boston,
     Massachussetts. November 2018.

     Voting Technologies, Recount Methods and Votes in Wisconsin and Michigan in
     2016
     Walter R. Mebane, Jr. and Matthew Bernhard
     Proc. of the 3rd Workshop on Advances in Secure Electronic Voting (Voting '18). Nieuwpoort,
     Curaçao. March 2, 2018.

     Public Evidence from Secret Ballots
     Matthew Bernhard, Josh Benaloh, J. Alex Halderman, Ronald L. Rivest, Peter Y. A. Ryan, Philip
     B. Stark, Vanessa Teague, Poorvi L. Vora, Dan S. Wallach
     Proc. of the Second Annual Joint Conference on Electronic Voting (E-Vote-ID '17). Bregenz,
     Austria. October 24 - 27, 2017.

     Understanding the Mirai Botnet
     Manos Antonakakis, Tim April, Michael Bailey, Matthew Bernhard, Elie Bursztein, Jaime
     Cochran, Zakir Durumeric, J. Alex Halderman, Luca Invernizzi, Michalis Kallitsis, Deepak
     Kumar, Chaz Lever,Zane Ma, Joshua Mason, Damian Menscher, Chad Seaman, Nick Sullivan,
     Kurt Thomas, Yi Zhou
     Proc. of the 26th USENIX Security Symposium (USENIX Security '17). Vancouver, BC, Canada.
     August 16 - 18, 2017.

     Towards a Complete View of the Certificate Ecosystem
     Benjamin VanderSloot, Johanna Amann, Matthew Bernhard, Zakir Durumeric, Michael Bailey,
     and J. Alex Halderman
     Proc. 16th ACM Internet Measurement Conference (IMC ’16), Santa Monica, California.
     November 2016

     Implementing Attestable Kiosks
     Matthew Bernhard, Gabe Stocco, and J. Alex Halderman
     Proc. 14th Annual Conference on Privacy, Security, and Trust (PST ’16), Auckland, New Zealand.
     December 2016




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SELECTED OTHER PUBLICATIONS
        What Might Go Wrong in the 2016 Election
        Matthew Bernhard and J. Alex Halderman
        Security at Michigan (a Medium publication), November 7th, 2016
        The Security Challenges of Online Voting Have Not Gone Away
        Robert Cunningham, Matthew Bernhard, and J. Alex Halderman
        IEEE Spectrum, November 3rd, 2016

TALKS
        Do We Want to Recount or Not? Presidential Election 2016
        Matthew Bernhard and Kimball Brace
        Election Verification Network (EVN) Symposium 2017, March 15, 2017

        Recount 2016: An Uninvited Audit of the U.S. Presidential Election
        Matthew Bernhard and J. Alex Halderman
        Roadsec 2017, São Paulo, Brazil, November 11th, 2017
        Roadsec Pro 2017, São Paulo, Brazil, November 10th, 2017
        Electoral Technology Workshop, SBSeg 2017, Brasília, Brazil, November 6th, 2017
        33rd Chaos Communication Congress (33c3), December 28th, 2016

MEDIA APPEARANCES
     NPR, Reuters, BBC News, The Guardian, Le Monde, Motherboard, Forbes, The New Republic,
     Gothamist, The New Political, The Outline, and Voice of America News and others




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                    FBI Cyber Division
                                Private Sector Advisory

                                                                                          July 10, 2013

(U//FOUO) APT Actors Increased Interest in the Aviation
Industry
(U) General Observations

(U//FOUO) Since June 2013, the FBI has observed advanced persistent threat (APT) actors’
increased interest in the aviation industry. APT actors have sent spear-phishing e-mails targeting
individuals associated with the air travel industry. Some of the spear-phishing e-mails
originated from a spoofed sender in an attempt to make the e-mail appear more legitimate.
E-mail recipients should be aware of suspicious and potentially malicious e-mail attachments or
links.


(U) Impact of APT Activity

(U//FOUO) Every organization is at risk of         UNCLASSIFIED//FOR OFFICIAL USE ONLY
being the target of an APT attack. APT actors,
who are semi-sophisticated and difficult to        (U) APTs versus Hackers/Cyber Criminals
detect while on network systems, have already      (U//FOUO) Advanced persistent threat actors differ
cost US entities hundreds of millions of           from common hackers or cyber criminals by
dollars over the past decade as a result of        conducting targeted, rather than opportunistic,
harvesting enormous amounts of critical            attacks that seek precise information rather than
information including proprietary data, source     monetary gain, more closely resembling espionage.
code, negotiation tactics, and strategic           While the activity cannot often be definitively linked
operational plans. These actors have also          to any particular nation state, the sophistication,
breached networks containing sensitive             resources, and types of information sought suggests
national security information. Going forward,      governmental support.
this activity can best be mitigated with
paradigmatic shifts in cyber security.




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(U//FOUO) A general overview of the process by which APT actors compromise networks and systems is
detailed in the table below, the vector of infection being most crucial:



                                                Actors search open sources to identify and assess targets for collection
                        Reconnaissance
1 - Infiltration




                                                          and entities/relationships to exploit in the attack.



                                                Typically, well-crafted spear phishing e-mails with linked or embedded
                            Infection
                                                     files containing malicious code serve as the intrusion vector.



                                                     Attackers maintain network footholds by obtaining domain
                      Establish Backdoors         administrative credentials and moving laterally through a network,
                                                                   establishing multiple backdoors.



                                                  Persistent threat intruders laterally enumerate a network gathering
2 - Persistence




                     Enumerate the Network
                                                 valid credentials (user accounts and passwords) for multiple systems.



                                                Attackers install any number of several malicious utilities necessary to
                         Install Utilities
                                                       maintain persistence and ultimately steal information.



                                                   With access and persistence established, intruders escalate their
                       Escalate Privileges
                                                                privileges and prepare for exfiltration.



                                                Specific documents and e-mails containing targeted data are collected
                         Harvest Data              and packaged into a single, encrypted, and password-protected
                                                                          compressed file.
3 - Exfiltration




                                                 The intruders exfiltrate the compressed file to another compromised
                          Exfiltration
                                                         system in their command and control infrastructure.



                                                 Finally, intruders either attempt to clean up their tools, maintaining
                        Conceal Activity         persistence, or set the attack in a dormant state to evade detection
                                                                        while maintaining access.




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(U) Defending Against APT Activity

(U) When weighing available options pertaining to the implementation of appropriate mitigation
strategies, organizations must begin by asking themselves the following:

       (U) If proprietary data, personally identifiable information (PII), research and
       development-related data, e-mail, or other critical information were stolen, what would
       the current and future consequences be?

       (U) Has my organization evaluated data criticality based on risk? What must be protected
       in the organization?

(U) To mitigate the threat of APT activity, DHS’s United States Computer Emergency Readiness
Team (US-CERT) recommends the following actions:

       (U) Audit what needs to be networked and remove (“air gap”) vital information from
       networked devices to ensure data protection.

       (U) Monitor for and report on suspicious activity, such as spear phishing e-mails, leading
       up to significant events and meetings.

       (U) Educate users about social engineering and e-mail phishing related to high-level
       events and meetings.

       (U) Measure expected network activity levels so that changes in patterns can be more
       easily identified.

       (U) Always treat unsolicited or unexpected e-mail containing attachments or links with
       caution, even (and perhaps especially) when the e-mail appears related to known events
       or projects.

(U) Reporting Notice
(U) The FBI and US-CERT encourage recipients of this document to report information
concerning suspicious or criminal activity to the local FBI field office. The FBI’s 24/7 Strategic
Information and Operations Center can be reached by telephone at 202-323-3300 or by e-mail at
SIOC@ic.fbi.gov. FBI regional phone numbers can be found online at
http://www.fbi.gov/contact/fo/fo.htm. US-CERT can be reached by telephone at 888-282-0870
or by e-mail at SOC@us-cert.gov. The US-CERT homepage can be found online at www.us-
cert.gov. When available, each report submitted should include the date, time, location, type of
activity, number of people, and type of equipment used for the activity, the name of the
submitting company or organization, and a designated point of contact.




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(U) Administrative Note: Law Enforcement Response
(U) Information contained in this product is for official use only. No portion of it should be
released to the media, the general public, or over non-secure Internet servers. Release of this
material could adversely affect or jeopardize investigative activities.




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                                                                                                   TLP:WHITE




Alert (TA17-164A)
HIDDEN COBRA – North Korea’s DDoS Botnet Infrastructure
Original release date: June 13, 2017 | Last revised: August 23, 2017




Systems Affected

Networked Systems
Overview

This joint Technical Alert (TA) is the result of analytic efforts between the Department of
Homeland Security (DHS) and the Federal Bureau of Investigation (FBI). This alert provides
technical details on the tools and infrastructure used by cyber actors of the North Korean
government to target the media, aerospace, financial, and critical infrastructure sectors in the
United States and globally. Working with U.S. Government partners, DHS and FBI identified
Internet Protocol (IP) addresses associated with a malware variant, known as DeltaCharlie,
used to manage North Korea’s distributed denial-of-service (DDoS) botnet infrastructure. This
alert contains indicators of compromise (IOCs), malware descriptions, network signatures,
and host-based rules to help network defenders detect activity conducted by the North Korean
government. The U.S. Government refers to the malicious cyber activity by the North Korean
government as HIDDEN COBRA. For more information related to HIDDEN COBRA activity,
go to https://www.us-cert.gov/hiddencobra.

If users or administrators detect the custom tools indicative of HIDDEN COBRA, these tools
should be immediately flagged, reported to the DHS National Cybersecurity Communications
and Integration Center (NCCIC) or the FBI Cyber Watch (CyWatch), and given highest priority
for enhanced mitigation. This alert identifies IP addresses linked to systems infected with
DeltaCharlie malware and provides descriptions of the malware and associated malware
signatures. DHS and FBI are distributing these IP addresses to enable network defense
activities and reduce exposure to the DDoS command-and-control network. FBI has high
confidence that HIDDEN COBRA actors are using the IP addresses for further network
exploitation.

This alert includes technical indicators related to specific North Korean government cyber
operations and provides suggested response actions to those indicators, recommended
mitigation techniques, and information on reporting incidents to the U.S. Government.

For a downloadable copy of IOCs, see:
      IOCs (.csv)
      IOCs (.stix)
On August 23, 2017, DHS published a Malware Analysis Report (MAR-10132963) that
examines malware functionality to provide detailed code analysis and insight into specific
tactics, techniques, and procedures (TTPs) observed in the malware.
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For a downloadable copy of the MAR, see:                                                           TLP:WHITE

    MAR (.pdf)
    MAR IOCs (.stix)
Description

Since 2009, HIDDEN COBRA actors have leveraged their capabilities to target and
compromise a range of victims; some intrusions have resulted in the exfiltration of data while
others have been disruptive in nature. Commercial reporting has referred to this activity as
Lazarus Group[1] and Guardians of Peace.[2] DHS and FBI assess that HIDDEN COBRA
actors will continue to use cyber operations to advance their government’s military and
strategic objectives. Cyber analysts are encouraged to review the information provided in this
alert to detect signs of malicious network activity.

Tools and capabilities used by HIDDEN COBRA actors include DDoS botnets, keyloggers,
remote access tools (RATs), and wiper malware. Variants of malware and tools used by
HIDDEN COBRA actors include Destover,[3] Wild Positron/Duuzer,[4] and Hangman.[5] DHS
has previously released Alert TA14-353A,[6] which contains additional details on the use of a
server message block (SMB) worm tool employed by these actors. Further research is
needed to understand the full breadth of this group’s cyber capabilities. In particular, DHS
recommends that more research should be conducted on the North Korean cyber activity that
has been reported by cybersecurity and threat research firms.

HIDDEN COBRA actors commonly target systems running older, unsupported versions of
Microsoft operating systems. The multiple vulnerabilities in these older systems provide cyber
actors many targets for exploitation. These actors have also used Adobe Flash player
vulnerabilities to gain initial entry into users’ environments.

HIDDEN COBRA is known to use vulnerabilities affecting various applications. These
vulnerabilities include:
    CVE-2015-6585: Hangul Word Processor Vulnerability
    CVE-2015-8651: Adobe Flash Player 18.0.0.324 and 19.x Vulnerability
    CVE-2016-0034: Microsoft Silverlight 5.1.41212.0 Vulnerability
    CVE-2016-1019: Adobe Flash Player 21.0.0.197 Vulnerability
    CVE-2016-4117: Adobe Flash Player 21.0.0.226 Vulnerability
DHS recommends that organizations upgrade these applications to the latest version and
patch level. If Adobe Flash or Microsoft Silverlight is no longer required, DHS recommends
that those applications be removed from systems.

The IOCs provided with this alert include IP addresses determined to be part of the HIDDEN
COBRA botnet infrastructure, identified as DeltaCharlie. The DeltaCharlie DDoS bot was
originally reported by Novetta in their 2016 Operation Blockbuster Malware Report.[7] This
malware has used the IP addresses identified in the accompanying .csv and .stix files as both
source and destination IPs. In some instances, the malware may have been present on
victims’ networks for a significant period.

Technical Details

DeltaCharlie is a DDoS tool used by HIDDEN COBRA actors, and is referenced and detailed
in Novetta’s Operation Blockbuster Destructive Malware report. The information related to
DeltaCharlie from the Operation Blockbuster Destructive Malware report should be viewed in
conjunction with the IP addresses listed in the .csv and .stix files provided within this alert.
DeltaCharlie is a DDoS tool capable of launching Domain Name System (DNS) attacks,                    TLP:WHITE
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Network Time Protocol (NTP) attacks, and Carrier Grade NAT (CGN) attacks. The malware                TLP:WHITE
operates on victims’ systems as a svchost-based service and is capable of downloading
executables, changing its own configuration, updating its own binaries, terminating its own
processes, and activating and terminating denial-of-service attacks. Further details on the
malware can be found in Novetta’s report available at the following URL:

https://www.operationblockbuster.com/wp-content/uploads/2016/02/Operation-Blockbuster-
Destructive-Malware-Report.pdf

Detection and Response

HIDDEN COBRA IOCs related to DeltaCharlie are provided within the accompanying .csv and
.stix files of this alert. DHS and FBI recommend that network administrators review the IP
addresses, file hashes, network signatures, and YARA rules provided, and add the IPs to their
watchlist to determine whether malicious activity has been observed within their organization.

When reviewing network perimeter logs for the IP addresses, organizations may find
numerous instances of these IP addresses attempting to connect to their systems. Upon
reviewing the traffic from these IP addresses, system owners may find that some traffic
corresponds to malicious activity and some to legitimate activity. System owners are also
advised to run the YARA tool on any system they suspect to have been targeted by HIDDEN
COBRA actors. Additionally, the appendices of this report provide network signatures to aid in
the detection and mitigation of HIDDEN COBRA activity.

Network Signatures and Host­Based Rules

This section contains network signatures and host-based rules that can be used to detect
malicious activity associated with HIDDEN COBRA actors. Although created using a
comprehensive vetting process, the possibility of false positives always remains. These
signatures and rules should be used to supplement analysis and should not be used as a sole
source of attributing this activity to HIDDEN COBRA actors.

Network Signatures

alert tcp any any -> any any
(msg:"DPRK_HIDDEN_COBRA_DDoS_HANDSHAKE_SUCCESS"; dsize:6;
flow:established,to_server; content:"|18 17 e9 e9 e9 e9|"; fast_pattern:only; sid:1; rev:1;)

________________________________________________________________

alert tcp any any -> any any (msg:"DPRK_HIDDEN_COBRA_Botnet_C2_Host_Beacon";
flow:established,to_server; content:"|1b 17 e9 e9 e9 e9|"; depth:6; fast_pattern; sid:1; rev:1;)

________________________________________________________________

YARA Rules

{

meta:

description = “RSA Key”

strings:

$rsaKey = {7B 4E 1E A7 E9 3F 36 4C DE F4 F0 99 C4 D9 B7 94

A1 FF F2 97 D3 91 13 9D C0 12 02 E4 4C BB 6C 77

48 EE 6F 4B 9B 53 60 98 45 A5 28 65 8A 0B F8 39                                                      TLP:WHITE
                                                                                     BERNHARD DECLARATION
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                                                                                              TLP:WHITE
73 D7 1A 44 13 B3 6A BB 61 44 AF 31 47 E7 87 C2

AE 7A A7 2C 3A D9 5C 2E 42 1A A6 78 FE 2C AD ED

39 3F FA D0 AD 3D D9 C5 3D 28 EF 3D 67 B1 E0 68

3F 58 A0 19 27 CC 27 C9 E8 D8 1E 7E EE 91 DD 13

B3 47 EF 57 1A CA FF 9A 60 E0 64 08 AA E2 92 D0}

condition:

any of them

}

________________________________________________________________

{

meta:

description = “DDoS Misspelled Strings”

strings:

$STR1 = "Wating" wide ascii

$STR2 = "Reamin" wide ascii

$STR3 = "laptos" wide ascii

condition:

(uint16(0) == 0x5A4D or uint16(0) == 0xCFD0 or uint16(0) == 0xC3D4 or uint32(0) ==
0x46445025 or uint32(1) == 0x6674725C) and 2 of them

}

________________________________________________________________

{

meta:

description = “DDoS Random URL Builder”

strings:

$randomUrlBuilder = { 83 EC 48 53 55 56 57 8B 3D ?? ?? ?? ?? 33 C0 C7 44 24 28 B4 6F 41
00 C7 44 24 2C B0 6F 41 00 C7 44 24 30 AC 6F 41 00 C7 44 24 34 A8 6F 41 00 C7 44 24 38
A4 6F 41 00 C7 44 24 3C A0 6F 41 00 C7 44 24 40 9C 6F 41 00 C7 44 24 44 94 6F 41 00 C7
44 24 48 8C 6F 41 00 C7 44 24 4C 88 6F 41 00 C7 44 24 50 80 6F 41 00 89 44 24 54 C7 44
24 10 7C 6F 41 00 C7 44 24 14 78 6F 41 00 C7 44 24 18 74 6F 41 00 C7 44 24 1C 70 6F 41
00 C7 44 24 20 6C 6F 41 00 89 44 24 24 FF D7 99 B9 0B 00 00 00 F7 F9 8B 74 94 28 BA 9C
6F 41 00 66 8B 06 66 3B 02 74 34 8B FE 83 C9 FF 33 C0 8B 54 24 60 F2 AE 8B 6C 24 5C
A1 ?? ?? ?? ?? F7 D1 49 89 45 00 8B FE 33 C0 8D 5C 11 05 83 C9 FF 03 DD F2 AE F7 D1
49 8B FE 8B D1 EB 78 FF D7 99 B9 05 00 00 00 8B 6C 24 5C F7 F9 83 C9 FF 33 C0 8B 74
94 10 8B 54 24 60 8B FE F2 AE F7 D1 49 BF 60 6F 41 00 8B D9 83 C9 FF F2 AE F7 D1 8B
C2 49 03 C3 8B FE 8D 5C 01 05 8B 0D ?? ?? ?? ?? 89 4D 00 83 C9 FF 33 C0 03 DD F2 AE
F7 D1 49 8D 7C 2A 05 8B D1 C1 E9 02 F3 A5 8B CA 83 E1 03 F3 A4 BF 60 6F 41 00 83 C9           TLP:WHITE
                                                                              BERNHARD DECLARATION
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FF F2 AE F7 D1 49 BE 60 6F 41 00 8B D1 8B FE 83 C9 FF 33 C0 F2 AE F7 D1 49 8B FB 2B                    TLP:WHITE
F9 8B CA 8B C1 C1 E9 02 F3 A5 8B C8 83 E1 03 F3 A4 8B 7C 24 60 8D 75 04 57 56 E8 ??
?? ?? ?? 83 C4 08 C6 04 3E 2E 8B C5 C6 03 00 5F 5E 5D 5B 83 C4 48 C3 }

condition:

$randomUrlBuilder

}

________________________________________________________________

Impact

A successful network intrusion can have severe impacts, particularly if the compromise
becomes public and sensitive information is exposed. Possible impacts include:
      temporary or permanent loss of sensitive or proprietary information,
      disruption to regular operations,
      financial losses incurred to restore systems and files, and
      potential harm to an organization’s reputation.
Solution

Mitigation Strategies

Network administrators are encouraged to apply the following recommendations, which can
prevent as many as 85 percent of targeted cyber intrusions. The mitigation strategies
provided may seem like common sense. However, many organizations fail to use these basic
security measures, leaving their systems open to compromise:
    1. Patch applications and operating systems – Most attackers target vulnerable
       applications and operating systems. Ensuring that applications and operating systems are
       patched with the latest updates greatly reduces the number of exploitable entry points
       available to an attacker. Use best practices when updating software and patches by only
       downloading updates from authenticated vendor sites.
    2. Use application whitelisting – Whitelisting is one of the best security strategies because
       it allows only specified programs to run while blocking all others, including malicious
       software.
    3. Restrict administrative privileges – Threat actors are increasingly focused on gaining
       control of legitimate credentials, especially credentials associated with highly privileged
       accounts. Reduce privileges to only those needed for a user’s duties. Separate
       administrators into privilege tiers with limited access to other tiers.
    4. Segment networks and segregate them into security zones – Segment networks into
       logical enclaves and restrict host-to-host communications paths. This helps protect
       sensitive information and critical services, and limits damage from network perimeter
       breaches.
    5. Validate input – Input validation is a method of sanitizing untrusted input provided by
       users of a web application. Implementing input validation can protect against the security
       flaws of web applications by significantly reducing the probability of successful
       exploitation. Types of attacks possibly averted include Structured Query Language (SQL)
       injection, cross-site scripting, and command injection.
    6. Use stringent file reputation settings – Tune the file reputation systems of your anti-
       virus software to the most aggressive setting possible. Some anti-virus products can limit
                                                                                                       TLP:WHITE
                                                                                       BERNHARD DECLARATION
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    execution to only the highest reputation files, stopping a wide range of untrustworthy code    TLP:WHITE
    from gaining control.
 7. Understand firewalls – Firewalls provide security to make your network less susceptible
    to attack. They can be configured to block data and applications from certain locations (IP
    whitelisting), while allowing relevant and necessary data through.
Response to Unauthorized Network Access

Enforce your security incident response and business continuity plan. It may take time
for your organization’s IT professionals to isolate and remove threats to your systems and
restore normal operations. Meanwhile, you should take steps to maintain your organization’s
essential functions according to your business continuity plan. Organizations should maintain
and regularly test backup plans, disaster recovery plans, and business continuity procedures.

Contact DHS or your local FBI office immediately. To report an intrusion and request
resources for incident response or technical assistance, you are encouraged to contact DHS
NCCIC (NCCICCustomerService@hq.dhs.gov or 888-282-0870), the FBI through a local field
office, or the FBI’s Cyber Division (CyWatch@fbi.gov or 855-292-3937).

Protect Against SQL Injection and Other Attacks on Web Services

To protect against code injections and other attacks, system operators should routinely
evaluate known and published vulnerabilities, periodically perform software updates and
technology refreshes, and audit external-facing systems for known web application
vulnerabilities. They should also take the following steps to harden both web applications and
the servers hosting them to reduce the risk of network intrusion via this vector.
    Use and configure available firewalls to block attacks.
    Take steps to secure Windows systems, such as installing and configuring Microsoft’s
    Enhanced Mitigation Experience Toolkit (EMET) and Microsoft AppLocker.
    Monitor and remove any unauthorized code present in any www directories.
    Disable, discontinue, or disallow the use of Internet Control Message Protocol (ICMP) and
    Simple Network Management Protocol (SNMP) as much as possible.
    Remove unnecessary HTTP verbs from web servers. Typical web servers and
    applications only require GET, POST, and HEAD.
    Where possible, minimize server fingerprinting by configuring web servers to avoid
    responding with banners identifying the server software and version number.
    Secure both the operating system and the application.
    Update and patch production servers regularly.
    Disable potentially harmful SQL-stored procedure calls.
    Sanitize and validate input to ensure that it is properly typed and does not contain
    escaped code.
    Consider using type-safe stored procedures and prepared statements.
    Audit transaction logs regularly for suspicious activity.
    Perform penetration testing on web services.
    Ensure error messages are generic and do not expose too much information.
Permissions, Privileges, and Access Controls

System operators should take the following steps to limit permissions, privileges, and access
controls.
    Reduce privileges to only those needed for a user’s duties.                                    TLP:WHITE
                                                                                   BERNHARD DECLARATION
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    Restrict users’ ability (permissions) to install and run unwanted software applications, and      TLP:WHITE
    apply the principle of “Least Privilege” to all systems and services. Restricting these
    privileges may prevent malware from running or limit its capability to spread through the
    network.
    Carefully consider the risks before granting administrative rights to users on their own
    machines.
    Scrub and verify all administrator accounts regularly.
    Configure Group Policy to restrict all users to only one login session, where possible.
    Enforce secure network authentication, where possible.
    Instruct administrators to use non-privileged accounts for standard functions such as web
    browsing or checking webmail.
    Segment networks into logical enclaves and restrict host-to-host communication paths.
    Containment provided by enclaving also makes incident cleanup significantly less costly.
    Configure firewalls to disallow Remote Desktop Protocol (RDP) traffic coming from
    outside of the network boundary, except for in specific configurations such as when
    tunneled through a secondary virtual private network (VPN) with lower privileges.
    Audit existing firewall rules and close all ports that are not explicitly needed for business.
    Specifically, carefully consider which ports should be connecting outbound versus
    inbound.
    Enforce a strict lockout policy for network users and closely monitor logs for failed login
    activity. Failed login activity can be indicative of failed intrusion activity.
    If remote access between zones is an unavoidable business need, log and monitor these
    connections closely.
    In environments with a high risk of interception or intrusion, organizations should consider
    supplementing password authentication with other forms of authentication such as
    challenge/response or multifactor authentication using biometric or physical tokens.
Logging Practices

System operators should follow these secure logging practices.
    Ensure event logging, including applications, events, login activities, and security
    attributes, is turned on or monitored for identification of security issues.
    Configure network logs to provide adequate information to assist in quickly developing an
    accurate determination of a security incident.
    Upgrade PowerShell to new versions with enhanced logging features and monitor the
    logs to detect usage of PowerShell commands, which are often malware-related.
    Secure logs in a centralized location and protect them from modification.
    Prepare an incident response plan that can be rapidly administered in case of a cyber
    intrusion.
References

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    [2] AlienVault. Operation Blockbuster Unveils the Actors Behind the Sony Attacks.
    [3] Symantec. Destover: Destructive Malware has links back to attacks on South Korea.
    [4] Symantec. Duuzer back door Trojan targets South Korea to take over computers.
    [5] FireEye. Zero-Day HWP Exploit.
    [6] US-CERT. Alert (TA14-353A) Targeted Destructive Malware. Original Release Date:
    12/19/2014 | Last revised: 9/30/2016                                                              TLP:WHITE
                                                                                      BERNHARD DECLARATION
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    [7] Novetta. Operation Blockbuster Destructive Malware Report.                            TLP:WHITE
Revisions

    June 13, 2017: Initial Release
    August 23, 2017: Updated YARA Rules and included MAR-10132963 (.pdf and .stix files)


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                                                                                              TLP:WHITE
                                                                              BERNHARD DECLARATION
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          DECLARATION OF DANA BOWERS
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             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                                  )
DONNA CURLING, et al.                             )
                                                  )
Plaintiff,                                        )
                                                  ) CIVIL ACTION FILE NO.:
vs.                                               ) 1:17-cv-2989-AT
                                                  )
BRIAN P. KEMP, et al.                             )
                                                  )
Defendant.                                        )
                                                  )
                                                  )

                     DECLARATION OF DANA BOWERS


      DANA BOWERS hereby declares as follows:

         1. I am have been a Georgia voter since May 7, 2002 and am currently

             registered to vote at 3514 Debbie Ct. Duluth, GA 30097 I have been

             registered to vote at this address continuously since April 16, 2013.

         2. When I have voted on Election Day, I have voted at Precinct 96 at

             3180 Bunten Rd. Duluth, GA 30096 for 5 years, without a problem.

         3. I am the Advocacy Coordinator in candidate Josh McCall’s campaign

             for the the 9th Congressional District. As a part of my McCall

             campaign work, I have been active in voter protection, voter outreach

             and voter registration activities.




                                                                            BOWERS DECLARATION
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   4. One of my responsibilities for the campaign is monitoring possible

      voting problems in the 9th Congressional District, which includes Hall

      County.

   5. On approximately June 28, 2018 I received reports of a machine

      results tape in Hall County Precinct 10 that did not include the 9th

      Congressional District race in the May 22, 2018 primary election,

      which it should have, as well as other races (identified below). I

      received a photo of the key portion of the voting machine results tape

      (Exhibit 1) taken on election night by Kim Copeland, Chairman of the

      Hall County Democratic Party. I immediately undertook research on

      the discrepancy. That research is incomplete because Hall County has

      declined to fulfill my public records requests for information related

      to the discrepancy.

   6. The photo of the results tape (Exhibit 1) shows that the following

      races were missing from the machine results tape in Hall County:

         •   U.S. Representative, District 9 - REP
         •   U.S. Representative, District 9 - DEM
         •   State Senator, District 49 - REP
         •   State Representative, District 30 - REP
         •   State Representative, District 30 - DEM
         •   District Attorney, Northeastern Circuit - REP
         •   Solicitor General - R
         •   County Commissioner P1 - R
         •   County Commissioner P1 – D



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   7. I obtained additional photos of machine tapes (Exhibit 2) from Alana

      Watkins, Democratic Candidate for State Representative in District

      30, whose race was missing from the tape. The particular tape in

      question was for machine serial number 291032 and was printed at

      9:59 pm. This was approximately 3 hours after the closing of the

      polls; tapes are required to be printed upon the closing of the polls.

   8. I also obtained Mr. Copeland’s video recording of the Precinct 10

      results tapes, that provided more data for comparison. The video

      shows that the pollworkers certified all results tapes on the door,

      including the tape from machine 291032 missing certain races.

            The video recording can be found at the following link:

            https://www.dropbox.com/s/ea0599yeo5kiy5u/Candler%20elec

            tion%20tape.mp4

   9. On June 29, 2018 requested public records related to this discrepancy

      from Hall County Elections. After repeated emails, meetings, phone

      conversations and visits to her office, the majority of my requests for

      such public records have not been honored. The denial of access to

      public records has curtailed my ability to assess the cause of the

      problems or recommend mitigation efforts to Candidate Josh McCall.




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   10. I attended the Hall County Board of Elections meeting on July 10,

      2018 and presented my concerns. Other citizens presented similar

      concerns at the meeting. In response, Elections Director Lori Wurtz

      stated that there were “no discrepancies” and that the photo was not

      proof of a discrepancy. Ms. Wurtz did not provide any explanation for

      the missing races. The Board of Elections refused to discuss the issue

      and adjourned the meeting.

   11. As noted above, I made repeated oral and formal written requests for

      the related public records without meaningful success. Hall County

      initially took the position that the public records at issue related to this

      litigation and were not to be shown to the public.

   12. On July 13, 2018 the Hall County Board of Elections conducted a

      special meeting to go into executive session to discuss “threatened

      litigation,” and public records request. I have not threatened Hall

      County with litigation nor am I aware of any threatened litigation. I

      attended the very short public portion of the meeting to attempt to

      again express concern not only about the discrepant machine tapes,

      and reporting delays, but also their refusal to honor public records

      requests for key election records.




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   13. I was met at the July 13, 2018 meeting by five armed security officers

      assigned to the meeting (there were approximately 4 members of the

      public in attendance). I felt intimidated by this show of force which I

      interpreted to communicate to me and other concerned citizens that

      we should not pursue questions on election irregularities.

   14. At the July 13, 2018 meeting, citizens challenged the Board of

      Elections about the legitimacy of their planned closed door session.

      Nevertheless, the Board shut out the public, and did not accept public

      comment before going into closed session.

   15. Mr. Tom Smiley, Chairman of the Board of Elections, reported to me

      after the meeting that the Board decided in their closed door session

      that they would honor my public records request because I was not

      involved in the Curling v Kemp litigation, but would not honor

      requests from people associated with this lawsuit. However, to date,

      the County has only permitted me to examine a small portion of the

      records I requested.

   16. I am concerned that by filing this affidavit, I will be retaliated

      against by the Hall County Board of Elections for involvement in the

      lawsuit, and the McCall campaign will continue be denied access to

      important public records.



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   17. On July 13, 2018 I was permitted to review the county’s paper copy

      of the machine results tape from Precinct 10. Ms. Wurtz stated that

      they do not collect the tapes on the precinct doors and this was the

      county’s copy printed at the same time. The county’s copy contained

      vote tallies for the races missing from the tape copy on the door.

   18. I note that, on the May 22, 2018 election night, Hall County results

      were delayed and not reported by media until after 11:30pm.

   19. Because my public records request have been denied by Hall County,

      I have been unable to confirm reports of election night machine

      malfunctions that contributed to the late results reporting, although the

      late printing times for the machine tapes in Precint 10 indicate an

      unusual condition that should be thoroughly investigated.

   20. I am aware that even if I have access to the public records, I will be

      unable to confirm that the results recorded reflect voters’ votes on the

      unaudtiable touchscreen machines. I will be unable to confirm

      whether the missing races were on the electronic ballot on the

      problem machine because there is no paper record.

   21. I have talked with voting system experts and read the research to

      understand that there is no way to audit whether the votes that were

      reported in the official results were actually cast by voters on the



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      touchscreen machines. However, I want to review and compare the

      records of this discrepancy.

   22. I was told by Ms. Wurtz and Mr. Smiley that the likely cause for the

      missing races is that the problem machine tape may have failed to

      engage and print a portion of the results. Even if this speculation is

      accurate, there appears to be no way to verify whether that is sole

      problem and what impact it had, nor does it address why the results

      tapes were late in being printed, nor why they were certified by poll

      workers as accurate, when they were missing 9 races.

   23. As of the date of this declaration, weeks after my repeated requests,

      Hall County has not yet permitted me to review public records related

      to the reported voting machine closing problems, results printing

      discrepancies, results reporting delays, and system logs for the

      machines.

   24. On July 24, 2018 I voted in Gwinnett County precinct 100 (and report

      on discrepancies in my voter records below), and observed a voting

      machine discrepancy of concern to me.

   25. When I was in the polling place, I noticed that one DRE voting

      machine (serial number 291429) was marked “Do Not Touch” and

      was not in service. I inquired about the machine and was told by Ms.



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      Williams, a poll worker, that the out-of-service machine “froze a few

      times” earlier in the day, and the poll manager made the decision to

      discontinue its use for the remainder of the election. I asked Ms.

      Williams if voters had been casting votes on the out-of-service

      machine before it appeared to malfunction. Ms. Williams confirmed

      that, yes, the out-of-service machine had been in use and ballots had

      been cast on it for approximately “an hour to an hour and a half” after

      the polling location, Gwinnett 100, had opened at 7am. Ms. Williams

      told me of one voter who attempted to use the machine when it froze

      up on the language selection screen.

   26. Poll Manager Denise Sullivan, however, told me that voters had not

      cast votes on that machine. I have no way of knowing which story is

      accurate as to whether voters cast votes on the machine.

   27. I asked whether the voter who experienced the frozen machine at the

      language selection screen had been able to cast a ballot and Ms.

      Sullivan told me that the voter had been given a provisional ballot to

      complete. I could not learn whether there was an attempt made to

      determine if this voter had successfully cast a vote on the DRE voting

      machine in addition to his provisional ballot.




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   28. If the machine was not functioning, I do not know why this voter

      would have been given a provisional ballot instead of being instructed

      to cast a vote on another machine without the necessity of checking

      his eligibility through the provisional process. I am concerned about

      the process of forcing voters to use provisional ballots when machines

      do not accept their vote. Provisional ballot credentials are time

      consuming to complete and therefore discourage some voters.

   29. After the closing of the polls, I overhead the pollworkers talking about

      two machines for which the tabulations were not reconciling. I

      became curious about what the ballot and voter certificate

      reconciliation on the precinct recap sheet would show. Therefore, I

      asked Poll Manager Sullivan to see the polling place recap sheets,

      which I believe are public records. I wanted to see the discrepancy for

      myself, but I was denied access.

   30. After the closing at the polls at 7pm, I watched carefully as poll

      workers attempted to print the closing tape on the out-of-service

      machine. Poll workers appeared to attempt at least four times to print

      the results tape. I stayed inside the polling place to watch the

      shutdown process which was being delayed by the problem machine.




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   31. I then went outside the polling place with Ms. Sullivan and took

      photographs of the DRE machine results tapes including machine

      number 192429 after they were posted on the door at approximately

      8:40pm. I noticed that the results tape for this DRE machine showed

      no votes tallied on the machine and the results tape was attached to a

      “Zero tape” (used at opening of the polls to purportedly show that no

      votes are stored in memory). Both opening zero report and the closing

      results tape displayed printing times of 7:42 a.m. with no votes

      recorded for any candidate. (Exhibit 3)

   32. Given that the tape was printed from a machine that had reportedly

      been used to record votes that day, and was printed well after the polls

      were closed, I was puzzled to see a 7:42 am time stamp, no votes cast,

      and the “Zero report” also attached to the results tape. The printing

      time of 7:42 am was also concerning as it would have been 42

      minutes after the polls were open and over 11 hours before the polls

      were closed. Machine reports are supposed to be printed before the 7

      am opening and immediately after the 7pm close.

   33. Other machine results tapes that I recorded posted on the door showed

      print times of 7:36 pm and 7:29pm, which times are consistent with

      the time of day I observed the printing of the results tapes.



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   34. I am gravely concerned about the integrity of the upcoming election

      based my personal observations of DRE machine malfunctions in

      recent elections.

                ELECTRONIC POLLBOOK AND

          VOTER REGISTRATION DISCREPANCIES

   35. Based on my awareness of widespread problems with wrong ballot

      issuance at polling places in the May 22, 2018 primary, I decided to

      verify my own voter registration records before voting on July 24,

      2018. I checked my voter registration and polling place location on

      the My Voter Page on the Secretary of State’s website

      ( https://www.mvp.sos.ga.gov/MVP/mvp.do ), and saw that my

      precinct number had apparently changed to Precinct 100, although I

      had not received a notice of such change.

   36. My precinct has long been precinct 96, but I assumed the precinct

      assignments had changed and were authorized.

   37. I went to Precinct 100 at 54 Buford Highway, Suwanee, Georgia, at

      approximately 6:20 pm and completed the voter application form in

      order to vote.

   38. I presented my driver’s license to the pollworker whose first name is

      Christine. I do not know her last name. She located my name in the



                                                                    BOWERS DECLARATION
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      electronic pollbook and told me that I was in the wrong precinct

      location, and that I was supposed to vote in Precinct 96, not 100. I

      explained that I had checked my registration on the Secretary of State

      website that morning and that my assigned precinct was 100 at the

      Suwanee polling place.

   39. Another pollworker, Carolyn Williams told me, “Don’t worry Ms.

      Bowers, this has been happening all day,” and went on to tell me that

      she was aware of approximately 50 voters who had been assigned the

      wrong precinct.

   40. Pollworker Christine suggested that I vote a provisional ballot given

      that there was not time to get to precinct 96 by 7 pm when the polls

      would close. She assured me that the provisional ballot would be

      counted.

   41. I completed my provisional ballot information, marked the paper

      ballot, and cast it, enclosed in an envelope, and in the large locked

      black box I had been directed to.

   42. At 8:55pm that evening, I checked my voter registration page again on

      the My Voter Page on the Secretary of State website and captured

      screenshots (Exhibit 4) which showed the same Precinct 100

      assignment as it had that morning (Election Day).



                                                                      BOWERS DECLARATION
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   43. Several days later, at 7:24pm on July 29, 2018, I checked My Voter

      Page again and my precinct assignment displayed Precinct 096,

      having been changed back to my original precinct 96. (Exhibit 5). I

      had not made any changes to my voter registration nor requested a

      correction.

   44. Precincts 96 and 100 are not identical precincts in the same

      governmental jurisdictions. The misassignment can have the effect of

      disenfranchising voters by giving them the wrong ballots or forcing

      them to vote provisional ballots because they are not on the electronic

      pollbook in the precinct stated on the SOS voter registration website. I

      am concerned that a wrong assignment will also occur in the

      November election and I will be disenfranchised. I am also concerned

      about the impact on election integrity overall, as these malfunctions in

      the pollbooks or voter records happen to other voters.

   45. In my work to protect 9th Congressional District voters’ ability to vote

      in the correct races and avoid disenfrachinsement in the upcoming

      November election, I have undertaken research work using the voter

      registration records. I personally researched dozens of registration

      records for voters who were allegedly assigned to the wrong Georgia

      House District and allegedly received incorrect ballots in Habersham,



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      Banks, Stephens, Franklin and Jackson Counties in the May 22, 2018

      primary, based on voter specific information disclosed in the election

      contest pending in Fulton Superior Court (Fulton County Superior

      Court (2018CV306197)). These counties are in the 9th Congressional

      District so they are of primary interest.


   46. I used information on from Vote Builder, the Democratic Party’s

      voter history database, fed by the Secretary of State’s official

      database, and designed specifically for use by candidates and

      campaign staff, and My Voter Page on the Secretary of State’s

      website to compare House District assignments on the two records to

      the information disclosed in the election contest complaint. I

      personally reviewed numerous discrepancies between the various

      voter assignment records including the House District Maps.

   47. I am concerned about discrepancies in the pollbooks and voter

      registration files in anticipation of the November election. I do not

      believe that provisional ballots are an adequate remedy for inaccurate

      voter rolls. I recognize that provisional ballots can unintentionally

      disenfranchise voters voting in the wrong precinct, as candidates in

      their home precinct may not be on the provisional ballot voted in a

      different precinct.


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   48. Because of the numerous and widespread voter registration

      discrepancies I am personally aware of, I am concerned about my own

      vote, the votes for Mr. McCall in the 9th Congressional District, and

      more generally for the voters of the state in the upcoming election.

   49. If Georgia does not adopt paper ballots in the polling places for the

      November 2018 election, I plan to vote by mail-in paper ballot. I will

      accept the inconvenience of the absentee ballot application and voting

      process where I must vote in advance so that I may vote a verifiable

      ballot. In order to cast a secure ballot, I will have to give up my

      preference of voting in my home precinct on Election Day when all

      last minute campaign information will be available.

   50. I will personally launch activist efforts to encourage voters to request

      a mail-in absentee ballot, so that their votes can be verified and

      recounted if necessary, even if it adds expense and inconvenience to

      the voting process.

   51. I am a member of Coalition for Good Governance.



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that

the foregoing is true and correct.




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Executed on this date, August 3, 2018.



                               Dana Bowers




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                          J. NOEL
                          J. C, WHITE
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                         RACE # 95         PARTY·
                         # RUNNING
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                                                    75
                        # TI MES COUNTED
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                                                    11
                        J. HITCHINS III             3o
                        TI PRIDEMORE 0)             3a
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                       # TO VOTE FOR           1
                      # TIMES COUNTED        21
                      # TIMES BLANK VOTED
                      RACE # 476      PARTY:REP
                      # RUNNING               1
                      # TO VOTE FDR           1

                      # TIMES COUNTED                74
                      # TIMES BLANK VOTED             9
                      B. THOMPSON (I)                65
                     ************************
                     BOE At Large - D
                     RACE # a77     PARTY:OEM
                     # RUNNING              1
                     # TO VOTE FOR          1

                     # TIMES COUNTED                 18
                     # TIMES BLANK VOTED                 a
                    S. LOPEZ               15
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                    BOE 1 - R                                 BOWERS DECLARATION
                    RACE # 479     PARTY:REP
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    Corporations                Elections     '    News Room                   rofessional Licensing Boards        I      Securities         I

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t1y Voter Page

I

    oter Information                                                           Polling Place for State, County, and Municipal Elections

     DANA LORRAINE BOWERS
                                                                                   Prec1 net 100
     3514 DEBBIE CT                                                                GEORGE PIERCE PARK
     DULUTH, GA, 30097                                                             55 BUFORD HWY
     Race: Whit e not of Hispanic Origin                                           SUWANEE, GA, 30024- 0000
     Gender: Female        Status: Active                                         Election Day polling place hours are 7:00 am - 7:00 pm.
     Regist ration Dat e: 05/07/2002
                                                                                    Dire ctions to Polling Place
                                                                                        1



        Change Voter Information
                                                                                 Click Here for Early Voting Locations and Times
     Click Here for Sample Ballots                                               Click Here for Municipal Polling Place
                                                                                 NOTE: Non-specific rura l addresses may not be available.




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  Corporations              Elections         News Roo               fessional Licensing Boards         I      Securities        II   Ch

My Vot er Page

                                                                     olling Place for State, County, and Municipal Elections

                                                                       Precinct 096
   351 4 DEBBI E CT                                                    BUNT EN ROAD PARK
   DULUTH, GA, 30097                                                   3180 BUNTEN RD
   Race: White not of Hispanic Orig in                                 DULUTH, GA, 30096 - 0000
   Gender: Female     Stat us: Active                                  Election Day polling place hours are 7:00 am - 7:00 pm.
   Registration Date: 05/07 /2002
                                                                        Directions to Polling Place
      Change Voter Information
                                                                     Click Here for Early Voting Locations and Times
   Click Here for Sample Ballots                                     Click Here for Municipal Polling Place
                                                                     NOTE: Non-specific rural addresses may not be available.




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         DECLARATION OF BRUCE P. BROWN
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Roy E. Barnes
John F. Salter
July 26, 2018
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cc: (continued)

      David D. Cross
      Halsey G. Knapp, Jr.




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                            OFFICIAL ELECTION BULLETIN
                                           August 1, 2018


TO:            County Election Officials and County Registrars

FROM:          Chris Harvey, Elections Division Director

RE:            Response to Coalition for Good Governance Communication


Dear County Commissioners ancj Officials,

I am writing to you as the State of Georgia's Elections Director, a position I have held since July
2015. From August 2007 until July 2015, I was the Chieflnvestigator and Deputy Inspector
General for the Secretary of State's office, investigating, among other items, potential violations
of state election law. For over a decade, it has been my job to be intimately familiar with both
Georgia election law, systems, processes, and procedures.

Before joining the Secretary of State's office, I was the Director of the Cold Case Homicide Unit
with the Fulton County District Attorney's office where I investigated previously unsolved
homicides. Prior to that role, I was the Chief Investigator with the DeKalb County District
Attorney's Office where I led investigations in all crimes, including public corruption. Over my
career in law enforcement, it has been my intention to serve Georgia by promoting public safety,
security and fidelity to the law.

Throughout my tenure at the Secretary of State's office, election security has been a top priority
for me personally, as it is for the entire Secretary of State's office and county election officials.
Now more than ever, and especially since the election of 2016, voting security is featuring more
prominently as a topic of national conversation. However, it has been a way of life in the
Secretary of State's office for far longer. I write to you today to explain some of the protections
that we, along with county election officials, have in place to ensure that Georgia's elections are
secure and ask for your assistance in continuing to ensure secure elections in our state.

Elections irt Georgia are a partnership between the state and the counties. County election
officials run elections while the Secretary of State's office maintains the voter registration
database and provides support to the counties. We work with your county election officials every
day, and these hard-working public servants are truly the linchpin of our democracy.

Long before the public spotlight turned to the realm of elections, we recognized the real threat of
people and entities - both foreign and domestic - seeking to interfere with our electoral process.
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                                                                                    BRUCE BROWN DECLARATION
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To combat this threat, we work with federa l, state, local, and private sector partners every day,
and we are continually adding additiona l levels of both cyber and physical security to Georgia's
election system . It is our duty to provide Georgians with the opportunity to vote on a secure and
reliable voting system, which we regularly test to ensure ongoing compliance with state law and
State Election Board rules.

Georgia 's election system consists of many components, including the voter registration system,
election management system, voting machines, and election night reporting website. Strict
security mechanisms surround each component. These safeguards include, but are not limited to,
frequent password changes, brute force and inactivity account disabling, and two-factor
authentication . Many people are pleasantly surprised to hear that Georgia builds its encrypted
ballot databases on machines which are never connected to the internet - a safeguard which
many other states have not yet implemented. We also deploy cybersecurity protections, secure
armed transport of election materials, and physical security for our voting machines. Your
county election officials are familiar with these processes and treat them with the utmost
importance.

Recently, some county boards have received communications from parties who filed a federal
lawsuit against Georgia to stop the use of voting machines -Direct Recording Electronic (DRE)
equipment - and demand hand-counted paper ballots . In these communications to you, they
mistakenly cite a state law which was superseded by a newer law for the assertion that counties
can unilaterally elect to stop using DRE voting equipment. Their assertion is not an accurate
statement of Georgia law.

In 2003, Georgia moved to a state -wide, unified system in 2003. O.C.G.A. § 21-2-300 (a) states,
"Provided that the General Assembly specifically appropriates funding to the Secretary of State
to implement this subsection, the equipment used for casting and counting votes in county, state, ,
and federal elections shall, by the July, 2004, primary election and afterwards, be the same in
each county in this state and shall be provided to each county by the state, as determined by the
Secretary of State." Further, O.C.G.A. § 21-2-381 requires absentee in-person ballots (early
voting) to be on a DRE and O.C.G .A. § 21-2-379 .7, which requires at least one DRE unit
accessible to handicapped voters to be placed in each precinct, and State Election Board rules
align with both of these statutes.
There are some who believe that because the current DRE machines are fully electronic, there is
no way to verify that voter selections match the vote count's output. This belief is not true. There
are numerous ways to ensure that our voting machines are accurately counting votes, and
election officials test and demonstrate the accuracy of these machines through logic and accuracy
testing before every single use. Last year, the state also conducted a re-examination 0f the voting
machines to ensure accuracy. In each of the three selected counties, each machine 's output      ·
exactly matched its input on simulated election day conditions. Furthermore , on election days in
2018, the Secretary of State's office conducts parallel testing, which means we take an actual
county's ballot database and run a mock election to ensure that output matches the ballot
selections. In each instance, the machine's output has exactly matched the selections. We have
  ever taken accuracy for granted. It is constantly tested and re-tested .

There is a provision of Georgia law that allows the state to move to paper ballots in the event that
the machines are "inoperable or unsafe." If we ever reach a point where our office feels that these

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                                                                                   BRUCE BROWN DECLARATION
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    machines cannot be trusted to accurately deliver election results, we will invoke this statutory   )
(   provision. To this day; there is no credible evidence that our election process is anything except
    secure and accurate.                                                                             v
    While we are confident in the integrity of our elections, we remain vigilant and committed to          ..
    ensuring that the confidence of Georgia voters in their elections and government is well-
    deserved. The Secretary of State's commitment to constant vigilance is why we have supported a
    move towards a new voting system to replace the current, aging system in a responsible fashion.
    This year, Secretary Kemp appointed the bi-partisan Secure, Accessible, and Fair Elections
    (SAFE) Commission, which consists of numerous county election officials, legislators, election
    law experts, a cybersecurity expert, and an accessibility expert. The SAFE Commission, working
    with our office, will present recommendations to the General Assembly by this January on how
    to responsibly move to a new system.
    As county officials, we recognize the role that you play in keeping our system secure and
    accurate. The Secretary of State's Office values our county partners who work hand-in-hand with
    county elections boards and officials to run Georgia's elections. Thank you for your continued
    support and dedication to secure elections in Georgia. Please feel free to contact me directly with
    any questions.


    Sincerely,

    Chris Harvey

    State ElectionsDirector

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           DECLARATION OF JASMINE CLARK
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                IN THE UNITED STATES DISTRICT COURT FOR
                   THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


                                               )
DONNA CURLING, et al.                          )
                                               )
Plaintiff,                                     )
                                               )   CIVIL ACTION FILE NO.:
vs.                                            )   1:17-cv-2989-AT
                                               )
BRIAN P. KEMP, et al.                          )
                                               )
Defendant.                                     )
                                               )
                                               )

                      DECLARATION OF JASMINE CLARK


       JASMINE CLARK​ hereby declares as follows:

             1. I am have been a Georgia voter since 2006 and am currently

                registered to vote at 280 Braxton Place in Gwinnett County. I have

                been continuously registered to vote at this address since 2016.

             2. My precinct is Lucky Shoals Park and my polling place is located at

                4651 Britt Rd, Norcross, GA.

             3. I have not made changes to my voter registration while living at this

                addresss.




                                                                                   CLARK DECLARATION
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            4. I am a candidate for Georgia House of Representatives District 108 in

                the upcoming November, 2018 election.

            5. As a candidate, I have become aware of chronic problems in

                Georgia’s electronic election system and I follow the news of Georgia

                voting problems. I followed news reports of the security failures and

                breach of the KSU election server and voter files, as well as

                numerous problems reported with incorrectly assigned districts such

                as the inaccurate voter assignments of approximately 600 voters
                                                       1
                reported in House District 81.

            6. I frequently visit the My Voter Page section of the Secretary of State’s

                website (​https://www.mvp.sos.ga.gov/MVP/mvp.do​ ) as I campaign

                and help voters check their registrations, which I routinely encourage

                them to do.

            7. I frequently verify my own registration to be certain that unauthorized

                changes have not been made. I am aware of the security breaches in

                the voter files and want to be certain that my registration is never

                affected.


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https://politics.myajc.com/news/state--regional-govt--politics/doraville-voters-might-have-been-given-wron
g-ballots/XIyZEXgkEwhuV4q9hrdFvM/




                                                                                                  CLARK DECLARATION
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    8. On Election Day, July 24, 2018, I arrived at my precinct polling place

       at 4651 Britt Rd, Norcross, GA at approximately 7:50 a.m., planning

       to vote before going to work.

    9. A person in line in front of me at the voter check-in table was turned

       away without voting as I overhead the poll worker tell him that he was

       in the wrong polling place, although he insisted that it was his

       traditional polling place. I wondered if discrepancies were being

       encountered with the electronic pollbooks in my polling place.

    10. I presented my drivers license and after the poll official checked the

       electronic pollbook, he told me that I was not in the pollbook for

       precinct 012 but that I must go to the Chinese Christian Church on

       Britt Rd., another precinct nearby, but in a different District.

    11.I was completely confident of my polling place precinct assignment

       and location and refused to leave, but instead made phone calls and

       inquiries to try to vote in my polling place on a regular (not

       provisional) ballot.

    12.I talked with the precinct workers and managers and was repeatedly

       told that I was in the wrong precinct polling location and not on the

       electronic voter list for precinct 012.




                                                                           CLARK DECLARATION
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    13.I opened my smart phone and pulled up my information on My Voter

       Page and showed the workers that I was present in the correct precinct

       according to the live Secretary of State’s website. They contined to

       insist that the electronic pollbook showed my voting location at

       another precinct polling place, and would not issue a ballot for my

       precinct to me.


    14.After spending approximately 25 minutes on the phone trying to

       resolve my problem, pollworkers told me that suddenly my name had

       appeared on the electronic pollbook for that voting location. There

       was no explanation offered as to how this was possible after so many

       election officials had previously checked the records, reportedly

       finding that I was not eligible to vote in this precinct 012.


    15.I was issued a voter access card and voted my electronic ballot on the

       touchscreen machine without incident, although I had spent at least a

       half-hour more at the polls than I had planned. Unlike other people I

       met that day who were turned away, I had the flexibility to stay to

       fight for my right to vote in the right precinct on the correct ballot.




                                                                           CLARK DECLARATION
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             16. Although I had no logical explanation for what happened, I took the

                 first opportunity at approximately 10 am that morning to record and
                                              2
                 post a video to Facebook to explain my experience to other voters

                 and offer advice on what to do if they encountered voting problems

                 because of their pollbook or voter registration issues.

             17. Both as a candidate and a citizen, I am deeply concerned about the

                 security failures of the electronic voting system, and the discrepancies

                 and errors in the electronic pollbooks that disenfranchise and

                 discourage people from voting.

             18.I heard people in the precinct 012 polling place who were turned away

                 say that they did not have time to travel to another polling place. I did

                 not hear pollworkes offer them a provisional ballot, making it likely

                 that these people did not get the opportunity to vote.

             19.I plan to vote in the November 2018 election and based on my

                 experience, I am concerned that I may be given an inaccurate ballot,

                 or that my name may not be found in the pollbook, or that I will be

                 otherwise disenfranchised.




2
    ​https://www.facebook.com/annakellyleary/posts/10155422963347096




                                                                                    CLARK DECLARATION
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        20.As a candidate, I am concerned about voters in my district potentially

           being disenfranchised and the impact on my House District 28 race

           and all other races on the ballot.

        21.As additional voting problems are discovered and exposed, I expect

           that voters will be discouraged from voting and voter confidence will

           continue to diminish, along with voter turnout, if the immediate

           corrections are not made to the election system.



     I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that

     the foregoing is true and correct.



     Executed on this date, July __,
                                 31 2018.




        _______________________________

Jasmine Clark




                                                                              CLARK DECLARATION
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     DECLARATION OF KIMBERLY C. COPELAND
      Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 113 of 369




             IN THE UNITED STATES DISTRICT COURT FOR
                THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                               )
DONNA CURLING, et al.                          )
                                               )
Plaintiff,                                     )
                                               )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                            )   2989-AT
                                               )
BRIAN P. KEMP, et al.                          )
                                               )
Defendant.                                     )
                                               )
                                               )

               DECLARATION OF KIMBERLY C. COPELAND

       KIMBERLY C. COPELAND hereby declares as follows:

  1. I am a Georgia voter registered to vote at my residence at 3420 Meadow

       Lane, Gainesville, Georgia, 30506.

  2. I served for 11 years on the Hall County Board of Elections until November

       2017. I am currently the Chairman of the Hall County Democratic

       Committee. My role in the county Democratic Party includes promoting

       voter rights, election integrity, voter registration, supporting our candidates’

       campaigns and voter turnout.

  3. On May 22, 2018, late in the evening of Primary Election Day, I received a

       call from Alana Watkins, Democratic Party candidate for House District 30.

       She reported that she had just visited her home Precinct 10 (Candler) polling

       place at Hopewell Baptist Church, 5086 Poplar Springs Rd, Gainesville,



                                                                           COPELAND DECLARATION
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   Georgia, 30507, on her way home from our victory party to review the

   machine results tapes posted on the door. She reported that one tape did not

   contain her race. I told her that I would investigate.

4. I went to the Candler polling place that night a little before midnight. I

   observed ten DRE voting machine results tapes posted on the door. I

   observed one results tape that was missing the House District 30 race as Ms.

   Watkins had reported, and was also missing several other races such as the

   Congressional District 9 races, and County Commissioner races, among

   others.

5. At approximately 11:58 pm, I took the picture as Exhibit A of the portion of

   the results that was missing races. I also shot a short video of the results tape

   comparing it the other tapes posted on the door. It is posted at:

   https://www.dropbox.com/s/ea0599yeo5kiy5u/Candler%20election%20tape.

   mp4?dl=0.

6. I examined the tape and confirmed that there were no tears, folds or other

   signs of a change in the tape that could account for the missing data.

7. I provided copies of the photograph (Exhibit A) and video recording

   (Exhibit B) to Ms. Watkins, state party officials, and Dana Bowers of the

   Josh McCall campaign for the 9th Congressional District for follow up.




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   8. I have been involved in Hall County election mechanics and reporting for

      over 10 years. I had never before seen a machine tape posted that is missing

      races, so this naturally concerns me as to the extent to which such

      malfunctions can impact or alter the vote on the paperless unauditable

      machines.

   9. In addition, on Primary Election Night, I noticed the election results from

      Hall County were unusually late in being reported. Michelle Jones of the

      Hall County Board of Elections reported she was told that about one-half of

      the voting machines in the county were experiencing problems closing

      down.

   10. I have not received further information on the nature of the reported

      machine shutdown issues.

   11. I am concerned about the inability to recount, verify, or audit Georgia's

      election results from the electronic voting system without a paper audit trail.

I declare under penalty of perjury, in accordance with 28 U .S.C. § 1746, that the

foregoing is true and correct.



Executed on this date, August 2, 2018       .            ~


                                   ~/,
                                 LKimberly C. Copeland          ·




                                                                               COPELAND DECLARATION
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                                    UNTED
                               ES BLANK VOTED
                             MILLER
                          J. NOEL
                          J. C, WHITE
                          ************
                          Psc Pr; demore-- R     •/fi p
                         RACE # 95          PARTY·
                         # RUNNING
                                                      2
                                                      1
                         # TO VOTE FOR
                                                     75
                         # TI MES COUNTED
                        # TI MES BLANK VOTED
                                                     11
                        J. HITCHINS III              3o
                        TI PRIDEMORE 0)              3a
                        ************************
                       PSC Pridemore- D
                       RACE # 96      PARTY:OEM
                       # RUNNING              2
                       # TO VOTE FOR           1
                       # TIMES COUNTED        21
                       # TIMES BLANK VOTED
                       RACE # 476      PARTY:REP
                       # RUNNING               1
                       # TO VOTE FDR           1

                      # TIMES COUNTED                 74
                      # TIMES BLANK VOTED              9
                      B. THOMPSON (I)                 65
                      ************************
                      BOE At Large - D
                      RACE # a77     PARTY:OEM
                      # RUNNING              1
                      # TO VOTE FOR          1

                     # TIMES COUNTED                  18
                     # TIMES BLANK VOTED                  a
                     S. LOPEZ               15
                     ************'***********
                     BOE 1 - R                                COPELAND DECLARATION
                     RACE # 479     PARTY:REP
                     # RUNNING              1
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              DECLARATION OF ROB KADEL
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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF
                       GEORGIA ATLANTA DIVISION

  DONNA CURLING, ET AL.,
  Plaintiffs,
                                               Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.



                       DECLARATION OF ROB KADEL


        I, ROBERT S. KADEL pursuant to 28 U.S.C. § 1746, hereby declare as

follows:

        1. I am a registered voter in DeKalb County, Georgia, and registered to vote

           at my home address of 2426 Sherbrooke Ct. NE, Atlanta, GA 30345.

        2. I am employed by the Georgia Institute of Technology as Assistant

           Director for Research in Education Innovation, Center for 21st Century

           Universities.

        3. As a Georgian, a sociologist (Ph.D., Emory University, 1998), and a

           research volunteer on Georgia’s election processes, I have sought a

           greater understanding of the operation of touchscreen voting systems.



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 4. Therefore when I voted in advance voting on May 4, 2018 at The Gallery

    at South DeKalb Mall in Decatur, Georgia, I was attentive to the details

    of the voting process.

 5. Prior to voting, I had accessed the Georgia Secretary of State’s website

    to check my registration details and print a sample ballot for races and

    questions for which I am eligible to vote.

 6. I carried my marked sample ballot with me to the polling place for

    reference.

 7. I arrived at the polling place at approximately noon, and there were very

    few people in the polling place.

 8. I filled out the paper form for application for early voting and handed a

    poll worker that completed form and my driver’s license. The poll

    worker verified my information and signature and then asked me to take

    my license and the form to another table with four laptops on it.

 9. At that table, I gave the poll worker my form and license. She scanned

    my license barcode and handed it back, then she gave me an activated

    yellow voter access card with which to initiate the voting process on the

    touchscreen machine.

 10. I used a machine with serial number 116649.




                                                                        KADEL DECLARATION
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 11. I selected choices in the races for Governor and a few others and then

    noticed that the electronic ballot presented on the screen displayed

    Congressional District 5 and State Senate District 44.

 12. I live in Congressional District 6 and State Senate District 42, and was

    alarmed to see races to vote for which I am ineligible, and to see that my

    electronic ballot was missing races for which I am eligible to vote.

 13. I alerted a poll worker who alerted her supervisor, Ms. Atkinson, who

    was managing certain areas of the polling place that I had an incorrect

    ballot.

 14. The poll worker whom I had alerted held her finger on the “page" button

    at the bottom of the machine screen for about 10 seconds and then

    cancelled my ballot and ejected the card.

 15. The poll worker and I walked over to the table of laptops where they

    were coding the yellow voter access cards, and I explained that I should

    be voting in Georgia Congressional District 6 and Georgia State Senate

    District 42.

 16. The poll worker said that if I was seeing “Georgia 5,” it is because I live

    in “Georgia 5.”

 17. I told her that I had voted in the Georgia’s 6th Congressional District

    Special Election last year.



                                                                       KADEL DECLARATION
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 18. I have not changed my residence since voting in the 6th District Special

    Election in 2017.

 19. The poll worker called over Ms. Atkinson who looked at the sample

    ballot I had brought with me (to indicate which candidates I wanted to

    vote for). The supervisor said that I had a nonpartisan ballot that

    wouldn’t have shown any races.

 20. I corrected her and said that this was the Democratic sample ballot that I

    had printed at home, and that she could see that it had the Stacey

    Abrams / Stacey Evans race for Governor at the top.

 21. Ms. Atkinson instructed another poll worker to re-enter my information

    into a touch screen device sitting on the table (operated with an

    electronic stylus), and then they finally saw that I had been presented

    with the wrong ballot.

 22. They generated a new yellow voter access card for me at that time,

    which was approximately 12:11 pm.

 23. The original poll worker with whom I had spoken walked back with me

    to the machines and I voted on machine serial number 158583.

 24. The poll worker watched me insert my card and asked if I would quickly

    hit the Next button to get to the screens with the congressional races and




                                                                          KADEL DECLARATION
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    verify that I was presented with the correct races on the electronic ballot.

    I did that, and all looked correct.

 25. The poll worker then left to provide voter privacy, and I skipped back to

    the beginning and began making my electoral selections.

 26. I cast that electronic ballot on the touchscreen machine at 12:15 p.m.

 27. I walked to another table and returned my yellow card to another poll

    worker. She asked me if I had time to take a survey, and I said that I

    really needed to get going.

 28. Based on my personal research and my May 4, 2018 voting experience, I

    do not believe that the DRE voting system can be relied on to produce

    accurate election results. However, I still desire to vote in the November

    2018 election.

 29. I plan to vote by mail-in paper ballot to ensure that I can thoroughly

    check the accuracy of the ballot issued to me and that my vote can be

    verified and recounted if necessary. If I vote by mail, I will incur

    additional inconvenience of requesting and voting a mail ballot in order

    to case a more secure ballot. I would prefer to maintain the flexibility to

    vote in my neighborhood precinct on Election Day when all last-minute

    campaign information is available. However, if paper ballots are not

    available at the polling place, I will be forced to choose between casting



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         a verifiable paper ballot and giving up my ability to vote on Election

         Day in my local polling place.

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS

TRUE AND CORRECT.

Executed on August 2, 2018

______________________

Robert S. Kadel




                                                                          KADEL DECLARATION
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            DECLARATION OF LOGAN LAMB
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Michael Barnes

From:                          Steven Dean <stevendean@kennesaw.edu>
Sent:                          Wednesday, March 15, 2017 10:51 AM
To:                            Michael L. Barnes; Merle Steven King
Subject:                       Request for data retrieval from elections.kennesaw.edu



We would like to retrieve certain records from elections.kennesaw.edu, including equipment inventory records
and workflow databases used during ballot building. These data are located in the cesuser user directory at
/home/cesuser. We would like to retrieve the entire cesuser directory.


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




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From:               Stephen Craig Gay
To:                 Lectra Lawhorne
Subject:            CES Investigative update
Date:               Friday, March 17, 2017 5:11:58 PM




Lectra,

Good afternoon. I wanted to take a moment and provide you with an update on the Center for Election Systems
Incident Response process:

- We met with CES Staff today to review the architecture of their internal network, review physical access controls,
and understand the services running on the internal network. We validated that an air gap exists between the internal
and external network and further validated via arp tables that no routes were available from the intranet servers to an
external network. Several opportunities for improvement were identified and CES staff are working on
documentation for the system. An executive summary with recommendations is forthcoming

- All external-facing servers associated with the Center are isolated to elections.kennesaw.edu which is hosted in the
Enterprise instance ofOmniUpdate and contains only public information.

- UITS WinServ, in partnership with the ISO and CES, is provisioning a dedicated Virtual Server which will be used
for internal file storage for CES. The server will be locked down via AD group memberships and will use verbose
logging and monitoring tied to our splunk instance. The logs will specifically audit for file access and alert on any
modifications to the authorizing AD group. Furthermore a local firewall will be in place and all traffic outside the
CES IP range blocked.

- I met with FBI Agent Ware at 4:30pm to receive the elections server - Dell PowerEdge R610 Tag Number
96J2F21. The ISO team will be performing a data recovery for data requested by the CES (Business Operations) on
Monday. We have confirmed that the FBI is maintaining a forensic image and changes to the server can occur.
Agent Ware shared that "the investigation is wrapping up" and mentioned being in attendance at the March 29th
meeting with AUSA Grimberg.

Please let me know if you have any questions or if I can provide any additional information.

In service,

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9050
sgay@kennesaw.edu




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Milestone                                         Due Date   Status       Lead        Notes
Private Network Assessment Meeting                   26-Jun Complete      S.Gay
Spec UPS                                             13-Jul Complete      C.Dehner
Order UPS                                            13-Jul Complete      C. Dehner
DBAN R610 Hard Drives                                 7-Jul Complete      C. Dehner
Deliver R610 to Networking                            7-Jul Complete      C. Dehner
Image Dell PowerEdge R630s (101614 & 101613)         26-Jul Complete      C. Darrow
Rack Dell PowerEdge R630 and migrate DC and NAS      28-Jul In progress   C. Darrow
Install UPS                                          4-Aug Complete       C. Darrow Due data dependant on delivery of UPS from CDW-G.




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192.168.3.104    Llnux2.8.8                             ~70                                IMI Card Du licator
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From:           Chnstopher Dehner
To:             Steven Dean; Jason Figueroa
Cc:             Michael Barnes; Stephen Gay
Subject:        CES server surplus
Date:           Wednesday, August 9, 2017 11:24:58 AM


Fellas,

I will arrive at the center around 1:30 today to pick up the old DC. I will also get the old
unicoi server from secure storage. Additionally, I sent in a service ticket for this request.

Regards,

Chris

Get Outlook for Android




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 STATE OF GEORGIA

FULTON COUNTY



                    AGREEMENT BETWEEN THE SECRETARY OF STATE

                                                AND

         THE BOARD OF REGENTS OF THE UNIVERSITY SYSTEM OF GEORGIA


        This AGREEMENT ("Agreement"), made this ~ day o f ~ 2016, by and
between the OFFICE OF THE SECRETARY OF STATE OF THE STATE OF GEORGIA
(hereinafter the "Secretary of State"} and the BOARD OF REGENTS OF THE UNIVERSITY
SYSTEM OF GEORGIA through KENNESAW STATE UNIVERSITY, a unit of the University
System of Georgia, (hereinafter "University") for the consulting services of the Center for Election
Systems of KENNESAW STATE UNIVERSITY (hereinafter" KSU").


                                          WI1NESSETH

        WHEREAS, the Secretary of State desires to employ the services ofKSU to assist the staff
of the Elections Division of the Office of the Secretary of State (hereinafter "the Elections
Division") with: technical support and training of State election officials in the use ofthe Statewide
unifonn electronic voting system {hereinafter "the voting system") in the State of Georgia;
acceptance testing for the fiscal year 2017 of the GEMS software, the direct recording electronic
voting devices (hereinafter "DREs"), and the electronic poll book/encoders "ExpressPoll" which
constitute components of the voting system; ballot building and related activities for counties and
municipalities in the State of Georgia ("State");

        WHEREAS, the Secretary of State has the authority under the Laws of the State ofOeorgia
to enter into this Agreement; and

       WHEREAS, the University is both qualified to enter into this Agreement and has offered
such services to the Secretary of State under the terms and conditions stated herein; and

        WHEREAS, the parties wish to enter into this Agreement under the terms and conditions
set forth herein;

        NOW THEREFORE, in consideration of the mutual promises and agreements hereinafter
set forth, the satisfactory consideration each for the other hereby expressly recognized and agreed,
the parties hereby contract for services in accordance with the following provisions.

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                              ARTICLE I. SCOPE OF SERVICES

       KSU will assist the staff of the Elections Division under the direction of and as directed by
the Director of the Elections Division or his/her designee, in the following areas:

       A.      KSU shall maintain a "Center for Election Systems" (hereinafter "the Center") that
               will primarily provide technical and training support on the statewide wiifonn
               system to the Elections Division, Georgia election officials, county election board
               members and election superintendents;

       B.      KSU shall test the voting system for compliance with the Georgia Elections Code,
               as required under Article 9 of Chapter 21 of the Official Code of Georgia and under
               the Rules of the State Election Board and the Rules of the Secretary of State, as
               these laws and rules presently exist and may hereafter be amended. This testing to
              be conducted during Fiscal Year 2017 shall include, but is not limited to, the
              physical examination of software and voting equipment acquired by the Secretary
              of State or any County in the State of Georgia in connection with deployment of
              the voting system, and the preparation and submission of reports of such
              evaluations to the staff of the Elections Division;

       C.     KSU shall work with the vendor and the Elections Division to define the next
              versions of all components of the voting system;

       D.     KSU shall implement classes and training modules, using electronic media where
              possible, for the instruction of Election Superintendents and Voter Registrars in the
              use of the voting system;

       E.     KSU shall provide ballot building support for county election officials. KSU will
              provide office space and appropriate technical support for these services. KSU will
              coordinate the printing of paper absentee ballots;

       F.     KSU shall support the deployment of the ExpressPoJI electronic pollbook,
              including preparation of compact flash memory cards with voter lists for each
              election and extraction of credit-for-voting data, post-election;

      G.      KSU shall support all State certification testing of voting systems and will provide
              acceptance testing for the State's voting system

      H.      KSU shall provide technical support for the State's election servers installed in the
              county election offices throughout the State;


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        I.      KSU shall provide consultation and advice to local governments on the purchase,
                testing, and utilization of the software, voting equipment and other components
                which comprise the voting system;

        J.      KSU shall maintain a website that will provide an initial point of contact for
                election officials wishing to utilize the services of the Center. The website shall
                describe the various services available through the Center, provide directions for
                obtaining these services from the Center, and facilitate answers to ..frequently asked
                questions";

        K.      KSU shall maintain a Help Desk designed for immediate response to problems
               encountered with any component of the voting system during the conduct of an
               election in any precinct. The Help Desk shall be staffed from 8:00 a.m. to 5:00
               p.m. on all business days throughout the year, and from 6:00 a.m. witil County
               tabulations are concluded on election days;

        L.     Upon request of the Secretary of State, KSU shall assist the Secretary of State
               with identifying, inspecting, and/ or implementing a new state wide voter
               registration system which will allow integration with the voting system;

        M.     Upon request of the Secretary of State, KSU shall provide key faculty/employees
               identified as the Executive Director, Director, and Assistant Director of KSU with
               Blackberry technology or equivalent email and messaging capabilities;

        N.     KSU shall coordinate the proper disposal of decommissioned voting system
               components at the direction of the Elections Division;

        0.     KSU shall provide consulting services to Secretary of State on legislation or
               pending legislation and laws affecting elections;

        P.     KSU shall provide any other election services as may be required by the Elections
               Division;


                          ARTICLE II. RESPONSIBILITIES OF KSU

         KSU shall continue to maintain a permanent location on the KSU campus for the operation
of the Center. The Center shall be operated and maintained by a full-time staff, including but not
limited to, an Executive Director, a Center Director, a Center Assistant Director, technical support
staff, and student assistants. The Center shall contain voting equipment and software, provided by
the Secretary of State, necessary to completely define, setup and conduct a sampJe election. The
Center shall maintain a ballot building facility to house Center staff and Elections Division staff
for the purpose of building ballots for counties and municipalities.


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        KSU shall not possess, obtain, or acquire, either directly or indirectly. a pecuniary interest
in any business entity involved in the development,. manufacture, marketing, or sale of computer
voting equipment or software during the term of this Agreement and for one year after the ending
date of this Agreement.

         Any software, databases, or other analytic tools obtained or developed in support of
activities covered under this Agreement and any work product resulting from activities covered
under this Agreement are the property of the Secretary of State and may not be offered or utilized
by any other entity in any manner whatsoever, in whole or in part, without the written pennission
of the Secretary of State or a designee of the Secretary of State.

       KSU shall deploy newly purchased property acquired by the Elections Division, only after
consultation with the individual within the Elections Division designated by the Elections Division
Director for such pwpose.

        KSU shall require all employees of the Center who have access to the system and system
security measures to sign confidentiality agreements, as provided by the Secretary of State.


                            ARTICLE Ill. TIME OF PERFORMANCE./                                  arfctr
                                                                     (., CJJ/7 cir        q.-
       The period of this Agreement shall be from July l , 201¥, through June 30, 201'. Either
party may cancel this Agreement upon thirty days written notice to the other party.


                       ARTICLE IV. COMPENSATION AND PAYMENT


        For the satisfactory perfonnance of its duties and obligations set forth herein, K.SU shall
be compensated for its services for the full year of this Agreement in the amowit not to exceed
$792,385.00, for the State fiscal year 2017, billable in 12 installments of$66,032.08. Invoices shall
be submitted to the Secretary of State on a monthly basis. KSU 's services shall include support for
such professional services. including secretarial, student assistants, mail and express mail deliYery,
telephone, computer charges, computer equipment and software, photocopying and other staff
expenses as set forth in Appendix "A" attached hereto and incorporated herein by reference KSU' s
services and obligations under this Agreement shall be completed at or prior to the time of final
payment. In the event of cancellation under Article III, no further payments shall be required under
this Agreement beyond the end of the month in which the cancellation is executed.


                           ARTICLE V. RETENTION OF RECORDS

      KSU shall keep and maintain as records of the Secretary of State all records and other
docwnents pertaining to the perfonnance of this Agreement until the final payment of funds to
                                                 -4- .




                                                                                                         LAMB DECLARATION
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KSU by the Secretary of State pursuant to this Agreement has been completed. At such time,
physical custody of the records and documents shall be returned to the Secretary of State.

       The University and KSU shall give immediate notice by telephone to the Elections Division
Director of the Secretary of State of any open records request made pursuant to O.C.O.A. § 50-18-
70 et seq., request for production of documents and tlrings, or subpoena associated with any
litigation relating to any computer programs. computer software, equipment, or any other
documents, issues or materials relating to the Voting System or any of its components. The
University and KSU acknowledge that computer programs and computer software may be
exempted from disclosure when meeting the defmitions and provisions ofO.C.G.A. § S0-18-72(f)
and that an open records request may affect State or vendor rights. The University and KSU shall
deliver to the Elections Division Director a copy of any written open records request received by
the University or KSU promptly by electronic transmission. facsimile or in any event within 24~
hours of its receipt of the request. In so far as possible, the University and KSU will allow the
Secretary of State prior opportunity to comment on any response to any open records request
within this paragraph; however, such review shall be for the convenience of the Secretary of State.
without responsibility or liability to the University or KSU.

               ARTICLE VI. REPORTING AND AUDITING REQUIREMENTS

       KSU shall provide monthly reports to Secretary of State to report the status of the
Center's performance under the Agreement and the Center's progress toward fulfilling the
requirements of the Agreement KSU shall, ifit has expended $100,000 or more during its fiscal
year in State funds, provide for and cause to be made annually an audit of the financial affairs
and transactions of all the Center's funds and activities. The audit shall be performed in
accordance with generally accepted auditing standards. KSU shall, if it has expended less than
$ I 00,000 in a fiscal year in state funds, forward to the State auditor and each contracting State
organization a copy of the Center's financiaJ statements. If annual financial statements are
reported upon by a public accountant, the accountant's report must accompany them. If not, the
annual financial statements must be accompanied by the statement of the president or person
responsible for the nonprofit organization's financial statements.




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                                 ARTICLE VIL MISCELLA1SEOUS

          TI1e 'University, KSl r. and the Secretary of State further mutually agree as follows;

A.        This Agreement constitutes the entire agreement bet\J.een the parties and any
amendments to this Agrc\!ment must be in writing.

8.        The provisions of O.C.G.A. § 45-10-20. 111 wq! ~ill not be violated by the parties to this
          agreement.

                                                                                                       .fk
      ~-ITNESS WHEREOF. the parties hereto have executed this Agreement, this __Le'.
day of .,} , ,n.e.. , 20 V-:,G,


ON BEHALF OF THE SECRETARY OF
STATE OF THE STATE Of GEORGIA:




Print N      e                   Title

  Clee~fp 5°J
Date: :. _   5_/1¼L.




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                                       Appendix A


Budget, FY 2017
Center for Election Systems, Kennesaw State
University



Category                                            FY 2017 Proposed Budget

Personnel
Center Executive Director                           $       70.800.00
Director                                            $       87.800.00
Assistant Director                                  $       56.500.00
Election Professional II                            $       48,500.00
Election Professional II                            $       44,900.00
Election Professional II                            $       43.300.00
IT Sys Supp Pro II                                  $       41,200.00
IT Sys Supp Pro I                                   $       36.500.00


Salaries                                            $      429,500.00

Fringes                                             $      128,850.00
Salaries and Fringes                                $     558,350.00



Student Assistants                                  $       33,000.00
Temporary Staff Assistants                          $       10,000.00


TOTAL PERSONNEL                                     s     601,350.00


OFFICE/LAB SPACE RENT                               s      41,000.00


TRAVEL                                              s      20.000.00



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TELECOMM                                   $      12,000.00


SUPPLIES                                   s      12,000.00


COPYING                                    $        2,000.00


FREIGHT & SHIPPING                         $      20,000.00


COMPUTERS/SOFTWARE                         $      12,000.00


Indirects (10%)                            $      72,035.00


TOTAL BUDGET                               $     792,385.00




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FD-597 (Rev 8-11-94)                                                                                       Page _ - 4 -_ _    of·--11-'_
                                      UNITED STATES DEPARTMENT OF JUSTICE
                                        FEDERAL BUREAU OF INVESTIGATION
                                  Receipt for Property Received/Returned/Released/Seized
   File#



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                                                                                                                                  LAMB DECLARATION
                 Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 151 of 369
FD-597 (Rev 8-11-94)                                                                                                   Page _   ___,_/_ _of--+-'--

                                           UNITED STATES DEPARTMENT OF JUSTICE
                                             FEDERAL BUREAU OF INVESTIGATION
                                       Receipt for Property Received/Returned/Released/Seized
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                                            Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 152 of 369
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Evidence Tag
 Date                                    Tag No              Case No:                                 Location
 March 2, 2017                                               20170302CES                              Center for Elections Systems

 Public Safety Officer(s) involved__ NA
 Description of Property
 Server with DNS name elections.kennesaw.edu with KSU asset tag            )030 IC,




Chain of Custody Receipt
 Released by                                                                                                      Received by
 (Print and Sign)                    Date                   Purpose                                               (Print and Sign)   Date
 Merle King                                                   Retrieving server after reported data breach.       St,.ephen Rose      (cp7
  \MI"""", . . ?-                ~

                                            March 2, 2017     Server will be retrieved by the FBI by UITS ISO  .f     , .I ~ ~         March 2, 2017
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                                                                  UITS Information Security Office
                                                                                                                                              LAMB DECLARATION
        Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 153 of 369



 From:               Mariel Louise Fox
 To:                 Stephen Craig Gav
 Cc:                 Tamara Elena Livingston
 Subject:            Fwd: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus
 Date:               Wednesday, March 15, 2017 4:22:40 PM



Stephen,

Below is the communication thread among Steven Dean, JeffMilsteen and myself.

I'll await your direction and guidance as to next steps in providing consultation to Steven regarding KSU records,
and I will communicate that message to Steven shortly.

Thanks!

Mariel Fox
Director, Records & Information Management
Museums, Archives & Rare Books (MARB)
LB216MD 1704
Direct: 4 70-578-2225
Main: 470-578-6289

----- Forwarded Message-----
From: "JeffMilsteen" <:jmilstee@kennesaw.edu>
To: "Steven Dean" <sdean29@kennesaw.edu>
Cc: "Mariel Fox" <mfox32@kennesaw.edu>
Sent: Friday, March 10, 2017 1:38:30 PM
Subject: Re: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus

Steven,

Mariel forwarded your inquiry to me. I believe there are a number of issues here that will require some additional
work. For example, some of the data maintained by the Center is, by contract, property of the Secretary of State.
That data would be subject to the Secretary of State's records retention policies and presumably those records should
either be returned to the SOS Office or, if appropriate, destroyed at their direction and pursuant to their policies. All
other records of the Center would be subject to the retention policies ofKSU and Mariel can probably help you with
existing retention guidelines. The trick, of course, is to correctly identify and categorize those records.

I was not clear what was being asked with respect to FOIA requests. If the Center receives any open records
requests, those should immediately be forwarded to the Legal Division for review. The requests themselves, like all
other official records of the university, are subjection to our retention guidelines.

I hope this helps. If you have additional questions, please let me know. Thanks.

JeffMilsteen
Chief Legal Affairs Officer


----- Original Message -----
From: "Mariel Fox" <mfox32@kennesaw.edu>
To: "JeffMilsteen" <:jmilstee@kennesaw.edu>
Sent: Friday, March 10, 2017 9:26:22 AM
Subject: Fwd: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus

Jeff,




                                                                                                                        LAMB DECLARATION
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This request (see below) for advice came from Steven Dean (sdean29@kennesaw.edu), IT Systems Support at the
Center for Election Systems.

I spoke to him on the phone concerning what types of records to keep and how long to keep them, directing him to
the State of Georgia retention schedules on the Georgia Archives website.

As to his question about FOIA requests, I said that for KSU open records requests, those are handled by Legal
Affairs. But for the Center's records, I did not know. I told him I would forward this question to you.

Please let me know if you have any questions, of if you have any suggestions on how to handle such inquiries in the
future.

Thank you!

Mariel Fox
Director, Records & Information Management
Museums, Archives & Rare Books (MARB)
LB 216 MD 1704
Direct: 470-578-2225
Main: 470-578-6289

----- Forwarded Message-----
From: stevendean@kennesaw.edu
To: "records2go" <records2go@kennesaw.edu>
Sent: Thursday, March 9, 2017 1:58:52 PM
Subject: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus

Date Available for Consultation:     No in-person consolation needed.

REQUESTED BY: Steven Dean               Phone# 470-578-2120

Campus:         Kennesaw
Department:      Center for Election Systems
Office Location: House 3205

Advice requested for:
Myself and my supervisor or manager.

Need advice on:
['Which records do we need to keep?', 'How long do we need to keep records?', 'Do we need to keep both hard copy
and digitial files?', 'What are our records responsibilities?', 'Topic not listed above. Describe in comments.']


Additional comments:
In writing new policies for data storage for the Center, I'd like to see your written policies for data storage periods as
relating to FOIA requests.

Preferred communication method: Email.




                                                                                                                         LAMB DECLARATION
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From:               Mariel Louise Fox
To:                 Steven Jay Dean
Cc:                 Stephen Craig Gay
Subject:            Fwd: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus
Date:               Wednesday, March 15, 2017 4:27:49 PM




Steven,

I just learned that Stephen Gay will be providing direction and guidance concerning your inquiry about records
retention/data storage policies and issues.

I'm sure we'll be working together more closely in the future.

Thanks for bringing up these important issues!

Regards,

Mariel Fox
Director, Records & Information Management
Museums, Archives & Rare Books (MARB)
LB 216 MD 1704
Direct: 470-578-2225
Main: 470-578-6289

----- Forwarded Message-----
From: "JeffMilsteen" <jmilstee@kennesaw.edu>
To: "Steven Dean" <sdean29@kennesaw.edu>
Cc: "Mariel Fox" <mfox32@kennesaw.edu>
Sent: Friday, March 10, 2017 1:38:30 PM
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Jeff Milsteen
Chief Legal Affairs Officer



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To: "JeffMilsteen" <jmilstee@kennesaw.edu>
Sent: Friday, March 10, 2017 9:26:22 AM
Subject: Fwd: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus




                                                                                                                        LAMB DECLARATION
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Thank you!

Mariel Fox
Director, Records & Information Management
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LB 216 MD 1704
Direct: 470-578-2225
Main: 470-578-6289

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To: "records2go" <records2go@kennesaw.edu>
Sent: Thursday, March 9, 2017 1:58:52 PM
Subject: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus

Date Available for Consultation:     No in-person consolation needed.

REQUESTED BY: Steven Dean               Phone# 470-578-2120

Campus:         Kennesaw
Department:      Center for Election Systems
Office Location: House 3205

Advice requested for:
Myself and my supervisor or manager.

Need advice on:
('Which records do we need to keep?', 'How long do we need to keep records?', 'Do we need to keep both hard copy
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Preferred communication method: Email.




                                                                                                                             LAMB DECLARATION
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From:               Stephen Craig Gay
To:                 Steven Jay Dean; Jason Stephen Figueroa
Cc:                 Christopher Michael Dehner: James Christopher Gaddis; Michael L Barnes
Subject:            Fwd: Plan of action for the passing of data
 Date:              Wednesday, March 22, 2017 6:27:33 PM
 Importance:        High



Steven and Jason,

Please work with Christopher Dehner on this tomorrow, as this functionality is at the core of securely returning the
data to the Secretary of State's Office. Chris will pull in additional ISO staff members as needed and I'll be available
if any challenges or questions come up.

Thank you,

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9050
sgay@kennesaw.edu

----- Forwarded Message-----
From: "Stephen C Gay" <sgay@kennesaw.edu>
To: mbeaver@sos.ga.gov
Cc: "Lectra Lawhorne" <llawhorn@kennesaw.edu>, "Michael Barnes" <mbarne28@kennesaw.edu>
Sent: Wednesday, March 22, 2017 6:25:02 PM
Subject: Plan of action for the passing of data

Merritt,

Thank you for the conversation regarding the ExpressPoll file pickup and discussion on getting the processed data
back to your office. Looking over my notes, I have the following plan of action from our discussion:

Objective: KSU will use the Secretary of State SFTP server to upload the data moving forward, after which
members of your team will coordinate the distribution to the counties which require the data.

Tasks:
- Remove all users/rights with the current KSU folder on the Secretary of State SFTP Server and provision new
accounts for specified users (Likely SDean, MFiguero, CDehner)
- Work with Chris Dehner, in the UITS Information Security Office, to share and validate SFTP certificate for
server.
- Work with Chris Dehner and members of CES to develop process for file transfer, account password expiration,
and archiving of file and associated password sharing
- Chris Dehner will work with Steven and Jason on selecting the archive software client, SFTP client and validating
the functionality
- Test the clients and processes, and resolve any challenges.

If you could send me the contact information for James and Stephen on your team I will share with the team and ask
that they connect 1st thing tomorrow. I don't want to be a roadblock to these tasks and progress, but will check-in on




                                                                                                                       LAMB DECLARATION
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the progress and will be available to assist as needed.

Stephen C Gay CISSP CISA
KSU Chieflnformation Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9050
sgay@kennesaw.edu




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 From:              Stephen Craig Gay
 To:                Ware, William D. II CAD CEBil
 Subject:           Fwd: Request for data retrieval
 Date:              Wednesday, March 15, 2017 1:51:26 PM




Agent Ware,

We received the request below from the Center for Election Systems regarding data contained on the seized server
which they do not have a backup of. What is the possibility of having the data extracted and us picking it up?

Thank you for your consideration of this request.
Stephen

----- Forwarded Message-----
From: "Michael Barnes" <mbarne28@kennesaw.edu>
To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Steven Dean" <sdean29@kennesaw.edu>, "Merle King" <mking@kennesaw.edu>
Sent: Wednesday, March 15, 2017 1:41:25 PM
Subject: Request for data retrieval

Stephen,




As discussed earlier today, we would like to retrieve certain records from
elections.kennesaw.edu that support our daily office activities, items
such as inventory records, workflow databases used during our ballot
building efforts, and operation manuals. These data are located in the
cesuser user directory at /home/cesuser. We would like to retrieve the
entire cesuser directory, if possible.




Thanks,




Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144
ph: 470-KSU-6900
fax: 470-KSU-9012




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From:           Stephen Craig Gay
To:             Christopher Michael Dehner
Cc:             Davide Gaetano
Subject:        Infrastructure projects for CES
Date:           Monday, July 10, 2017 5:48:48 PM


Chris,


Speaking to Davide about the infrastructure surplus recommendations and I would like to
divide the project into 2 phases, one focused on the surplus, switches, and APC's mentioned in
the AAR; and the 2nd focused on the slightly longer plan to add environmental and log
monitoring. If you could please connect with him on these projects, I would sincerely
appreciate it and if I can assist in any way please let me know.


Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
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Phone: (470) 578-6620
Fax: (470) 578-9050
sgay@kennesaw.edu




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From:            stephen Craig Gay
To:              Ware. William D. II (AT) (FBI)
Subject:         Investigative update
Date:            Monday, March 13, 2017 7:59:09 AM



Agent Ware,

Good Monday morning. I wanted to take a moment to reach out to ask for an update on the
status of the investigation. If there is anything at all we can do to assist please let me know.

Thank you,
Stephen

Sent from Nine




                                                                                                   LAMB DECLARATION
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 March 3, 2017

 Election-related files

elections.kennesaw.edu

The voting system and electronic pollbooks used in Georgia require files to be named in compliance with
the application's requirements. As a consequence, many of the files will have identical names, but their
contents vary by county.

Some of the pollbook related files will only contain voter registration values. These files are used to
update the electors list, indicating voters who were issued ballots during advance/early voting. Other
pollbook files will contain the state's entire electors list.

The folder names relate to the content contained within the files placed within the folders, back to the
county to which they are assigned. We developed a folder for each county (159) and within each folder
we placed files generated for that individual county.

Examples of files posted for a county to pull down:

./Appling County/Proof/Audio/Appling Audio.zip - This zip file contains audio files linked within the
county's election database. This files are posted so a county can proof whether the candidate's name,
ballot information headers, race headers are all present and recorded properly. The file is zipped due to
file size .

./Appling County/Proof/Ballot/01-Appling.zip - This zip file contains ballot proofs for a given election.
These files are provided to each county to allow them to confirm that the contents of their ballots are
accurate for the given election. The file is zipped due to files size .

./Appling County/Proof/Ballots/Ballot and Audio Proofs Signoff v2.pdf- This file is provided to every
county when proofing audio files and ballot proofs. We require each county to return a signed signoff
form to our office after they have completed their proofing. This form allows the completed election
database to be released from us to the jurisdiction for use in the given election. "V2" indicates that this
is the second version of this form .

./Appling County/ExpressPoll/Numbered List/001 (11-08-2016}.pdf-This file is provided to every
county after the completion of the given election. This file contains a list of those voters who
participated at their assigned polling location on Election Day in sequential order.

./Appling County/ExpressPoll/ABSFile/PollData.db3 -This is a data file for use within the assigned
county on their ExpressPoll units that are used to create voter access cards given to voters during the
Advance Voting period. No individual voter data is contained within this file. A file of this nature is
created for each county prior to a given election. "ABS" relates to voters casting ballots prior to Election
Day .

./Appling County/ExpressPoll/ABSFile/Expoll.resources - This file accompanies the above mention file.
The resource file instructs the ExpressPoll device what operations to allow and what buttons to display
on screen to the user of the ExpressPoll device.




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./Baldwin County/ExpressPoll/ED Files/November 2016 General Voter Lookup.zip - This file is not built
for all counties. This file is only built for those counties who request it from our office. This file contains
the elector's list for the county for the given election, but it is not used to create any voter access cards.
The file is zipped due to size of the files content .

./Baldwin County/ExpressPoll/ED Files/November 2016 General Voter Lookup Password Memo.pdf-
This file accompanies the above mentioned file. This file contains what the passwords are to access the
data contained in the zipped file above when loaded onto an ExpressPoll. These passwords are changed
for every election .

./Cherokee County/ExpressPoll/ED Files/November2016GeneralElectionDay.zip -This is not a file
posted for each county. This file is only posted to those counties who produce the storage media loaded
into the jurisdictions' ExpressPolls themselves. Counties that do this operation are: Fulton, Cobb,
Dekalb, Gwinnett, Forsyth, Chatham, Muscogee, Henry, Columbia, Clayton, and Cherokee. This file
contains the full elector's list for the state for a given election .

./Cherokee County/ExpressPoll/ED Files/November 2016 General Election Day Password Memo.pdf-
This file accompanies the above mentioned file. This file contains what the passwords are to access the
data contained in the zipped file above when loaded onto an ExpressPoll. These passwords are changed
for every election .

./Clayton County/GEMS DB/**** .gbf- This is a file posted to a county only in select circumstances.
This is an election database file containing the ballot contents for a given election. These files are
accessed by the GEMS application .

./Pickens County/ExpressPoll/ED Files/ExpReport.exe - File allows a county to produce a numbered list
of voters directly from the ExpressPoll media, when installed on the ExpressPoll media .

./Pickens County/ExpressPoll/ED Files/System.Data.SQLite.DLL-This file allows the file mentioned
above to operate on the ExpressPoll. The above file is inoperative without this file .

./Richmond County/GEMS DB/2. GEMS lnstructions.pdf-This is a manual on GEMS operations. Only
posted if requested by a county .

./Richmond County/GEMS DB/General Demo.zip - Only posted if requested by a county. Contains a
demonstration election database.



This concludes the types of files placed within the county folders for distribution to counties




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Attached is the known county user accounts allowing access to these to county folders. When an
account is created, the county recipient is automatically sent (by Drupal) an email that contains a
password reset link. Counties create their own passwords for accessing the folders.

 Username                             Folder                     Phone Number
 Appling County Elections             Appling County             912-367-8113
 Appling County Registrar             Appling County             912-367-8113
 Atkinson County Elections            Atkinson County            912-422-3003
 Atkinson County Registrar            Atkinson County            912-422-3003
 Bacon County Elections               Bacon County               912-632-5551
Bacon County Registrar                Bacon County               912-632-5551
 Baker County Elections               Baker County               229-734-3019
Baker County Registrar                Baker County               229-734-3019
Baldwin County Elections              Baldwin County             4 78-445-4807
Baldwin County Registrar              Baldwin County             4 78-445-4807
Banks County Elections                Banks County              706-677-6260
Banks County Registrar                Banks County               706-677-6260
Barrow County Elections               Barrow County             770-307-3510
Barrow County Registrar               Barrow County             770-307-3510
Bartow County Elections               Bartow County             770-387-5098
Bartow County Registrar               Bartow County             770-387-5098
Ben Hill County Elections             Ben Hill County           229-426-5151
Ben Hill County Registrar             Ben Hill County           229-426-5151
Berrien County Elections              Berrien County            229-686-5213
Berrien County Registrar              Berrien County            229-686-5213
Bibb County Elections                 Bibb County               478-621-6622
Bibb County Registrar                 Bibb County               478-621-6622
Bleckley County Elections             Bleckley County           478-934-3204
Bleckley County Registrar             Bleckley County           478-934-3204
Brantley County Elections             Brantley County           912-462-6159
Brantley County Registrar             Brantley County           912-462-6159
Brooks County Elections               Brooks County             229-263-9939
Brooks County Registrar               Brooks County             229-263-9939
Bryan County Elections                Bryan County              912-653-3859
Bryan County Registrar               Bryan County               912-653-3859
Bulloch County Elections             Bulloch County             912-764-6502
Bulloch County Registrar             Bulloch County             912-764-6502
Burke County Elections               Burke County               770-775-8299
Burke County Registrar               Burke County               770-775-8299
Butts County Elections               Butts County               770-775-8299
Butts County Registrar               Butts County               770-775-8299




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 Calhoun County Elections     Calhoun County    229-849-2115
 Calhoun County Registrar    Calhoun County     229-849-2115
 Camden County Elections     Camden County      912-576-3785
 Camden County Registrar     Camden County      912-576-3785
 Candler County Elections    Candler County     912-515-4424
Candler County Registrar     Candler County     912-515-4424
 Carroll County Elections    Carroll County     770-830-5824
Carroll County Registrar     Carroll County     770-830-5824
Catoosa County Elections     Catoosa County     706-935-3990
Catoosa County Registrar     Catoosa County     706-935-3990
Charlton County Elections    Charlton County    912-496-2607
Charlton County Registrar    Charlton County    912-496-2607
Chatham County Elections     Chatham County     912-201-4375
Chatham County Registrar     Chatham County     912-201-4375
Chattahoochee County         Chattahoochee
Elections                    County             706-989-3603
Chattahoochee County         Chattahoochee
Registrar                    County             706-989-3603
Chattooga County Elections   Chattooga County   706-857-0709
Chattooga County Registrar   Chattooga County   706-85 7-0709
Cherokee County Elections    Cherokee County    770-479-0407
Cherokee County Registrar    Cherokee County    770-479-0407
Clarke County Elections      Clarke County      706-613-3150
Clarke County Registrar      Clarke County      706-613-3150
Clay County Elections        Clay County        229-768-2445
Clay County Registrar        Clay County        229-768-2445
Clayton County Elections     Clayton County     770-477-4572
Clayton County Registrar     Clayton County     770-477-4572
Clinch County Elections      Clinch County      912-487-3656
Clinch County Registrar      Clinch County      912-487-3656
Cobb County Elections        Cobb County        770-528-2312
Cobb County Registrar        Cobb County        770-528-2312
Coffee County Elections      Coffee County      912-384-7018
Coffee County Registrar      Coffee County      912-384-7018
Colquitt County Elections    Colquitt County    229-616-7415
Colquitt County Registrar    Colquitt County    229-616-7415
Columbia County Elections    Columbia County    706-868-3355
Columbia County Registrar    Columbia County    706-868-3355
Cook County Elections        Cook County        229-896-7925
Cook County Registrar        Cook County        229-896-7925
Coweta County Elections      Coweta County      678-854-0015




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Coweta County Registrar      Coweta County       678-854-0015
Crawford County Elections    Crawford County     478-836-1877
Crawford County Registrar    Crawford County     478-836-1877
Crisp County Elections       Crisp County        229-276-2611
Crisp County Registrar       Crisp County        229-276-2611
Dade County Elections        Dade County         706-657-8170
Dade County Registrar        Dade County         706-657-8170
Dawson County Elections      Dawson County       706-344-3640
Dawson County Registrar      Dawson County       706-344-3640
Decatur County Elections     Decatur County      229-243-2087
Decatur County Registrar     Decatur County      229-243-2087
DeKalb County Elections      DeKalb County       404-298-4020
DeKalb County Registrar      DeKalb County       404-298-4020
Dodge County Elections       Dodge County        478-374-3775
Dodge County Registrar       Dodge County        478-374-3775
Dooly County Elections       Dooly County        229-268-9023
Dooly County Registrar       Dooly County        229-268-9023
Dougherty County Elections   Dougherty County   229-431-3247
Dougherty County Registrar   Dougherty County    229-431-3247
Douglas County Elections     Douglas County     770-920-7412
Douglas County Registrar     Douglas County     770-920-7412
Early County Elections       Early County       229-723-4522
Early County Registrar       Early County       229-723-4522
Echols County Elections      Echols County      229-559-7526
Echols County Registrar      Echols County      229-559-7526
Effingham County Elections   Effingham County   912 754-8030
Effingham County Registrar   Effingham County   912 754-8030
Elbert County Elections      Elbert County      706-283-2016
Elbert County Registrar      Elbert County      706-283-2016
Emanuel County Elections     Emanuel County     478-237-3471
Emanuel County Registrar     Emanuel County     478-237-3471
Evans County Elections       Evans County       912-739-4080
Evans County Registrar       Evans County       912-739-4080
Fannin County Elections      Fannin County      706-632-7740
Fannin County Registrar      Fannin County      706-632-7740
Fayette County Elections     Fayette County     770-305-5138
Fayette County Registrar     Fayette County     770-305-5138
Floyd County Elections       Floyd County       706-291-5167
Floyd County Registrar       Floyd County       706-291-5167
Forsyth County Elections     Forsyth County     770-781-2118
Forsyth County Registrar     Forsyth County     770-781-2118




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 Franklin County Elections    Franklin County    706-384-4390
 Franklin County Registrar   Franklin County     706-384-4390
 Fulton County Elections      Fulton County      706-384-4390
 Fulton County Registrar     Fulton County       706-384-4390
Gilmer County Elections      Gilmer County       706-635-4 763
Gilmer County Registrar      Gilmer County       706-635-4763
Glascock County Elections    Glascock County     706-598-3241
Glascock County Registrar    Glascock County     706-598-3241
Glynn County Elections       Glynn County        912-554-7063
Glynn County Registrar       Glynn County        912-554-7063
Gordon County Elections      Gordon County       706-629-7781
Gordon County Registrar      Gordon County       706-629-7781
Grady County Elections       Grady County        229-377-4621
Grady County Registrar       Grady County        229-377-4621
Greene County Elections      Greene County      706-531-1108
Greene County Registrar      Greene County      706-531-1108
Gwinnett County Elections    Gwinnett County    678-226-7231
Gwinnett County Registrar    Gwinnett County    678-226-7231
Habersham County Elections   Habersham County   706-839-0170
Habersham County Registrar   Habersham County   706-839-0170
Hall County Elections        Hall County        770-531-6945
Hall County Registrar        Hall County        770-531-6945
Hancock County Elections     Hancock County     706-444-5259
Hancock County Registrar     Hancock County     706-444-5259
Haralson County Elections    Haralson County    770-646-2010
Haralson County Registrar    Haralson County    770-646-2010
Harris County Elections      Harris County      706-628-5210
Harris County Registrar      Harris County      706-628-5210
Hart County Elections        Hart County        706-376-8911
Hart County Registrar        Hart County        706-376-8911
Heard County Elections       Heard County       706-675-3353
Heard County Registrar       Heard County       706-675-3353
Henry County Elections       Henry County       770-288-6448
Henry County Registrar       Henry County       770-288-6448
Houston County Elections     Houston County     478-987-1973
Houston County Registrar     Houston County     478-987-1973
Irwin County Elections       Irwin County       229-468-5894
Irwin County Registrar       Irwin County       229-468-5894
Jackson County Elections     Jackson County     706-367-6377
Jackson County Registrar     Jackson County     706-367-6377
Jasper County Elections      Jasper County      706-468-4903



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Jasper County Registrar       Jasper County        706-468-4903
Jeff Davis County Elections   Jeff Davis County    912-375-6635
Jeff Davis County Registrar   Jeff Davis County    912-375-6635
Jefferson County Elections    Jefferson County     478-625-8357
Jefferson County Registrar    Jefferson County     4 78-625-835 7
Jenkins County Elections      Jenkins County       478-982-5581
Jenkins County Registrar      Jenkins County       478-982-5581
Johnson County Elections      Johnson County       478-864-4019
Johnson County Registrar      Johnson County       478-864-4019
Jones County Elections        Jones County         478-986-8234
Jones County Registrar        Jones County         4 78-986-8234
Lamar County Elections        Lamar County         770-358-5235
Lamar County Registrar        Lamar County         770-358-5235
Lanier County Elections       Lanier County        229-482-3668
Lanier County Registrar       Lanier County        229-482-3668
Laurens County Elections      Laurens County       478-272-2566
Laurens County Registrar      Laurens County      478-272-2566
Lee County Elections          Lee County           229-759-6002
Lee County Registrar          Lee County           229-759-6002
Liberty County Elections      Liberty County      912-876-3310
Liberty County Registrar      Liberty County      912-876-3310
Lincoln County Elections      Lincoln County      706-359-6126
Lincoln County Registrar      Lincoln County      706-359-6126
Long County Elections         Long County         912-545-2234
Long County Registrar         Long County         912-545-2234
Lowndes County Elections      Lowndes County      229-671-2850
Lowndes County Registrar      Lowndes County      229-671-2850
Lumpkin County Elections      Lumpkin County      706-864-6279
Lumpkin County Registrar      Lumpkin County      706-864-6279
Macon County Elections        Macon County        478-472-8520
Macon County Registrar        Macon County        478-472-8520
Madison County Elections      Madison County      706-795-6335
Madison County Registrar      Madison County      706-795-6335
Marion County Elections       Marion County       229-649-9838
Marion County Registrar       Marion County       229-649-9838
McDuffie County Elections     McDuffie County     706-595-2105
McDuffie County Registrar     McDuffie County     706-595-2105
McIntosh County Elections     McIntosh County     912-437-6605
McIntosh County Registrar     McIntosh County     912-437-6605
Meriwether County Elections   Meriwether County   706-672-9433
Meriwether County Registrar   Meriwether County   706-672-9433



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Miller County Elections       Miller County       229-758-4110
Miller County Registrar       Miller County       229-758-4110
Mitchell County Elections     Mitchell County     229-336-2018
Mitchell County Registrar     Mitchell County     229-336-2018
Monroe County Elections       Monroe County       4 78-994-7036
Monroe County Registrar       Monroe County       4 78-994-7036
Montgomery County Elections   Montgomery County   912-583-2681
Montgomery County Registrar   Montgomery County   912-583-2681
Morgan County Elections       Morgan County       706-343-6311
Morgan County Registrar       Morgan County       706-343-6311
Murray County Elections       Murray County       706-517-1400 #7
Murray County Registrar       Murray County       706-517-1400 #7
Muscogee County Elections     Muscogee County     706-653-4392
Muscogee County Registrar     Muscogee County     706-653-4392
Newton County Elections       Newton County       678-625-1692
Newton County Registrar       Newton County       678-625-1692
Oconee County Elections       Oconee County       706-769-3958
Oconee County Registrar       Oconee County       706-769-3958
Oglethorpe County Elections   Oglethorpe County   706-7 43-5350
Oglethorpe County Registrar   Oglethorpe County   706-743-5350
Paulding County Elections     Paulding County     770-443-7503
Paulding County Registrar     Paulding County     770-443-7503
Peach County Elections        Peach County        478-825-3514
Peach County Registrar        Peach County        478-825-3514
Pickens County Elections      Pickens County      706-253-8781
Pickens County Registrar      Pickens County      706-253-8781
Pierce County Elections       Pierce County       912-449-2028
Pierce County Registrar       Pierce County       912-449-2028
Pike County Elections         Pike County         770-567-8734
Pike County Registrar         Pike County         770-567-8734
Polk County Elections         Polk County         770-749-2103
Polk County Registrar         Polk County         770-749-2103
Pulaski County Elections      Pulaski County      478-783-2061
Pulaski County Registrar      Pulaski County      478-783-2061
Putnam County Elections       Putnam County       706-485-8683
Putnam County Registrar       Putnam County       706-485-8683
Quitman County Elections      Quitman County      229-334-2224
Quitman County Registrar      Quitman County      229-334-2224
Rabun County Elections        Rabun County        706-782-1878
Rabun County Registrar        Rabun County        706-782-1878
Randolph County Elections     Randolph County     855-782-6310 ext 5




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 Randolph County Registrar    Randolph County     855-782-6310 ext 5
Richmond County Elections     Richmond County     706-821-2340
Richmond County Registrar     Richmond County     706-821-2340
Rockdale County Elections     Rockdale County     770-278-7333
Rockdale County Registrar     Rockdale County     770-278-7333
Schley County Elections       Schley County       229-93 7-2905
Schley County Registrar       Schley County       229-937-2905
Screven County Elections      Screven County      912-564-2783
Screven County Registrar      Screven County      912-564-2783
Seminole County Elections     Seminole County     229-524-5256
Seminole County Registrar     Seminole County     229-524-5256
Spalding County Elections     Spalding County     770-467-4370
Spalding County Registrar     Spalding County     770-467-4370
Stephens County Elections     Stephens County     706-886-8954
Stephens County Registrar     Stephens County     706-886-8954
                                                  229-838-4682 ext
Stewart County Elections      Stewart County      210
                                                  229-838-4682 ext
Stewart County Registrar      Stewart County      210
Sumter County Elections       Sumter County       229-928-4580
Sumter County Registrar       Sumter County       229-928-4580
Talbot County Elections       Talbot County       706-665-8270
Talbot County Registrar       Talbot County       706-665-8270
Taliaferro County Elections   Taliaferro County   706-456-2253
Taliaferro County Registrar   Taliaferro County   706-456-2253
Tattnall County Elections     Tattnall County     912-557-6417
Tattnall County Registrar     Tattnall County     912-557-6417
Taylor County Elections       Taylor County       478-862-3997
Taylor County Registrar       Taylor County       478-862-3997
Telfair County Elections      Telfair County      229-868-6038
Telfair County Registrar      Telfair County      229-868-6038
Terrell County Elections      Terrell County      229-995-5066
Terrell County Registrar      Terrell County      229-995-5066
Thomas County Elections       Thomas County       229-225-4101
Thomas County Registrar       Thomas County       229-225-4101
Tift County Elections         Tift County         229-386-7915
Tift County Registrar         Tift County         229-386-7915
Toombs County Elections       Toombs County       912-526-8226
Toombs County Registrar       Toombs County       912-526-8226
Towns County Elections        Towns County        706-896-6920
Towns County Registrar        Towns County        706-896-6920




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Treutlen County Elections     Treutlen County      912-529-3342
Treutlen County Registrar     Treutlen County      912-529-3342
Troup County Elections        Troup County         706-883-17 45
Troup County Registrar        Troup County         706-883-1745
Turner County Elections       Turner County        229-567-2909
Turner County Registrar       Turner County        229-567-2909
Twiggs County Elections       Twiggs County        478-945-3639
Twiggs County Registrar       Twiggs County        478-945-3639
Union County Elections        Union County         706-439-6041
Union County Registrar        Union County         706-439-6041
Upson County Elections        Upson County         706-647-6259
Upson County Registrar        Upson County         706-647-6259
Walker County Elections       Walker County        706-638-4349
Walker County Registrar       Walker County       706-638-4349
Walton County Elections       Walton County       770-267-1337
Walton County Registrar       Walton County       770-267-1337
Ware County Elections         Ware County         912-287-4363
Ware County Registrar         Ware County         912-287-4363
Warren County Elections       Warren County       706-465-222 7
Warren County Registrar       Warren County       706-465-222 7
Washington County Elections   Washington County   478-552-3304
Washington County Registrar   Washington County   478-552-3304
Wayne County Elections        Wayne County        912-427-5940
Wayne County Registrar        Wayne County        912-427-5940
Webster County Elections      Webster County      229-828-5775
Webster County Registrar      Webster County      229-828-5775
Wheeler County Elections      Wheeler County      912-568-7133
Wheeler County Registrar      Wheeler County      912-568-7133
White County Elections        White County        706-865-4141
White County Registrar        White County        706-865-4141
Whitfield County Elections    Whitfield County    706-278-7183
Whitfield County Registrar    Whitfield County    706-278-7183
Wilcox County Elections       Wilcox County       229-467-2111
Wilcox County Registrar       Wilcox County       229-467-2111
Wilkes County Elections       Wilkes County       706-678-2523
Wilkes County Registrar       Wilkes County       706-678-2523
Wilkinson County Elections    Wilkinson County    478-946-2188
Wilkinson County Registrar    Wilkinson County    478-946-2188
Worth County Elections        Worth County        229-776-8208
Worth County Registrar        Worth County        229-776-8208




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From:           Steven Dean
To:             James Christopher Gaddis
Cc:             Williamc. Moore; Stephen Craig Gay: Michael L. Barnes; Merle Steven King
Subject:        Next steps for elections.kennesaw.edu
Date:           Thursday, March 2, 2017 1:32:27 PM


Chris, is there any further data you need from the server for your investigation? Our next
intention is to make a backup of the affected files and remove them from the server. This
would only affect files in the county folders, not log files are and config files. After that we
will reach out to have the security of the server assessed by your group so that we may bring it
back online without any previously vulnerable links.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




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From:               Stephen Craig Gav
To:                 mbeaver@sos.ga.gov
Cc:                 Lectra Lawhorne; Michael L. Barnes
Subject:            Plan of action for the passing of data
Date:               Wednesday, March 22, 2017 6:25:02 PM




Merritt,

Thank you for the conversation regarding the ExpressPoll file pickup and discussion on getting the processed data
back to your office. Looking over my notes, I have the following plan of action from our discussion:

Objective: KSU will use the Secretary of State SFTP server to upload the data moving forward, after which
members of your team will coordinate the distribution to the counties which require the data.

Tasks:
- Remove all users/rights with the current KSU folder on the Secretary of State SFTP Server and provision new
accounts for specified users (Likely SDean, MFiguero, CDehner)
- Work with Chris Dehner, in the UITS Information Security Office, to share and validate SFTP certificate for
server.
- Work with Chris Dehner and members of CES to develop process for file transfer, account password expiration,
and archiving of file and associated password sharing
- Chris Dehner will work with Steven and Jason on selecting the archive software client, SFTP client and validating
the functionality
- Test the clients and processes, and resolve any challenges.

If you could send me the contact information for James and Stephen on your team I will share with the team and ask
that they connect 1st thing tomorrow. I don't want to be a roadblock to these tasks and progress, but will check-in on
the progress and will be available to assist as needed.

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: ( 470) 578-6620
Fax: ( 470) 578-9050
sgay@kennesaw.edu




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From:               Stephen Craig Gay
To:                 Steven Jay Dean
Cc:                 Michael L. Barnes; Christopher Michael Dehner
Subject:            Question regarding private network
Date:               Friday, June 23, 2017 7:24:59 AM



Steven,

Quick question: In preparation for next week's infrastructure meeting regarding the devices on the CES private
network, I was curious how many of these devices allow for us to update or modify them? For example, the 16 Card
Duplicators are likely dictated by the Secretary of State's Office and I would assume that there are other devices in
this same scenario (GEMS server), but which devices could allow us to install local firewalls or run the latest
version of operating software (Windows file server perhaps)?

Thanks,

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9050
sgay@kennesaw.edu




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 From:             Stephen Craig Gay
To:                Michael L. Barnes
Subject:           Re: Center for Election Systems Contract FY"17
Date:              Tuesday, March 7, 2017 9:32:10 AM


Thanks Michael.


Stephen


Sent from Nine


From: Michael Barnes
Sent: Mar 7, 2017 8:57 AM
To: 'Stephen C. Gay'
Subject: Center for Election Systems Contract FY' 17

Stephen,


Here is our current contract with the Secretary of State's office. The content of the contract hasn't
really changed since 2012 or so.

Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144
ph: 470-KSU-6900
fax: 470-KSU-9012




                                                                                                        LAMB DECLARATION
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From:            Christopher Dehner
To:              Davide Gaetano
Cc:              Casey Darrow; Stephen Gay: Chris Gaddis
Subject:         RE: CES Network Assessment Meeting Notes 6/26
Date:            Wednesday, July 19, 2017 1:29:00 PM
Attachments:     CES Network surplus milestones.xlsx


Davide,


I think we're ready to make the final push on closing the CES AAR recommendations. All we have left
is the imaging and transference of services of the two Dell PowerEdge R630s (both in CES private
network data center) and the replacement of the UPSs. Per our conversations, one server is for
DC/NAS and the other for Epic. I checked with Steven Dean and both servers not running any
services so we can begin as soon as possible without impacting their services. The UPSs were
ordered last week and we are waiting on delivery. I've included the project milestones and
suggested due dates. If these due dates are not feasible, please provide alternative dates. If you
have any questions, please feel free to reach out.


Regards,


Chris



From: Christopher Michael Dehner
Sent: Friday, July 7, 2017 11:16 AM
To: Davide Gaetano <dgaetano@students.kennesaw.edu>
Cc: Casey Darrow <cdarrow@kennesaw.edu>; Stephen Craig Gay <sgay@kennesaw.edu>; James
Christopher Gaddis <jgaddis6@kennesaw.edu>
Subject: Fw: CES Network Assessment Meeting Notes 6/26

Davide,


I am reseeding this email because for some reason, it was sent to a
dgaetano@students.kennesaw.edu account.


Per your instructions regarding the reimaging and installation of the CES server, we DBAN'd
the hard drives and delivered the server to TS023. The server is a Dell PowerEdge R610 (Asset
Tag: 103019). When it is ready for racking in the CES private network, please let me know and
I'll coordinate with the Steven Dean.


Regards,


Chris




                                                                                                     LAMB DECLARATION
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From: Christopher Michael Dehner
Sent: Tuesday, June 27, 2017 5:22 PM
To: Stephen Craig Gay; Nickolaus E Hassis; Jason Stephen Figueroa; Steven Jay Dean; Michael L.
Barnes; Davide F Gaetano
Subject: CES Network Assessment Meeting Notes 6/26

CES Network Assessment
6/27/17 4:00PM-5:lSPM
Attendees:
Nick Hassis, Stephen Gay, Jason Figuera, Steven Dean, Michael Barns, Davide Gaetano


Notes:


CES - is most secure network at KSU, making it more secure
9/10 AAR items closed - Final item: Private Network Inventory


Goal: Reduce number of devices on private network


IMI Card Duplicators also act as data extractor to private network NAS


Reconciled Windows XP devices not captured by network scan


GEMS services dependent on .NET version found on WinXP


Davide - Can GEMS services be virtualized to work on Win? or WinlO?
Steven - Not certain


Stephen: Can we use local authentication instead of domain controller?
Davide: Put domain controllers on Epic and NA


Cellular dialer to send syslog, environment, arpwatch alerts & GPS updates for time keeping.
New Epic and New NAS servicers will also be domain controllers
Cycle hard drive backups to fireproof safe in Secure Storage


Davide suggestions:
•      Physically label computers if on private network
•      Add distance between private and public network devices
•      Replace wifi access point, create new ssid for only CES
•      Arpwatch box for public and private networks to prevent network crossovers
•      Put CES behind a firewall - force denial and whitelist


Action Items:


CES IT
•      Confirm printer has unnecessary services disabled
•      Work with vendor on upgrading Epic to more current version of Windows Server


UITS
•      Build new XP image
•      Windows 10 build for audio box




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•    Migrate data from Poweredge 1900 to Server TBD and decommission box
•    Spin up new servers
•    Collaborate with CES on transferring services to new servers
•    Chris: Connect with Jonathan on new APCs
•    Chris: Wipe R610 server, deliver to Davide & Casey for install
•    Chris Schedule update meetings for CES Network Updates (include Casey, Jonathan, and GJ)




Christopher Dehner, CISA
IT Security Professional Ill
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 027
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: 470-578-6620
Fax: 470-578-9050
cmd9090@kennesaw.edu




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From:              Christopher Dehner
To:                Stephen Gay
Cc:                Michael Barnes; Steven Dean: Jason Fiqueroa
Subject:           Re: CES server surplus
Date:              Wednesday, August 9, 2017 3:S4:39 PM


Stephen,


I'm happy to report that the remaining two servers on the AAR were delivered to ITIM and the
hard drives were degaussed three times. Additionally, I followed up with Jonathan on
replacing the old UPSs with the new ones.


Regards,


Chris




From: Stephen Gay
Sent: Wednesday, August 9, 2017 11:32 AM
To: Christopher Dehner; Steven Dean; Jason Figueroa
Cc: Michael Barnes; Lectra Lawhorne
Subject: Re: CES server surplus


Chris,


This is fantastic news. Great work to all parties on closing the final recommendation from the
incident after action report.


In your service,
Stephen.


Sent from Nine

From: Christopher Dehner
Sent: Aug 9, 2017 11:24 AM
To: Steven Dean; Jason Figueroa
Cc: Michael Barnes; Stephen Gay
Subject: CES server surplus


Fellas,

I will arrive at the center around 1:30 today to pick up the old DC. I will also get the old
unicoi server from secure storage. Additionally, I sent in a service ticket for this request.

Regards,



                                                                                                 LAMB DECLARATION
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Chris

Get Outlook for Android




                                                                         LAMB DECLARATION
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From:              Stephen Gay
To:                Christopher Dehner; Steven Dean; Jason Figueroa
Cc:                Michael Barnes; Lectra Lawhorne
Subject:           Re: CES server surplus
Date:              Wednesday, August 9, 2017 11:32:38 AM


Chris,

This is fantastic news. Great work to all parties on closing the final recommendation from the
incident after action report.

In your service,
Stephen.

Sent from Nine

From: Christopher Dehner
Sent: Aug 9, 2017 11:24 AM
To: Steven Dean; Jason Figueroa
Cc: Michael Barnes; Stephen Gay
Subject: CES server surplus

Fellas,

I will arrive at the center around 1:30 today to pick up the old DC. I will also get the old
unicoi server from secure storage. Additionally, I sent in a service ticket for this request.

Regards,

Chris

Get Outlook for Android




                                                                                                 LAMB DECLARATION
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From:              Steven Dean
To:                Marje! Louise Fox
Cc:                Steven Jay Dean; Stephen Craig Gay
Subject:           Re: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus
Date:              Wednesday, March 15, 2017 4:31:54 PM


Thank you for your time the other day, Mariel, it was very helpful. I look forward to speaking
again about this soon.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012

On Mar 15, 2017, at 4:27 PM, Mariel Fox <mfox32@kennesaw.edu> wrote:


        Steven,

        I just learned that Stephen Gay will be providing direction and guidance
        concerning your inquiry about records retention/data storage policies and issues.

        I'm sure we'll be working together more closely in the future.

        Thanks for bringing up these important issues!

        Regards,

        Mariel Fox
        Director, Records & Information Management
        Museums, Archives & Rare Books (MARB)
        LB 216 MD 1704
        Direct: 470-578-2225
        Main: 470-578-6289

        ----- Forwarded Message -----
        From: "JeffMilsteen" <jmilstee@kennesaw.edu>
        To: "Steven Dean" <sdean29@kennesaw.edu>
        Cc: "Mariel Fox" <mfox32@kennesaw.edu>
        Sent: Friday, March 10, 2017 1:38:30 PM
        Subject: Re: CONSULTATION REQUEST from Steven Dean, Kennesaw
        Campus

        Steven,

        Mariel forwarded your inquiry to me. I believe there are a number of issues here
        that will require some additional work. For example, some of the data maintained
        by the Center is, by contract, property of the Secretary of State. That data would
        be subject to the Secretary of State's records retention policies and presumably



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  those records should either be returned to the SOS Office or, if appropriate,
  destroyed at their direction and pursuant to their policies. All other records of the
  Center would be subject to the retention policies of KSU and Mariel can probably
  help you with existing retention guidelines. The trick, of course, is to correctly
  identify and categorize those records.

 I was not clear what was being asked with respect to FOIA requests. If the Center
 receives any open records requests, those should immediately be forwarded to the
 Legal Division for review. The requests themselves, like all other official
 records of the university, are subjection to our retention guidelines.

 I hope this helps. If you have additional questions, please let me know. Thanks.

 Jeff Milsteen
 Chief Legal Affairs Officer


 ----- Original Message -----
 From: "Mariel Fox" <mfox32@kennesaw.edu>
 To: "JeffMilsteen" <jmilstee@kennesaw.edu>
 Sent: Friday, March 10, 2017 9:26:22 AM
 Subject: Fwd: CONSULTATION REQUEST from Steven Dean, Kennesaw
 Campus

 Jeff,

 This request (see below) for advice came from Steven Dean
 (sdean29@kennesaw.edu), IT Systems Support at the Center for Election
 Systems.

 I spoke to him on the phone concerning what types of records to keep and how
 long to keep them, directing him to the State of Georgia retention schedules on
 the Georgia Archives website.

 As to his question about FOIA requests, I said that for KSU open records
 requests, those are handled by Legal Affairs. But for the Center's records, I did
 not know. I told him I would forward this question to you.

 Please let me know if you have any questions, of if you have any suggestions on
 how to handle such inquiries in the future.

 Thank you!

 Mariel Fox
 Director, Records & Information Management
 Museums, Archives & Rare Books (MARB)
 LB 216 MD 1704
 Direct: 470-578-2225
 Main: 470-578-6289




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 ----- Forwarded Message -----
 From: stevendean@kennesaw.edu
 To: "records2go" <records2go@kennesaw.edu>
 Sent: Thursday, March 9, 2017 1:58:52 PM
 Subject: CONSULTATION REQUEST from Steven Dean, Kennesaw Campus

 Date Available for Consultation:     No in-person consolation needed.

 REQUESTED BY: Steven Dean               Phone# 470-578-2120

 Campus:         Kennesaw
 Department:      Center for Election Systems
 Office Location: House 3205

 Advice requested for:
 Myself and my supervisor or manager.

 Need advice on:
 ['Which records do we need to keep?', 'How long do we need to keep records?',
 'Do we need to keep both hard copy and digitial files?', 'What are our records
 responsibilities?', 'Topic not listed above. Describe in comments.']


 Additional comments:
 In writing new policies for data storage for the Center, I'd like to see your written
 policies for data storage periods as relating to FOIA requests.

 Preferred communication method: Email.




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From:            Ware, William D. II (AT) (FBI)
To:              Stephen Craig Gay
Subject:         RE: Investigative update
Date:            Tuesday, March 14, 2017 9:02:53 AM


Hi Stephen,


Sorry for the late reply. The investigation is moving along. We are reviewing the logs and issuing legal
process. The legal process is what will take the longest. It could take from two weeks to a month
depending on the Internet Service Provider.

Thanks,
SA Davey Ware
FBI - Atlanta Division
2635 Century Parkway, NE
Suite 400
Atlanta, GA
0: 404-679-6126
C: 404-520-3342
F: 404-679-1417




From: Stephen C. Gay [mailto:sgay@kennesaw.edu]
Sent: Monday, March 13, 2017 7:59 AM
To: Ware, William D. II (AT) (FBI) <William.Ware@ic.fbi.gov>
Subject: Investigative update


Agent Ware,


Good Monday morning. I wanted to take a moment to reach out to ask for an update on the
status of the investigation. If there is anything at all we can do to assist please let me know.


Thank you,
Stephen

Sent from Nine




                                                                                                       LAMB DECLARATION
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From:              Koonce, Steven
To:                Christopher Michael Dehner
Cc:                Oliver. James; Stephen Craig Gay; Steven Jay Dean; Jason Stephen Figueroa; James Christopher Gaddis
Subject:           RE; KSU Account Creation and SFrP Key Management
Date:              Friday, March 24, 2017 11:47:05 AM



Our current FTP server uses FTPS (also known as FTP with SSL). Whether we remain on the existing server or
stand up a new server, the FTP accounts we are setting up will use a secure protocol, most likely FTPS.

-----Original Message-----
From: Christopher M. Dehner [mailto:cmd9090@kennesaw edu]
Sent: Friday, March 24, 2017 11 :42 AM
To: Koonce, Steven <skoonce@sos.ga.gov>
Cc: Oliver, James <Joliver@sos.ga.gov>; sgay <sgay@kennesaw.edu>; Steven Dean <sdean29@kennesaw.edu>;
Jason Figueroa <jfiguel2@kennesaw.edu>; jgaddis6 <jgaddis6@kennesaw.edu>
Subject: Re: KSU Account Creation and SFTP Key Management

Steven,

Just a quick point of clarification, when referring to FTP in your email, are you including SFTP or FTPS in your
conversations? Per USG Policy and information security best practices, KSU don't allow straight FTP transfers.
External file transfers are managed through SFTP or FTPS. Can you confirm that we'll be using SFTP or FTPS to
manage these transfers.

Regards,


Christopher Dehner, CISA
IT Security Professional III
Information Security Office
University Information Technology Services (UITS) Kennesaw State University Technology Services Bldg, Room
027
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: 470-578-6620
Fax: 470-578-9050
cmd9090@kennesaw.edu

----- Original Message -----
From: "Koonce, Steven" <skoonce@sos.ga.gov>
To: "Christopher M. Dehner" <cmd9090@kennesaw.edu>
Cc: "Oliver, James" <Joliver@sos.ga.gov>, "sgay" <sgay@kennesaw.edu>, "Steven Dean"
<sdean29@kennesaw.edu>, "Jason Figueroa" <jfiguel2@kennesaw.edu>, "jgaddis6" <jgaddis6@kennesaw.edu>
Sent: Friday, March 24, 2017 11 :33:01 AM
Subject: RE: KSU Account Creation and SFTP Key Management

We are having an Internal IT meeting Monday to review governance of our FTP site and to decide if a separate FTP
server will be used for Elections processes.

I am going to work on the accounts below this afternoon so that they will be ready to go on Monday provided we
have no significant changes in our FTP Infrastructure.

-----Original Message-----
From: Christopher M. Dehner [majJto·cmd9090@kennesaw.edu]
Sent: Friday, March 24, 2017 11 :23 AM




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To: Koonce, Steven <skoonce@sos.ga.gov>
Cc: Oliver, James <Joliver@sos.ga.gov>; Stephen C. Gay <sgay@kennesaw.edu>; Steven Dean
<sdean29@kennesaw.edu>; Jason Figueroa <jfiguel2@kennesaw.edu>; Chris Gaddis <jgaddis6@kennesaw.edu>
Subject: KSU Account Creation and SFTP Key Management

Steven,

My name is Christopher Dehner and I work in the KSU Information Security Office. I've been tasked to cooridnate
with you on creating accounts for KSU Center for Elections Systems technicians in the Secretary of State's SFTP
server. We would like the following users added:

Steven Dean
Jason Figueroa
Christopher Dehner

I would like to have my account disabled but still in the system. This will allow us to reactivate the account ifmy
support is needed. Additionally, are you able to accommodate specific password requirements (length, special
characters, annual expiration, etc.). If at all possible, we would like to align it with our institutional practices. If
not, we can discuss this further.

After the accounts are provisioned but before any data transfers, we would like to validate the SFTP encryption key.
Based on our understanding, we'll need to make a connection and have you provide the key which we can validate
against the SFTP client. This would probably be best done over the phone. If you have an alternative method of
key validation, we'll be happy to discuss.

We're looking forward to patterning with your office in building secures processes for data transfers. If you have
any additional questions, comments, or concerns, please feel free to reach out.

Warmest Regards,


Christopher Dehner, CISA
IT Security Professional III
Information Security Office
University Information Technology Services (UITS) Kennesaw State University Technology Services Bldg, Room
027
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: 470-578-6620
Fax: 470-578-9050
cmd9090@kennesaw.edu




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From:               Christopher Michael Dehner
To:                 Casey Darrow
Cc:                 Stephen Craig Gay; Chase Alexander Elliott; Freddie Lewis
Subject:            Re: New server and share
Date:               Tuesday, March 21, 2017 3:09:44 PM



Casey,

We would like this only accessible on-campus from the following subnet:

10.62.44.0/24 (House 57)

Additionally, we would like all off-campus traffic prohibited. If you need anything else, just let me know.

Regards,


Christopher Dehner, CISA
IT Security Professional III
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 027
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: 470-578-6620
Fax: 470-578-9050
cmd9090@kennesaw.edu

----- Original Message -----
From: "Casey Darrow" <cdarrow@kennesaw.edu>
To: "Christopher M. Dehner" <cmd9090@kennesaw.edu>
Cc: "sgay" <sgay@kennesaw.edu>, "Chase Elliott" <ce11iot7@kennesaw.edu>, "Freddie Lewis"
<flewis l 5@kennesaw.edu>
Sent: Tuesday, March 21, 2017 2:44:04 PM
Subject: Re: New server and share

Thanks!

Casey Darrow
Director of Windows Server and Infrastructure
University Information Technology Services
Kennesaw State University
Phone 470-578-2634


From: "Christopher M. Dehner" <cmd9090@kennesaw.edu>
To: "cdarrow" <cdarrow@kennesaw.edu>
Cc: "Stephen C Gay" <sgay@kennesaw.edu>, "Chase Elliott" <celliot7@kennesaw.edu>, "Freddie Lewis"
<flewis l 5@kennesaw.edu>
Sent: Tuesday, March 21, 2017 2:43:28 PM
Subject: Re: New server and share

Casey,




                                                                                                              LAMB DECLARATION
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I'll co-ordinate with CFES technicians, let me gather that information and get back to you.


Christopher Dehner, CISA
IT Security Professional III
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 027
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone:470-578-6620
Fax: 470-578-9050
cmd9090@kennesaw.edu

----- Original Message -----
From: "Casey Darrow" <cdarrow@kennesaw.edu>
To: "Christopher M. Dehner" <cmd9090@kennesaw.edu>
Cc: "sgay" <sgay@kennesaw.edu>, "Chase Elliott" <ce11iot7@kennesaw.edu>, "Freddie Lewis"
<flewis l 5@kennesaw.edu>
Sent: Tuesday, March 21, 2017 2:37:47 PM
Subject: Re: New server and share

Chris,

Can you get us the firewall rules we that are needed? We just need to know what exact IP or what subnets need to
access this fileshare. Or should we work directly with Steven Dean on this?

Thanks,
Casey

Casey Darrow
Director of Windows Server and Infrastructure
University Information Technology Services
Kennesaw State University
Phone 470-578-2634


From: "Stephen C Gay" <sgay@kennesaw.edu>
To: "Steven Dean" <stevendean@kennesaw.edu>
Cc: "Steven Dean" <sdean29@kennesaw.edu>, "Jason Figueroa" <jfiguel2@kennesaw.edu>, "Christopher M.
Dehner" <cmd9090@kennesaw.edu>, "Chase Elliott" <celliot7@kennesaw.edu>, "cdarrow"
<cdarrow@kennesaw.edu>
Sent: Tuesday, March 21, 2017 11:14:06 AM
Subject: Re: New server and share

Steven,

I would like for us to have all safeguards in place before CES begins using the server in a production sense. Chris
Dehner is CC'd on this email and, by copy, I'll ask him to coordinate between the WinServ team and CES on making
this a priority

Stephen C Gay CISSP CISA
KSU Chieflnformation Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University



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Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9050
sgay@kennesaw.edu

----- Original Message -----
From: "Steven Dean" <stevendean@kennesaw.edu>
To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Steven Dean" <sdean29@kennesaw.edu>, "Jason Figueroa" <:jfigue12@kennesaw.edu>, "cmd9090"
<cmd9090@kennesaw.edu>, "Elliott Chase" <celliot7@kennesaw.edu>, "Casey Darrow"
<cdarrow@kennesaw.edu>
Sent: Tuesday, March 21, 2017 11:04:04 AM
Subject: Re: New server and share

Stephen, thank you. Can we begin using this share today to host our project tracker and inventory lists? Or do we
need to wait for the firewall changes?

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012

> On Mar 21, 2017, at 7:44 AM, Stephen C. Gay <sgay@kennesaw.edu> wrote:
>
> Steven and Jason,
>
> The WinServ team has provisioned a new server dedicated to CES and created a file share which is locked down
to the list of users in the center. The path to the share is
>
> \\FS-ES.kennesaw.edu\shared
>
> As we discussed on Friday, I'd like to use a host-based firewall on the server to only allow traffic from the CES
network and the UITS network (for management). As I get more information I'll pass along.
>
> Stephen




                                                                                                                      LAMB DECLARATION
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 From:              Beaver, Merritt
 To:                Stephen Craig Gay: Koonce. Steven; Oliver. James
 Cc:                Lectra Lawhorne; Michael L. Barnes
 Subject:           RE: Plan of action for the passing of data
 Date:              Thursday, March 23, 2017 10:24:00 AM



Stephen

I would like to tie in both Steven Koonce, one of our Network administrators and James Oliver, our security
manager. See their emails attached.

I talked with my team and our election"s team and we would like to just create a new set of SFTP folders for this
effort. The old folder was set up the exchange sample ballot forms and we would like to not repurpose that folder for
this new use. There will be a need for KSU to upload files to SOS and also for SOS to send files to KSU. We are
suggesting that we have two folders to serve each of these purposes. Both of these folders will only hold data for 30
days and after that time any files left will be automatically deleted as these will be transfer folders only.

I will let Steven and James work with your team to best set this environment up.

Thanks

Merritt

S. Merritt Beaver
Chief Information Officer
Office of Georgia Secretary of State Brian P. Kemp
Office (404) 656-7744 Mobile: (770)330-0016
mbeaver@sos.ga.gov

-----Original Message-----
From: Stephen C. Gay [majjto·sgay@kennesaw.edu]
Sent: Wednesday, March 22, 2017 6:25 PM
To: Beaver, Merritt <mbeaver@sos.ga.gov>
Cc: Lectra Lawhorne <llawhorn@kennesaw.edu>; Michael Barnes <mbarne28@kennesaw.edu>
Subject: Plan of action for the passing of data

Merritt,

Thank you for the conversation regarding the ExpressPoll file pickup and discussion on getting the processed data
back to your office. Looking over my notes, I have the following plan of action from our discussion:

Objective: KSU will use the Secretary of State SFTP server to upload the data moving forward, after which
members of your team will coordinate the distribution to the counties which require the data.

Tasks:
- Remove all users/rights with the current KSU folder on the Secretary of State SFTP Server and provision new
accounts for specified users (Likely SDean, MFiguero, CDehner)
- Work with Chris Dehner, in the UITS Information Security Office, to share and validate SFTP certificate for
server.
- Work with Chris Dehner and members ofCES to develop process for file transfer, account password expiration,
and archiving of file and associated password sharing
- Chris Dehner will work with Steven and Jason on selecting the archive software client, SFTP client and validating
the functionality
- Test the clients and processes, and resolve any challenges.




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If you could send me the contact information for James and Stephen on your team I will share with the team and ask
that they connect 1st thing tomorrow. I don't want to be a roadblock to these tasks and progress, but will check-in on
the progress and will be available to assist as needed.

Stephen C Gay CISSP CISA
KSU Chieflnformation Security Officer & UITS Executive Director Information Security Office University
Information Technology Services (UITS) Kennesaw State University Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (4 70) 578-6620
Fax: (470) 578-9050
sgay@kennesaw.edu




                                                                                                                    LAMB DECLARATION
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From:             Michael L. Barnes
To:               Stephen Craig Gay
Subject:          Re: Plan of action for the passing of data
Date:             Wednesday, March 22, 2017 6:26:57 PM


Thank you jumping on this quickly.

Michael Barnes
Director
Center for Election Systems
3205 Campus Loop Road
Kennesaw State University
Kennesaw, GA 30144
ph: 470-578-6900

On Mar 22, 2017, at 6:25 PM, Stephen C. Gay <sgay@kennesaw.edu> wrote:


       Merritt,

       Thank you for the conversation regarding the ExpressPoll file pickup and
       discussion on getting the processed data back to your office. Looking over my
       notes, I have the following plan of action from our discussion:

       Objective: KSU will use the Secretary of State SFTP server to upload the data
       moving forward, after which members of your team will coordinate the
       distribution to the counties which require the data.

       Tasks:
       - Remove all users/rights with the current KSU folder on the Secretary of State
       SFTP Server and provision new accounts for specified users (Likely SDean,
       MFiguero, CDehner)
       - Work with Chris Dehner, in the UITS Information Security Office, to share and
       validate SFTP certificate for server.
       - Work with Chris Dehner and members of CES to develop process for file
       transfer, account password expiration, and archiving of file and associated
       password sharing
       - Chris Dehner will work with Steven and Jason on selecting the archive software
       client, SFTP client and validating the functionality
       - Test the clients and processes, and resolve any challenges.

       If you could send me the contact information for James and Stephen on your team
       I will share with the team and ask that they connect 1st thing tomorrow. I don't
       want to be a roadblock to these tasks and progress, but will check-in on the
       progress and will be available to assist as needed.

       Stephen C Gay CISSP CISA
       KSU Chief Information Security Officer & UITS Executive Director
       Information Security Office
       University Information Technology Services (UITS)
       Kennesaw State University



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  Technology Services Bldg, Room 031
  1075 Canton Pl, MB #3503
  Kennesaw, GA 30144
  Phone: (470) 578-6620
  Fax: (470) 578-9050
  sgay@kennesaw.edu




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From:              Michael L Barnes
To:                Christopher Michael Dehner
Cc:                Steven Jay Dean; Stephen Craig Gay
Subject:           Re: Question
Date:              Wednesday, March 29, 2017 12:10:55 PM


Will do.

Thank you.

Michael Barnes
Director
Center for Election Systems
3205 Campus Loop Road
Kennesaw State University
Kennesaw, GA 30144
ph: 470-578-6900

On Mar 29, 2017, at 12:10 PM, Christopher M. Dehner <cmd9090@kennesaw.edu> wrote:


        Michael,

        From a security perspective we don't have an issue with sending a sample ballot
        via email, as it contains no confidential data. I would advise to double check with
        the SoS investigator that this is their preferred method of transmission. As we
        continue to collaborate with the SoS IT department, we can standardize and
        document these processes.

        Regards,


        Christopher Dehner, CISA
        IT Security Professional III
        Information Security Office
        University Information Technology Services (UITS)
        Kennesaw State University
        Technology Services Bldg, Room 027
        1075 Canton Pl, MB #3503
        Kennesaw, GA 30144
        Phone: 470-578-6620
        Fax: 470-578-9050
        cmd9090@kennesaw.edu
        ----- Original Message -----
        From: "Michael Barnes" <mbarne28@kennesaw.edu>
        To: "Christopher M. Dehner" <cmd9090@kennesaw.edu>
        Cc: "Steven Dean" <sdean29@kennesaw.edu>
        Sent: Wednesday, March 29, 2017 11:12:29 AM
        Subject: Question




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  From: Merle S. King mking@kennesaw.edu
Subject: Re: PII found on unicoi.kennesaw.edu (only open to the KSU network)
  Date: March 4, 2017 at 6:17 PM
     To: Lectra Lawhorne llawhorn@kennesaw.edu
    Cc: Stephen C. Gay sgay@kennesaw edu, Michael Barnes mbarne281'ilkennesa·Nedu, sdean29@kennesaw.edu

      Working on it now


      Merle S. King
      Executive Director
      Center for Election Systems
      3205 Campus Loop Road; MD#5700
      Kennesaw State University
      Kennesaw, GA 30144
      Voice: 470-578-6900
      Fax: 470-578-9012

      On Mar 4, 2017, at 5:51 PM, Lectra Lawhorne <llawhorn@kennesaw.edu> wrote:

        Stephen,

        Please call me.

        Lee

        On Mar 4, 2017, at 5:48 PM, Stephen C. Gay <§g§'{@kennesaw.edu> wrote:


          Michael,


          Please see below. Can you please shut this server down until we have a chance to meet
          on Monday to discuss the Center's needs and how best we can work together to meet
          them? Could you please send conformation of shutdown when completed.


          Thank you,
          Stephen


          Sent from Nine

          From: William C. Moore
          Sent: Mar 4, 2017 5:44 PM
          To: Stephen Gay
          Cc: Chris Gaddis
          Subject: Fwd: PII found on unicoi.kennesaw.edu (only open to the KSU network)

          Stephen

          The Core Team is reporting that the Center if Elections server unicoi.kennesaw.edu has files containing PII. One file potentially
          has 5. 7 records and is suspected to be files from 2010.

          Tt1e server is currently only available from the campus network. We however recommend that the server be removed from the
          network until all PII data can be secured or removed and verified by the ISO


          Bill




          William C Moore II CISSP, MEd MLIS
          Associate Executive Director


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 Information Security Office
 University Information Technology Services (UITS)
 Kennesaw State University
 Technology Services Bldg Rm 031
 1075 Canton Pl
 Kennesaw. GA 30144
 Tel 470-578-6620
 Fax 678-915-4940
 wcmoore@kennesaw.edu

 Begin forwarded message

  From: Chris Gaddis <jgaddis6@kennesaw.edu>
  Date: March 4, 2017 at 17:32:24 EST
  To: "William C. Moore" <wmoore36@kennesaw.edu>
  Subject: PII found on unicoi.kennesaw.edu (only open to the KSU network)

   Bill,

   I noticed that CES brought up Unicoi on Friday (I think its their backup server). Regardless I ran a spider tool on it and found a
  number of files listed since directory listing is enabled. The top file on this list has 5.7 million records of PII. The rest have a
  variety of different types of data and some may be completely fine to keep open to the public.

   Please note that this server is ONLY open to the KSU network but even still this type of PII should not be open to the KSU
   network in any form without authentication.

  httQ://unicoi.kennesawedu/sites/default/files/vendors/ESandS/Primary 201 a.zip <---- main concern
  httQ://unicoi.kennesaw.edu/sites/default/files/mQearso9/ExQressPoll/L&AFiles/PollData.db3
  httQ://unicoi.kennesaw.edu/sites/default/files/ExQressPoll L&A/Pol1Data.db3
  httQ://unicoi.kennesaw.edu/sites/default/files/ExQressPoll L&A/muni/Pol1Data.db3
  httQ://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24 Primary/HD68 Audio.zip
  httQ://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24 Primary/022 - Carroll.zip
  httQ://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24 Primary/048 - Douglas.zip
  http ://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-10-N P-FB. Qdf
  httQ://unicoi. kennesaw. edu/sites/default/files/ceswebadmin/Proof/Ballots/1-100-N P-FB.Qdf
  httQ://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/001.Qdf
  httQ://u nicoi .kennesaw. edu/sites/default/files/ceswebadmin/ballotQroof/1-275-NP-FB. pdf
  httQ ://u n icoi. kennesaw. edu/sites/default/files/ceswebadmin/1-10-N P-FB. pd!
  http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Bal1otsNote Centers with Cards.pd!
  http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/Sign Off Sheet - Ballot Proofs.pd!
  http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/1-50-NP-FB.pdf
  http ://u n icoi. ken nesaw. edu/sites/defau It/Ii les/mpearso9 /Proof /Bal lots/Bal lot Order. pdf
  httQ://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/1-40-NP-FB.pdf
  httQ://unicoi.kennesaw.edu/sites/default/files/mQearso9/Proof/Ballots/1-30-NP-FB.pdf
  httQ://unicoi.kennesaw.edu/sites/default/files/mQearso9/Proof/Ballots/1-20-NP-FB.Qdl
  http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/1-10-N P-FB. pd!
  http://unicoi.kennesaw.edu/sites/defau1t/files/mpearso9/Proof/Audio/Sign Off Sheet - Audio Review.pd!
  http://unicoi.kennesaw.edu/sites/delault/files/ExpressPoll L&A/muni/Reporting Precincts with Cards.pd!
  httQ://unicoi.kennesaw.edu/sites/delault/files/ExpressPoll L&A/Reporting Precincts with Cards.pd!
  http://unicoi.kennesaw.edu/sites/delault/files/Documents/Summary Statistics.pd!
  httQ://u nicoi.kennesaw. edu/sites/default/files/ceswebadmin/Proof/Ballots/1-90-N P-FB.pdf
  httQ://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/BallotsNote Centers with Cards.pd!
  http://unicoi. kennesaw. edu/sites/defau lt/files/ceswebadmin/Proof/Ballots/1-80-N P-FB.pdf
  http ://un icoi.kennesaw. edu/sites/default/files/ceswebadmin/Proof/Ballots/1-70-N P-FB.Qdf
  http://unicoi.kennesaw.edu/sites/defaultlfiles/ceswebadmin/Proof/Ballots/Sign Off Sheet - March 15, 2011 Proofs.pd!
  http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/Ballot Order.pd!
  httQ://un icoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-60-N P-FB. Qdf
  httQ://unicoi. kennesaw.edu/sites/default/fi les/ceswebadmin/Proof/Ballots/1-50-N P-FB.pdf
  httQ ://unicoi. kennesaw. edu/sites/default/files/ceswebadmin/Proof/Ballots/1-40-N P-FB. pdf
  httQ://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-30-NP-FB.Qdf
  http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-20-NP-FB.pdf
  http ://unicoi. ken nesaw.edu/sites/defaultlfiles/ceswebadmin/Proof/Ballots/1-170-NP-FB. pdf
  http ://unicoi. ken nesaw.edu/sites/defau ltlfiles/ceswebadmin/Proof/Ballots/1-160-NP-FB. pdf
  http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-140-N P-FB. pd!
  httQ://un icoi. kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-130-N P-FB. Qdf
  httQ ://u n icoi. kennesaw. edu/sites/default/fi les/ceswebadmin/Proof/Ballots/1-120-N P-FB.pdf
  httQ ://u n icoi.kennesaw. edu/sites/default/files/ceswebadmin/Proof/Ballots/1-110-NP-FB. Qdf


  Let me know if you have any questions about this.




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  Thanks,

  Chris

 Chris Gaddis SSCP
 Information Security Engineer
 Information Security Office
 University Information Technology Services (UITS)
 Kennesaw State University
 Technology Services Bldg, Room 029
 1075 Canton Pl, MB #3503
 Kennesaw, GA 30144 USA
 Phone: (470) 578-6620
 Fax: (470) 578-9050
 jgaddis6@kennesaw.edu




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Michael Barnes

From:                            Stephen Craig Gay
Sent:                            Saturday, March 04, 2017 5:49 PM
To:                              Michael L. Barnes
Cc:                              Lectra Lawhorne; Merle Steven King
Subject:                         Fw: PII found on unicoi.kennesaw.edu (only open to the KSU network)



Michael,

Please see below. Can you please shut this server down until we have a chance to meet on Monday to discuss
the Center's needs and how best we can work together to meet them? Could you please send conformation of
shutdown when completed.

Thank you,
Stephen

Sent from Nine

From: William C. Moore
Sent: Mar 4, 2017 5:44 PM
To: Stephen Gay
Cc: Chris Gaddis
Subject: Fwd: PII found on unicoi.kennesaw.edu (only open to the KSU network)

Stephen

The Core Team is reporting that the Center if Elections server unicoi.kennesaw.edu has files containing PII.
One file potentially has 5. 7 records and is suspected to be files from 2010.

The server is currently only available from the campus network. We however recommend that the server be
removed from the network until all PII data can be secured or removed and verified by the ISO.


Bill




William C. Moore II CISSP, MEd,MLIS
Associate Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg. Rm 031
1075 Canton Pl
Kennesaw, GA 30144
Tel: 470-578-6620
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Fax: 678-915-4940
wcmoore@kennesaw.edu

Begin forwarded message:

      From: Chris Gaddis <jgaddis6@kennesaw.edu>
      Date: March 4, 2017 at 17:32:24 EST
      To: "William C. Moore" <wmoore36@kennesaw.edu>
      Subject: PII found on unicoi.kennesaw.edu (only open to the KSU network)

      Bill,

       I noticed that CES brought up Unicoi on Friday (I think its their backup server). Regardless I ran
      a spider tool on it and found a number of files listed since directory listing is enabled. The top
      file on this list has 5. 7 million records of PII. The rest have a variety of different types of data
      and some may be completely fine to keep open to the public.

      Please note that this server is ONLY open to the KSU network but even still this type of PII
      should not be open to the KSU network in any form without authentication.

      http://unicoi .kennesaw .edu/sites/default/fi les/vendors/ESandS/Primary 2010 .zip <---- main
      concern
      http://unicoi.kennesaw.edu/sites/default/files/mpearso9/ExpressPo11/L&AFiles/Pol1Data.db3
      http ://unicoi .kennesaw .edu/sites/default/files/ExpressPo 11 L&A/Po 11Data.db3
      http://unicoi.kennesaw.edu/sites/default/files/ExpressPolI L&A/muni/Pol!Data.db3
      http://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24 Primary/HD68 Audio.zip
      http://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24 Primary/022 - Carroll.zip
      http://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24 Primary/048 -
      Douglas.zip
      http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-10-NP-FB.pdf
      http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-1 00-NP-FB.pdf
      http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/OO l .pdf
      http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/bal lotproof/ 1-2 75-NP-FB. pdf
      http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/l-l 0-NP-FB.pdf
      http://unicoi.kennesaw.edu/sites/default/fi les/mpearso9 /Proof/Ballots/Vote Centers with
      Cards.pdf
      http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/S ign Off Sheet - Ballot
      Proofs.pdf
      http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ba11ots/1-50-NP-FB.pdf
      http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/Ballot Order.pdf
      http://un icoi.kennesaw .edu/sites/default/files/mpearso9 /Proof/Ballots/l -40-NP-FB .pdf
      http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/l-30-NP-FB.pdf
      http://unicoi.kennesaw.edu/ sites/default/files/mpearso9 /Proof/Ballots/ 1-20-NP-FB. pdf
      http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/l- l 0-NP-FB.pdf
      http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Audio/Sign Off Sheet - Audio
      Review.pdf
      http://unicoi.kennesaw.edu/sites/default/files/ExpressPoll L&A/muni/Reporting Precincts with
      Cards.pdf
      http://unicoi.kennesaw.edu/sites/default/files/ExpressPoll L&A/Reporting Precincts with
      Cards.pd[
      http://unico i.kennesaw .edu/sites/default/files/Documents/Summary Statistics. pdf
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http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-90-NP-FB.pdf
http ://uni coi .kennesaw .edu/sites/default/files/ceswebadmin/Proof/Bal lots/Vote Centers with
Cards.pd[
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-80-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-70-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/Sign Off Sheet - March
15, 2011 Proofs.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/Ballot Order.pd[
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-60-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-50-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-40-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-30-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-20-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-l 70-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-l 60-NP-FB.pdf
http://unicoi .kennesaw .edu/sites/default/files/ceswebadmin/Proof/Ballots/1-140-NP-FB. pdf
http://unico i.kennesaw .edu/sites/default/fi !es/ceswe badmin/Proof/Ballots/1-13 0-NP-F B. pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-l 20-NP-FB.pdf
http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-l l 0-NP-FB.pdf


Let me know if you have any questions about this.

Thanks,

Chris

Chris Gaddis SSCP
Information Security Engineer
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 029
I 075 Canton Pl, MB #3503
Kennesaw, GA 30144 USA
Phone: (470) 578-6620
Fax: (470) 578-9050
jgaddis6@kennesaw.edu




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Michael Barnes

From:                     Merle Steven King
Sent:                     Sunday, August 28, 2016 3:56 PM
To:                       Steven Jay Dean; Jason Stephen Figueroa
Cc:                       Michael L. Barnes
Subject:                  Fwd: [IMPORTANT] concerning the security of elections.kennesaw.edu



Steven and Jason - Please review this email and advise. Sooner is better than later.

Thanks,

MSK


From: "Logan Lamb"
To: "Merle King"
Cc: research@bastille.net
Sent: Sunday, August 28, 2016 3:47:50 PM
Subject: [IMPORTANT] concerning the security of elections.kennesaw.edu

Hello Merle,

My name is Logan Lamb, and I'm a cybersecurity researcher who is a member of
Bastille Threat Research Team. We work to secure devices against new and
existing wireless threats: https://www.bastille.net/. This past Tuesday I went
to Fulton County Government Center to speak with Rick Barron about securing
voting machines against wireless threats. I was then directed to contact you
and the center. I'd like to collaborate with you on securing our state's
election systems infrastructure against wireless attacks.

While attempting to get more background information on the center prior to
contacting you, I discovered serious vulnerabilities affecting
elections.kennesaw.edu.


The following google searches reveal documents that shouldn't be indexed and
appear to be critical to the elections process. In addition, the Drupal install
needs to be immediately upgraded from the current version, 7.31:

"site:elections.kennesaw.edu inurl:pdf"
I generally use this type of search to find documents on websites that lack
search functionality. This search revealed a completely open Drupal install.



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Assume any document that requires authorization has already been downloaded
without authorization.

"site:elections.kennesaw.edu L&A"
The second search result appears to be for disseminating critical voting
system software. This is especially concerning because, as the following article
states, there's a strong probability that your site is already compromised.
https://www.drupal.org/project/drupalgeddon
https://www.drupal.org/SA-CORE-2014-005


If you have any questions or concerns please contact me. I'm able to come to the
center this Monday for a more thorough discussion.

Take care,
Logan



Merle S. King

Executive Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, Georgia 30144



Voice: 470-578-6900
Fax: 470-578-9012




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Michael Barnes

From:                            Merle Steven King
Sent:                            Wednesday, March 01, 2017 11 :45 PM
To:                              Michael L. Barnes; Steven Jay Dean
Subject:                         Fwd: Vulnerability on the elections.kennesaw.edu website



FYI.

Sent from my iPad

Begin forwarded message:

        From: "Stephen C. Gay" <sgay@kennesaw.edu>
        Date: March 1, 2017 at 11 :10:16 PM EST
        To: Merle King <mking@kennesaw.edu>, Steven Dean <sdean29@kennesaw.edu>
        Cc: Lectra Lawhorne <llawhom@kennesaw.edu>, "William C. Moore"
        <wmoore36@kennesaw.edu>
        Subject: Fwd: Vulnerability on the elections.kennesaw.edu website

        Merle,

        I received the following email, and call, tonight regarding a directory traversal vulnerability on
        elections.kennesaw.edu. I immediately activated our Incident Response Team and, through the
        use of burp suite, we were able to recreate the vulnerability described below. In the vulnerability
        recreation, we were able to pull voter information in database files for counties across the state
        and the data elements included DOB, Drivers License Number, Party Affiliation, etc.
        Understanding the risk associated with this vulnerability, we have closed all firewall exceptions
        for elections.kennesaw.edu to contain the incident. I have asked Bill Moore to act as point for
        this incident and we need to coordinate with your team on the web logs for
        elections.kennesaw.edu first thing tomorrow morning. The logs will help us understand the scope
        of the breach and allow us to advise the CI O as to next steps.

        I will be temporarily out of pocket for a short time tomorrow, then remote thereafter, but your
        cooperation in this incident response is appreciated.

        Stephen C Gay CISSP CISA
        KSU Chief Information Security Officer & UITS Executive Director
        Information Security Office
        University Information Technology Services (UITS)
        Kennesaw State University
        Technology Services Bldg, Room 031
        1075 Canton Pl, MB #3503
        Kennesaw, GA 30144
        Phone:(470)578-6620
        Fax: (470) 578-9050
        sgay@kennesaw.edu

        ----- Forwarded Message -----

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From: "Andy Green" <agreen57(a),kennesaw.edu>
To: "Stephen C Gay" <sgay(a),kennesaw.edu>
Sent: Wednesday, March 1, 2017 9:55:27 PM
Subject: Vulnerability on the elections.kennesaw.edu website

Stephen,

Thanks for taking the time to talk with me tonight. As I mentioned during our call, I was
contacted by a friend in the security space here in Atlanta earlier tonight. My friend relayed to
me the existence of a Drupal plug-in vulnerability that a friend of his located on the
elections.kennesaw.edu website. The vulnerability allows for directory traversal without
authentication, leaving files exposed.

My friend shared with me that the exposed directories contained, among other things:
- voter registration detail files, including DOB and full SSN.
- PDFs of memos to county election officials which contained full credentials for ExpressPoll
Election Day access, for the November 2016 election.

I was able to verify the presence of the vulnerability myself, and was able to traverse directories
without authenticating. I did not download any of the voter data files to verify his statement, for
obvious reasons. However, I did successfully open a PDF in my browser window, located in the
Fulton County Elections/ExpressPoll/ED_Files/ folder for proof of concept.

The base URL of interest is http://elections.kennesaw.edu/sites/default/files - please note that the
URL must be http, as use of https will return a 404 error.

I'm told the researcher works for a reputable organization. I'm also told that the organization may
be interested in going public with this at some point, due to the seriousness of the matter as well
as the related publicity it would generate for the organization. My sense is that there is a desire to
go public in a coordinated, responsible manner, in order to give the university appropriate time to
remediate the vulnerability. This is certainly not set in bedrock, as I'm just the middleman here.
However, given that they reached out to me as opposed to releasing to the public, I'm hopeful
that my sense is correct.

If I can be of further service, including facilitating communication between all parties, please
don't hesitate to let me know.

Thanks

Andy Green, MSIS

Lecturer of Information Security and Assurance
BBA-ISA program coordinator
KSU Student ISSA chapter faculty sponsor
KSU Offensive Security Research Club faculty sponsor

Michael J. Coles College of Business
Kennesaw State University - A Center of Academic Excellence in Information Assurance
Education
560 Parliament Garden Way NW, MD 0405
Kennesaw, GA 30144-5591
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agreen57 (a),kennesaw.edu
http://coles.kennesaw.edu/faculty/green-andrew.php
Ph: 470-578-4352
Burruss Building, Room #490

73656d7065722070617261747573




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Michael Barnes

From:                            Steven Dean <stevendean@kennesaw.edu >
Sent:                            Thursday, March 02, 2017 1:32 PM
To:                              James Christopher Gaddis
Cc:                              William C. Moore; Stephen Craig Gay; Michael L. Barnes; Merle Steven King
Subject:                         Next steps for elections.kennesaw.edu



Chris, is there any further data you need from the server for your investigation? Our next intention is to make a
backup of the affected files and remove them from the server. This would only affect files in the county folders,
not log files are and config files. After that we will reach out to have the security of the server assessed by your
group so that we may bring it back online without any previously vulnerable links.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




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Michael Barnes

From:                           Steven Jay Dean
Sent:                           Wednesday, April 26, 2017 3:18 PM
To:                             Christopher Michael Dehner
Cc:                             Merle Steven King; Michael L. Barnes; Jason Stephen Figueroa
Subject:                        Private Network Hardware Assessment



Chris, we recently receive a draft of the Incident report and I would like to go through the hardware section to
get a plan outlined for addressing the recommendations. The document states the following:

1.    Rackmount UPS Battery backups (one displaying warning light)
        Recommendation: Replace batteries as needed and move under UITS ISS management
2. 3com Switches -Age IO+ years -- No Support -- L2 only
        Recommendation: Replace and move under UITS ISS management
3. Dell 1950 (Windows Domain Controller)-Age 10+ years
        Recommendation: Surplus
4. Dell PowerEdge R630 - Age I year
        Recommendation: Migrate services from Dell 1950 and move under UITS ISS management on CES
Isolated Network
5. EPIC - Vision Computer-Age Unknown- Electors list creation box
        Recommendation: Continue as ISO/CES managed
6. EPIC Files - Dell 1900 - Age 6+ years - Electors list creation box backups
        Recommendation: Surplus
7. NAS - Dell 1900 - Age 6+ years - CES Isolated Network NAS
        Recommendation: Surplus
8. elections.kennesaw.edu - Age 5 years - Dell PowerEdge R610
        Recommendation: Format and reinstall on CES Isolated Network as NAS
9. unicoi.kennesaw.edu - Age 6+ years. Dell PowerEdge 1950
        Recommendation: Surplus
10. Web server backup
        Recommendation: Surplus


We had submitted for approval to UITS the purchase of two new UPS units prior to the incident. Should we
continue and order these as previously planned?
Will new hardware (and other equipment) be ordered by ISO under ISO budget, ordered by ISO under CES
budget, or ordered by CES? Who will decide what hardware is purchased?
How should we proceed with replacing the Switches and who will install and manage them?
When will the assessment of the private network software commence and what department will handle the
migrations and updates? How will this project factor into their schedule?

We would like to get moving on this list as soon as possible. Please let me know what I can do as the next step.
Thanks.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
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Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




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Michael Barnes

From:                              Merle Steven King
Sent:                              Monday, August 29, 2016 11 :06 AM
To:                                Michael L. Barnes
Subject:                           Re: Follow Up from earlier email regarding security of elections.kennesaw.edu



Well said. Thanks




Merle S. King
Executive Director
Center for Election Systems
3205 Campus Loop Road; MD#5700
Kennesaw State University
Kennesaw, GA 30144
Voice: 470-578-6900
Fax:470-578-9012

On Aug 29, 2016, at 11:04 AM, Michael Barnes <mbarne28@kennesaw.edu> wrote:

        Stephen,
         In retrospect, I need to pull back my request that you include Logan Lamb or his associated organization
         Bastille Threat Research Team (www.bastille.net) on a black list of ip addresses. My request was an
        over-reaction on my part. The quick security assessment they provided us, though unsolicited, did
        highlight an issue we needed to resolve with our website. To black list them for helping us would be
        inappropriate.
        Leading up to this election, where the question of whether or not someone can hack election systems is
        so in the forefront, we will need your team will help us continually analyze our on line systems and
        inspect for any openings that need to be sealed. Our IT staff will be in touch today to let you know what
        enhancements we have made and will request that your team ping our system to see if you all find other
        issues.
        Thanks in advance for your help,
        Michael Barnes
        Director
        Center for Election Systems
        Kennesaw State University
        3205 Campus Loop Road
        Kennesaw, GA 30144
        ph: 470-KSU-6900
        fax: 470-KSU-9012




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Michael Barnes

From:                             Stephen Craig Gay
Sent:                             Thursday, April 27, 2017 10:29 AM
To:                               Michael L. Barnes; Merle Steven King
Cc:                               Lectra Lawhorne; Christopher Michael Dehner
Subject:                          Re: Incident Reponse Walk through
Attachments:                      CES AAR Rev04.pdf



Michael and Merle,

Thank you for the edits. I have accepted them and attached the updated version and will be on the lookout for the
referenced email.

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director Information Security Office University Information
Technology Services {UITS} Kennesaw State University Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470} 578-6620
Fax: (470} 578-9050
sgay@kennesaw.edu

----- Original Message -----
From: "Michael Barnes" <mbarne28@kennesaw.edu>
To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Lectra Lawhorne" <llawhorn@kennesaw.edu>, "cmd9090" <cmd9090@kennesaw.edu>, "Merle King"
<mking@kennesaw.edu>
Sent: Wednesday, April 26, 2017 3:29:43 PM
Subject: RE: Incident Reponse Walk through

Stephen,

Thank you for giving us the opportunity to review the attached. We have provided a few grammatical changes and
added just a few clarifying comments.
I am attaching a copy with Change Tracker on so you can quickly see those changes.

We have asked Steven Dean to follow up with Chris Dehner to see what timeline may be in place in relation to items
listed in Issue 7. We want to make sure we are doing our part but we will need some guidance.

Please let us know what other assistance we can provide.

Thanks,

Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144




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ph: 470-KSU-6900
fax: 470-KSU-9012
-----Original Message-----
From: Stephen C. Gay [mailto:sgay@kennesaw.edu]
Sent: Monday, April 24, 2017 12:01 PM
To: Merle King <mking@kennesaw.edu>; Michael Barnes <mbarne28@kennesaw.edu>
Cc: Lectra Lawhorne <llawhorn@kennesaw.edu>; Christopher M. Dehner <cmd9090@kennesaw.edu>
Subject: Re: Incident Reponse Walk through

Merle & Michael,

Following up on this, one of the areas in which we are actively looking to grow is in the "Post-Incident Activity" area and
specifically working to understand what vectors led to a compromise and what KSU could have done better to close
those vectors (or minimally detected earlier). For the Center for Election Systems incident, we adopted a format which
GaTech shared to conduct document incident "After Action Reports". The document purposely vague in regards to the
incident, but is highly tactical in prescribing mitigation steps to prevent future incidents.

Can I ask you to review and provide your feedback, as I value your input and all mitigation is going to be conducted in a
secure and collaborative manner.

Thank you,
Stephen

----- Original Message-----
From: "Merle King" <mking@kennesaw.edu>
To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Michael Barnes" <mbarne28@kennesaw.edu>, "Lectra Lawhorne"
<llawhorn@kennesaw.edu>, "Steven Dean" <sdean29@kennesaw.edu>
Sent: Tuesday, April 18, 2017 9:55:05 AM
Subject: Incident Reponse Walk through

Stephen - We are looking for assistance in designing and conducting an incident response exercise walk through for
several difference scenarios here at the Center. Do you have a template or other guidelines that can help us organize the
exercise? We would like to include our staff, UITS, and SOS IT staff in the exercise.

Thanks in advance,

Merle



Merle S. King

Executive Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, Georgia 30144

Voice: 470-578-6900
Fax: 470-578-9012




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Michael Barnes

From:                               James Christopher Gaddis
Sent:                               Thursday, March 02, 2017 1:59 PM
To:                                 Steven Dean
Cc:                                 William C. Moore; Stephen Craig Gay; Michael L. Barnes; Merle Steven King
Subject:                            Re: Next steps for elections.kennesaw.edu



Steven,

 As long as all log and config files are kept and you keep a record of what actions you are taking then I have no problem
with that. We SHOULD have everything we need but you never know what questions might come up based upon the
data we are reviewing.

Thanks,

 Chris Gaddis SSCP
Information Security Engineer
 Information Security Office
 University Information Technology Services (UITS) Kennesaw State University Technology Services Bldg, Room 029
1075 Canton Pl, MB #3503
Kennesaw, GA 30144 USA
Phone: (470) 578-6620
Fax: (470) 578-9050
jgaddis6@kennesaw.edu

----- Original Message-----
From: "Steven Dean" <stevendean@kennesaw.edu>
To: "Chris Gaddis" <jgaddis6@kennesaw.edu>
Cc: "William C.Moore"<wcmoore@kennesaw.edu>, ''Stephen C Gay" <sgay@kennesaw.edu>, "Michael Barnes"
<mbarne28@kennesaw.edu>, "Merle S. King" <mking@kennesaw.edu>
Sent: Thursday, March 2, 2017 1:32:15 PM
Subject: Next steps for elections.kennesaw.edu

Chris, is there any further data you need from the server for your investigation? Our next intention is to make a backup
of the affected files and remove them from the server. This would only affect files in the county folders, not log files are
and config files. After that we will reach out to have the security of the server assessed by your group so that we may
bring it back online without any previously vulnerable links.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




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Michael Barnes

From:                               Stephen Craig Gay
Sent:                               Saturday, March 04, 2017 7:42 PM
To:                                 Michael L. Barnes
Cc:                                 Lectra Lawhorne; Merle Steven King
Subject:                            Re: PII found on unicoi.kennesaw.edu (only open to the KSU network)



Michael,

Thank you so much and appreciate you coming to KSU to handle this tonight.

Stephen

Sent from Nine

From: Michael Barnes
Sent: Mar 4, 2017 7:11 PM
To: Stephen C. Gay
Cc: Lectra Lawhorne; Merle King
Subject: Re: PII found on unicoi.kennesaw.edu (only open to the KSU network)

Unicoi has been shutdown

Michael Barnes
Director
Center for Election Systems
3205 Campus Loop Road
Kennesaw State University
Kennesaw, GA 30144
ph: 470-578-6900

On Mar 4, 2017, at 5:48 PM, Stephen C. Gay <sgay@kennesaw.edu> wrote:

        Michael,

        Please see below. Can you please shut this server down until we have a chance to meet on
        Monday to discuss the Center's needs and how best we can work together to meet them?
        Could you please send conformation of shutdown when completed.

        Thank you,
        Stephen

        Sent from Nine

        From: William C. Moore
        Sent: Mar 4, 2017 5:44 PM
        To: Stephen Gay




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Cc: Chris Gaddis
Subject: Fwd: PII found on unicoi.kennesaw.edu (only open to the KSU network)

Stephen

The Core Team is reporting that the Center if Elections server unicoi.kennesaw.edu has files
containing PII. One file potentially has 5. 7 records and is suspected to be files from 2010.

The server is currently only available from the campus network. We however recommend that
the server be removed from the network until all PII data can be secured or removed and verified
by the ISO.


Bill




William C. Moore II CISSP, MEd,MLIS
Associate Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg. Rm 031
I 075 Canton Pl
Kennesaw, GA 30144
Tel: 470-578-6620
Fax: 678-915-4940
wcmoore@kennesaw.edu

Begin forwarded message:

        From: Chris Gaddis <jgaddis6@,kennesaw.edu>
        Date: March 4, 2017 at 17:32:24 EST
        To: "William C. Moore" <wmoore36@,kennesaw.edu>
        Subject: PII found on unicoi.kennesaw.edu (only open to the KSU network)

         Bill,

         I noticed that CES brought up Unicoi on Friday (I think its their backup server).
        Regardless I ran a spider tool on it and found a number of files listed since
        directory listing is enabled. The top file on this list has 5.7 million records of PII.
        The rest have a variety of different types of data and some may be completely fine
        to keep open to the public.

        Please note that this server is ONLY open to the KSU network but even still this
        type of PII should not be open to the KSU network in any form without
        authentication.

        http://unicoi.kennesaw.edu/sites/default/files/vendors/ESandS/Primary
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 2010.zip <---- main concern
 http://unicoi.kennesaw.edu/sites/default/files/mpearso9/ExpressPoll/L&AFiles/Po
 11Data.db3
 http://unicoi.kennesaw.edu/sites/default/files/ExpressPoll L&A/Pol1Data.db3
 http://uni coi .kennesaw .edu/s ites/default/fil es/ExpressPo 11
 L&A/muni/Pol1Data.db3
 http://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24
 Primary/HD68 Audio.zip
 http://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24
 Primary/022 - Carroll.zip
 http://unicoi.kennesaw.edu/sites/default/files/SoS Audio Proof/May 24
 Primary/048 - Douglas.zip
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-l 0-
 NP-FB.pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-100-
 NP-F B. pdf
 http://uni co i .kennesaw .edu/sites/default/files/ceswebadmin/Proof/Ballots/001. pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/ballotproof/1-275-NP-
 FB.pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/1-10-NP-FB .pdf
 http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/BallotsNote
 Centers with Cards.pdf
 http ://uni coi .kennesaw .edu/sites/default/files/mpearso 9/Proof/Ballots/Sign Off
 Sheet - Ballot Proofs.pd[
 http://unicoi.kennesaw.edu/sites/defau1t/files/mpearso9/Proof/Ballots/l-50-NP-
 FB.pdf
 http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/Ballot
 Order.pd[
 http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/l-40-NP-
 FB.pdf
 http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/1-30-NP-
 FB.pdf
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 FB. pdf
 http ://unicoi .kennesaw.edu/sites/default/files/mpearso9/Proof/Ballots/ 1-10-NP-
 FB. pdf
 http://unicoi.kennesaw.edu/sites/default/files/mpearso9/Proof/Audio/Sign Off
 Sheet - Audio Review.pdf
 http://unicoi.kennesaw.edu/sites/default/files/ExpressPoll L&A/muni/Reporting
 Precincts with Cards.pd[
 http://unicoi.kennesaw.edu/sites/default/files/ExpressPoll L&A/Reporting
 Precincts with Cards.pd[
 http://unicoi.kennesaw.edu/sites/default/files/Documents/Summary Statistics.pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/ 1-90-
 NP-F B. pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/BallotsNote
 Centers with Cards.pdf
 http://uni co i .kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/ 1-80-
 NP-FB. pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-70-
 NP-FB.pdf
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 http://uni co i.kennesaw .edu/sites/default/files/ceswebadm in/Proof/Bal lots/Sign Off
 Sheet - March 15, 2011 Proofs.pdf
 http ://unico i.kenne saw. ed u/ sites/default/files/ce swe badm in/Proof/Bal 1ots/B allot
 Order.pdf
 http ://unicoi .kennesaw .edu/sites/default/files/ceswebadmin/Proof/Ballots/ 1-60-
 N P-FB. pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/ 1-5 0-
 NP-F B .pdf
 http ://unico i.kennesaw .edu/sites/default/files/ceswe badmin/Proof/Ballots/1-40-
 NP-FB. pdf
 http://unicoi .kennesaw .edu/sites/default/files/ceswebadmin/Proof/Bal lots/ 1-3 0-
 N P-FB. pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-20-
 NP-FB.pdf
 http ://unicoi .kennesaw. edu/sites/default/files/ceswebadmin/Proof/Ballots/ 1-17 0-
 NP-F B. pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/ 1-160-
 NP-F B. pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/l-140-
 NP-FB.pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-130-
 NP-FB.pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/ 1-120-
 NP-FB .pdf
 http://unicoi.kennesaw.edu/sites/default/files/ceswebadmin/Proof/Ballots/1-l 10-
 NP-FB.pdf


 Let me know if you have any questions about this.

 Thanks,

 Chris

 Chris Gaddis SSCP
 Information Security Engineer
 Information Security Office
 University Information Technology Services (UITS)
 Kennesaw State University
 Technology Services Bldg, Room 029
 1075 Canton Pl, MB #3503
 Kennesaw, GA 30144 USA
 Phone: (470) 578-6620
 Fax: (470) 578-9050
 jgaddis6@kennesaw.edu




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Michael Barnes

From:                              Stephen Craig Gay
Sent:                              Thursday, May 04, 2017 10:08 AM
To:                                Michael L. Barnes
Cc:                                Lectra Lawhorne; Christopher Michael Dehner; Merle Steven King
Subject:                           Re: Private Network Hardware Assessment



Michael,

Thank you for forwarding the email. UITS, as the provider of network infrastructure & connectivity, will provide the
funding and specs for the battery backups as well as replacement switches. Other IT equipment which is specific to CES's
mission {desktops/servers on the isolated network) will continue to be funded from the Center's budget and we will all
work together on hardware specs which allows for support/maintenance to align with KSU standards.

The assessment & hardening of the private network will begin with the port locks and continue with post moves and
equipment surplus as noted in the AAR. Our ultimate goal is to collectively remove all unnecessary services/hardware
from the network and further secure and improve the remaining/new systems. I've asked Chris Dehner to take point
and, working with his embedded staff, develop a plan for these items.

As always, please let me know if you have any additional questions or if I can assist further in any way,

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director Information Security Office University Information
Technology Services {UITS) Kennesaw State University Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone:(470) 578-6620
Fax: (470} 578-9050
sgay@kennesaw.edu

----- Original Message -----
From: "Michael Barnes" <mbarne28@kennesaw.edu>
To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Merle King" <mking@kennesaw.edu>
Sent: Thursday, April 27, 2017 10:39:08 AM
Subject: FW: Private Network Hardware Assessment

Stephen,




Here is the email Steven Dean sent Chris Dehner yesterday.




Michael Barnes
Director
Center for Election Systems
Kennesaw State University

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3205 Campus Loop Road
Kennesaw, GA 30144
ph: 470-KSU-6900
fax: 470-KSU-9012

From: Steven Dean [mailto:sdean29@kennesaw.edu]
Sent: Wednesday, April 26, 2017 3:18 PM
To: Christopher M. Dehner <cmd9090@kennesaw.edu>
Cc: Merle S. King <mking@kennesaw.edu>; Michael Barnes <mbarne28@kennesaw.edu>; Jason Figueroa
<jfiguel2@kennesaw.edu>
Subject: Private Network Hardware Assessment




Chris, we recently receive a draft of the Incident report and I would like
to go through the hardware section to get a plan outlined for addressing the
recommendations. The document states the following:




1.   Rackmount UPS Battery backups (one displaying warning light)
       Recommendation: Replace batteries as needed and move under UITS
ISS management
2. 3com Switches -Age 10+ years -- No Support -- L2 only
       Recommendation: Replace and move under UITS ISS management
3. Dell 1950 (Windows Domain Controller) -Age 10+ years
       Recommendation: Surplus
4. Dell PowerEdge R630 - Age 1 year
       Recommendation: Migrate services from Dell 1950 and move under
UITS ISS management on CES Isolated Network
5. EPIC-Vision Computer-Age Unknown - Electors list creation box
       Recommendation: Continue as ISO/CES managed
6. EPIC Files - Dell 1900 -Age 6+ years - Electors list creation box
backups
       Recommendation: Surplus
7. NAS - Dell 1900 -Age 6+ years - CES Isolated Network NAS
       Recommendation: Surplus
8. elections.kennesaw.edu <http://elections.kennesaw.edu> - Age 5
years - Dell PowerEdge R610
       Recommendation: Format and reinstall on CES Isolated Network as
NAS
9. unicoi.kennesaw.edu -Age 6+ years. Dell PowerEdge 1950
       Recommendation: Surplus
10. Web server backup
       Recommendation: Surplus




We had submitted for approval to UITS the purchase of two new UPS units
prior to the incident. Should we continue and order these as previously

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planned?

Will new hardware (and other equipment) be ordered by ISO under ISO budget,
ordered by ISO under CES budget, or ordered by CES? Who will decide what
hardware is purchased?

How should we proceed with replacing the Switches and who will install and
manage them?

When will the assessment of the private network software commence and what
department will handle the migrations and updates? How will this project
factor into their schedule?




We would like to get moving on this list as soon as possible. Please let me
know what I can do as the next step. Thanks.



Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




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Michael Barnes

From:                              Stephen Craig Gay
Sent:                              Monday, March 20, 2017 8:54 AM
To:                                Christopher Michael Dehner
Cc:                                Steven Jay Dean; Michael L. Barnes; James Christopher Gaddis
Subject:                           Re: Request for data retrieval



Chris,

This server is physically secured in ISO Evidence Storage. Please coordinate with Chris Gaddis and Steven Dean on the
Data Recovery this morning.

Stephen

----- Original Message-----
From: "Michael Barnes" <mbarne28@kennesaw.edu>
To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Steven Dean" <sdean29@kennesaw.edu>, "Merle King" <mking@kennesaw.edu>, "Lectra Lawhorne"
<llawhorn@kennesaw.edu>
Sent: Friday, March 17, 2017 9:10:57 AM
Subject: RE: Request for data retrieval

Stephen,

Thank you. Steven and Jason will be available first thing Monday to assist.

Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144
ph: 470-KSU-6900
fax: 470-KSU-9012
-----Original Message-----
From: Stephen C.Gay[mailto:sgay@kennesaw.edu]
Sent: Friday, March 17, 2017 9:09 AM
To: Michael Barnes <mbarne28@kennesaw.edu>
Cc: Steven Dean <sdean29@kennesaw.edu>; Merle King <mking@kennesaw.edu>; Lectra Lawhorne
<llawhorn@kennesaw.edu>
Subject: Re: Request for data retrieval

Michael,

I have contacted the Federal investigators and they have agreed to return the server. I will be meeting with them late
this afternoon to receive it and then secure it within ISO Secure Storage. I have asked the team to make this a top
priority and to work with Steven and Jason on the request data retrieval 1st thing on Monday.

Please let me know if you have any questions or if I can assist further in any way, Stephen

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----- Original Message-----
From: "Michael Barnes" <mbarne28@kennesaw.edu>
To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Steven Dean" <sdean29@kennesaw.edu>, "Merle King" <mking@kennesaw.edu>
Sent: Wednesday, March 15, 2017 1:41:25 PM
Subject: Request for data retrieval

Stephen,




As discussed earlier today, we would like to retrieve certain records from elections.kennesaw.edu that support our daily
office activities, items such as inventory records, workflow databases used during our ballot building efforts, and
operation manuals. These data are located in the cesuser user directory at /home/cesuser. We would like to retrieve
the entire cesuser directory, if possible.




Thanks,




Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144
ph: 470-KSU-6900
fax: 470-KSU-9012




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Michael Barnes

From:                            Steven Dean <stevendean@kennesaw.edu>
Sent:                            Wednesday, March 29, 2017 1:43 PM
To:                              James Christopher Gaddis
Cc:                              Christopher Michael Dehner
Subject:                         Re: Unknown files on elections.kennesaw.edu

Importance:                      High



Chris, here are the data contained in each of the file types you have listed:

>mpearso9/ExpressPoll/L&AFiles/PollData.db3

This type of file may contain a subset of the list of voters and any associated voter information for a given
election. The file is used for testing purposes by counties before using an ExpressPoll during an election. The
directory listed here indicates that this file was for CES testing purposes and may not contain PII.

>ExpressPoll%20L%26A/PollData.db3.php
>Test%20Staff/ExpressPoll/ABSFile/PollData.db3.php
>County%20U ser/ExpressPol 1/AB SFile/Po 11Data.db3. php

These files enable download of associated "Pol1Data.db3" files by every browser. Note: these are PHP files that
only link to other files and do not contain any election data.

>/sites/default/fi les/vendors/ESandS/Primary%20201 0 .zip

Without analyzing this file, I cannot say for certain what is in it. Previous emails from ISO have indicated that
inspection of this file showed it to contain voter information from the time the file was created in 2010. May
contain PII.


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012

        On Mar 29, 2017, at 1:15 PM, Chris Gaddis <jgaddis6@KENNESAW.EDU> wrote:

        Steven,

        Can you please help me understand what data was contain in the files listed below.

        Was this County data?
        Full state data?
        Other Pii?
        Something else?
                                                         1


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Also can you please respond ASAP on this.

Unique file names

ExpressPoll%20L%26A/PollData.db3.php
mpearso9/ExpressPoll/L&AFiles/PollData.db3
Test%20Staff/ExpressPoll/AB SFile/PollData.db3 .php
County%20U ser/ExpressPoll/ABSFile/PollData.db3 .php
/sites/default/files/vendors/ESandS/Primary%20201 0.zip


Thanks so much!

-Chris




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Michael Barnes

From:                             Steven Dean <stevendean@kennesaw.edu >
Sent:                             Wednesday, March 01, 2017 11 :49 PM
To:                               Merle Steven King
Cc:                               Michael L. Barnes
Subject:                          Re: Vulnerability on the elections.kennesaw.edu website



Acknowledging that I've seen this. See you tomorrow.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012

On Mar 1, 2017, at 11 :44 PM, Merle S. King <mking@kennesaw.edu> wrote:

        FYI.

        Sent from my iPad

        Begin forwarded message:

                From: "Stephen C. Gay" <sgay@kennesaw.edu>
                Date: March 1, 2017 at 11:10:16 PM EST
                To: Merle King <mking(a),kennesaw.edu>, Steven Dean
                <sdean29@kennesaw.edu>
                Cc: Lectra Lawhorne <llawhorn@kennesaw.edu>, "William C. Moore"
                <wmoore36@kennesaw.edu>
                Subject: Fwd: Vulnerability on the elections.kennesaw.edu website

                Merle,

                l received the following email, and call, tonight regarding a directory traversal
                vulnerability on elections.kennesaw.edu. I immediately activated our Incident
                Response Team and, through the use of burp suite, we were able to recreate the
                vulnerability described below. In the vulnerability recreation, we were able to pull
                voter information in database files for counties across the state and the data
                elements included DOB, Drivers License Number, Party Affiliation, etc.
                Understanding the risk associated with this vulnerability, we have closed all
                firewall exceptions for elections.kennesaw.edu to contain the incident. I have
                asked Bill Moore to act as point for this incident and we need to coordinate with
                your team on the web logs for elections.kennesaw.edu first thing tomorrow
                morning. The logs will help us understand the scope of the breach and allow us to
                advise the CIO as to next steps.

                I will be temporarily out of pocket for a short time tomorrow, then remote



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  thereafter, but your cooperation in this incident response is appreciated.

  Stephen C Gay CISSP CISA
  KSU Chief Information Security Officer & UITS Executive Director
  Information Security Office
  University Information Technology Services (UITS)
  Kennesaw State University
  Technology Services Bldg, Room 031
  1075 Canton Pl, MB #3503
  Kennesaw, GA 30144
  Phone: (470) 578-6620
  Fax: (470) 578-9050
  sgay@kennesaw.edu

 ----- Forwarded Message -----
 From: "Andy Green" <agreen57@kennesaw.edu>
 To: "Stephen C Gay" <sgay@kennesaw.edu>
 Sent: Wednesday, March 1, 2017 9:55:27 PM
 Subject: Vulnerability on the elections.kennesaw.edu website

 Stephen,

 Thanks for taking the time to talk with me tonight. As I mentioned during our
 call, I was contacted by a friend in the security space here in Atlanta earlier
 tonight. My friend relayed to me the existence of a Drupal plug-in vulnerability
 that a friend of his located on the elections.kennesaw.edu website. The
 vulnerability allows for directory traversal without authentication, leaving files
 exposed.

 My friend shared with me that the exposed directories contained, among other
 things:
 - voter registration detail files, including DOB and full SSN.
 - PDFs of memos to county election officials which contained full credentials for
 ExpressPoll Election Day access, for the November 2016 election.

 I was able to verify the presence of the vulnerability myself, and was able to
 traverse directories without authenticating. I did not download any of the voter
 data files to verify his statement, for obvious reasons. However, I did successfully
 open a PDF in my browser window, located in the Fulton County
 Elections/ExpressPoll/ED_Files/ folder for proof of concept.

 The base URL of interest is http://elections.kennesaw.edu/sites/default/files -
 please note that the URL must be http, as use of https will return a 404 error.

 I'm told the researcher works for a reputable organization. I'm also told that the
 organization may be interested in going public with this at some point, due to the
 seriousness of the matter as well as the related publicity it would generate for the
 organization. My sense is that there is a desire to go public in a coordinated,
 responsible manner, in order to give the university appropriate time to remediate
 the vulnerability. This is certainly not set in bedrock, as I'm just the middleman
 here. However, given that they reached out to me as opposed to releasing to the
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 public, I'm hopeful that my sense is correct.

 If I can be of further service, including facilitating communication between all
 parties, please don't hesitate to let me know.

 Thanks

 Andy Green, MSIS

 Lecturer of Information Security and Assurance
 BBA-ISA program coordinator
 KSU Student ISSA chapter faculty sponsor
 KSU Offensive Security Research Club faculty sponsor

 Michael J. Coles College of Business
 Kennesaw State University - A Center of Academic Excellence in Information
 Assurance Education
 560 Parliament Garden Way NW, MD 0405
 Kennesaw, GA 30144-5591
 agreen5 7@kennesaw.edu
 http://co les.kennesaw .edu/faculty/green-andrew. php
 Ph: 470-578-4352
 Burruss Building, Room #490

 73656d7065722070617261747573




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Bill, we updated the production server last night and I initiated a scan this morning. It looks really good
to me, I'll just need your guidance on what issues we should address immediately. Thank you again for
you and your department's work on the security on campus. This has been a huge help to us.


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012



On Oct 12, 2016, at 5:53 PM, Steven Dean <stevendean@kennesaw.edu> wrote:



Bill, thank you! This is great news. The unicoi server doesn't have an ssl cert so the plain text log-ins over http will be
corrected when we role the updates into the production server.



Samba shouldn't be running on these servers so that is also easily remedied.



Elections.kennesaw hasn't been updated yet, so that's why you're seeing all of the same vulnerabilities. Now that
we've confirmed the updates fix most if not all of the vulnerabilities, we will work after hours in the coming days to
transition elections.kennesaw to the latest versions of Debian and PHP, as is currently the case on unicoi.



Thank you for all your help with this, we will let you know when we are ready for the next round of scans.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




On Wed, Oct 12, 2016 at 2:25 PM -0400, "William C. Moore" <wcmoore@kennesaw.edu> wrote:




Steven,



We have scanned both elections and Unicoi servers with basic level scans. The scan of the Unicoi server
identified one critical vulnerability but we also noticed two pages that allowed plaintext logins




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(http://unicoi.kennesaw.edu/?q=user/login and the samba-swat login http://unicoi.kennesaw.edu:901/l
. I am sure that you are aware that these are opportunities for malicious users to gather account
credentials. Therefore, all website logins should be passed through an SSL tunnel such as using https for
authentication.



The critical vulnerability discovered on the Unicoi server is for "Invalid CIFS Logins Permitted" which is
most likely related to the Samba Configuration file smb.conf
(https://www.samba.org/samba/docs/man/manpages-3/smb.conf.5.html).



The server elections.kennesaw.edu however is still showing that an outdated version of PHP is running
and may be the reason 40+ critical vulnerabilities are being identified as related to PHP.



Can you tell us what version of PHP is running and when we may be allowed to run a more through
scan?




Bill




William C. Moore II CISSP, MEd, MLIS
Associate Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg. Rm 031
1075 Canton Pl
Kennesaw, GA 30144
Tel: 470-578-6620
Fax: 678-915-4940
wcmoore@kennesaw.edu




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From: Steven Dean [mailto:stevendean@kennesaw.edu)
Sent: Thursday, October 06, 2016 11:58
To: William C. Moore <wcmoore@kennesaw.edu>
Cc: Michael Barnes <mbarne28@kennesaw.edu>; Jason Figueroa <jfigue12@kennesaw.edu>; Chris
Gaddis <jgaddis6@kennesaw.edu>; Merle S. King <mking@kennesaw.edu>; Stephen C. Gay
<sgay@kennesaw.edu>
Subject: Re: [IMPORTANT) concerning the security of elections.kennesaw.edu



Bill, we have the backup site up and running (thanks to G.J.!) on the new version of Debian with all
packages updated. Can we have unicoi.kennesaw.edu added to NeXpose for scanning?


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012



On Oct 4, 2016, at 4:41 PM, Steven Dean <stevendean@kennesaw.edu> wrote:



Bill, thank you for following up. So far we haven't heard from anyone who can help us reconfigure
apache and have thus far been unable to get it working. I sent our apache server logs to Matt as
requested. Has any information about our configuration come from them?


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012



On Oct 4, 2016, at 4:37 PM, William C. Moore <wcmoore@kennesaw.edu> wrote:



Steven,



I and my team are taking the ISO lead on working with your team to help resolve any security issues with
the server elections.kennesaw.edu. This is the last communication that I was copied on so can you




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please provide me an update on where we stand on the server, PHP and Apache configurations? Where
can we help and provide the greatest level of security support?




Thanks,




Bill




William C. Moore II CISSP, MEd, MLIS
Associate Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg. Rm 031
1075 Canton Pl
Kennesaw, GA 30144
Tel: 470-578-6620
Fax: 678-915-4940
wcmoore@kennesaw .ed u

From: Steven Dean (mailto:stevendean@kennesaw.edu]
Sent: Thursday, September 15, 2016 12:37
To: Matthew Sims <msims24@kennesaw.edu>
Cc: Michael Barnes <mbarne28@kennesaw.edu>; William C. Moore <wcmoore@kennesaw.edu>; Tyler
Hayden <thayden2@kennesaw.edu>; Jason Figueroa <jfigue12@kennesaw.edu>; Chris Gaddis
<jgaddis6@kennesaw.edu>; Merle S. King <mking@kennesaw.edu>
Subject: Re: (IMPORTANT] concerning the security of elections.kennesaw.edu




Matt, we've the backup server updated to Debian Jessie, but with the changes to apache between
versions, we've discovered we're a little out of our depth in trying to reconfigure apache to work with
our website. Can you put us in touch with someone who may be able to help us get the website back up




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on the backup server? We're probably up to date with security on the backup server, but it's all for
naught if the website doesn't work;-)



Thank you!


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012



On Sep 12, 2016, at 11:55 AM, Matthew Sims <msims24@kennesaw.edu> wrote:



Steven,



I'm glad that the backup server is up and running. Thank you for the updates, and I hope your roll to
production goes smoothly after testing.




From: "Steven Dean" <stevendean@kennesaw.edu>
To: "Matthew Sims" <msims24@kennesaw.edu>
Cc: "Michael Barnes" <mbarne28@kennesaw.edu>, "William C. Moore" <wcmoore@kennesaw.edu>,
"Tyler Hayden" <thayden2@kennesaw.edu>, "Jason Figueroa" <jfigue12@kennesaw.edu>, "Chris
Gaddis" <jgaddis6@kennesaw.edu>, "Merle S. King" <mking@kennesaw.edu>
Sent: Friday, September 9, 2016 3:54:40 PM
Subject: Re: [IMPORTANT] concerning the security of elections.kennesaw.edu



Good afternoon, Matt. We have our backup server up and running and just need to do a little testing
before performing the updates. Once we confirm the distro update works on the backup server, we will
roll the updates onto the production server and have you begin scans. This will give the most accurate
scan results and tells us what we actually need help with security-wise. Thanks for your patience and the
offer of help. I'll send you another update early next week. Have a great weekend.


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road




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Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012



On Sep 7, 2016, at 5:03 PM, Matthew Sims <msims24@kennesaw.edu> wrote:

Steven,



Thank you for the updates and transparency. We look forward to hearing back from you.



Have a good afternoon.




From: "Steven Dean" <stevendean@kennesaw.edu>
To: "Matthew Sims" <msims24@kennesaw.edu>
Cc: "Michael Barnes" <mbarne28@kennesaw.edu>, "William C. Moore" <wcmoore@kennesaw.edu>,
"Tyler Hayden" <thayden2@kennesaw.edu>, "Jason Figueroa" <jfigue12@kennesaw.edu>, "Chris
Gaddis" <jqaddis6@kennesaw.edu>
Sent: Wednesday, September 7, 2016 4:43:28 PM
Subject: Re: [IMPORTANT] concerning the security of elections.kennesaw.edu



Matt, we're still working on getting a fully working clone on another server to perform the updates on.
Once we have that working we'll roll the updates onto the production server. Then you can begin a new
round of testing through NeXpose. Unfortunately, getting the updates completed with proper backups and
testing has been slow going because of the election build, but that is all but passed and we are now
working to get the server updated.



We will send you an update tomorrow on our progress and we should have a day for you to begin the
new round of testing.


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012



On Sep 7, 2016, at 3:29 PM, Matthew Sims <msims24@kennesaw.edu> wrote:

Hi Michael,




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I wanted to touch base with you and see what our game plan will be moving forward. Are we still in the
stages of upgrading the OS and PHP version or has that already happened? In terms of scanning at the
application level, I am trying to iron out a timeline and determine when this can be done using more
aggressive scanning similar to Nexpose, but if you are going to be upgrading the OS and PHP version,
then I may need to wait and coordinate a later time.



Thanks for your time and please let me know what you think.




From: "Michael Barnes" <mbarne28@kennesaw.edu>
To: "William C. Moore" <wcmoore@kennesaw.edu>
Cc: "Steven Dean" <stevendean@kennesaw.edu>, "Tyler Hayden" <thayden2@kennesaw.edu>, "Jason
Figueroa" <jfigue12@kennesaw.edu>, "Matthew Sims" <msims24@kennesaw.edu>, "Chris Gaddis"
<jqaddis6@kennesaw.edu>
Sent: Friday, September 2, 2016 5:59:17 PM
Subject: Re: [IMPORTANT] concerning the security of elections.kennesaw.edu



Bill,



Thank you. I will be back in touch on Tuesday to discuss when we would like for these scans to begin.



Sincerely,

Michael Barnes

Director

Center for Election Systems

3205 Campus Loop Road

Kennesaw State University

Kennesaw, GA 30144

ph: 4 70-578-6900


On Sep 2, 2016, at 5:55 PM, William C. Moore <wcmoore@kennesaw.edu> wrote:

Michael,

The directive to begin more agressive scanning came from Stephen Gay to help ensure that the server
was not posing a risk to the Center of Elections missions and objectives.

The probability of damaging your website should be low. We do not wish to take any action that would
actually damage any of your data or website(s). Typically a large portion of emails are sent by the




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scanning engines auto completing website forms tha are not properly protected. These are usually more
of an annoyance than any real damage.

The server does however have a number of critical and severe vulnerabilities some of which are reported
to be exploitable. The majority of these are centered around PHP but others are OS related. These may
be problematic but we would much rather test under controlled environments instead of the system
becoming exploited during a time when your services are under high scrutiny and in great demand by
polling stations around the state.

Since we would control the assessment tools the Information Security Office would be able to stop any
assessments we (the ISO) are performing as soon as you noticed a degradation in services via a phone
call to our team. Of course, I suspect that you have current backups of your website and data in case any
other persons are performing malicious attacks against the Center of Elections. We do not of course
anticipate you needing these backups for our assessments but you should still keep them and the
restoration process up-to-date as a best practice. The Information Security Office does not want to
impede the Center's objectives at all. We want to help mitigate any risks that the Center is facing such as
the risks that Mr. Lamb from the Bastille Threat Research Team discovered and reported. There are a
number of documents found from the Center of Elections website that have been cached by various
search engines. These are not threats that we can now prevent; however, we can offer suggestions on
how to request those cached documents be removed from the various search engine providers.

I hope that this addresses some of your concerns and since this has to be a two way partnership in our
assessment we encourage you to ask questions along the way.




Bill




William C. Moore II CISSP, MEd, MLIS
Associate Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg. Rm 031
1075 Canton Pl
Kennesaw, GA 30144
Tel: 470-578-6620
Fax: 678-915-4940
wcmoore@kennesaw .ed u

----- Original Message -----
From: "Michael Barnes" <mbarne28@kennesaw.edu>
To: "William C. Moore" <wcmoore@kennesaw.edu>, "Steven Dean" <stevendean@kennesaw.edu>
Cc: "Tyler Hayden" <thayden2@kennesaw.edu>, "Jason Figueroa" <jfigue12@kennesaw.edu>, "Matthew
Sims" <msims24@kennesaw.edu>, "Chris Gaddis" <jgaddis6@kennesaw.edu>
Sent: Wednesday, August 31, 2016 3:15:46 PM
Subject: RE: [IMPORTANT] concerning the security of elections.kennesaw.edu




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Bill,




Before we give go ahead on potential scan periods I have a couple of follow
up questions:




1.    The directive to begin more aggressive scanning has come from who
and for what reason?

2.   How high a probability is there of issues being created that could
damage the functionality of our website?




We are currently in the busiest time of the year for use of our website by
our county clients. The last thing we can afford to have happen is for our
website to become unavailable or usable. If the action of conducting these
scans were to disable our website, what remedy would be available so the
services we provide to the election community in Georgia would not be
damaged?




Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144
ph: 4 70-KSU-6900
fax: 470-KSU-9012

From: William C. Moore [mailto:wcmoore@kennesaw.edu]
Sent: Wednesday, August 31, 2016 2:47 PM
To: 'Steven Dean' <stevendean@kennesaw.edu>
Cc: 'Tyler Hayden' <thayden2@kennesaw.edu>; 'Michael Barnes'
<mbarne28@kennesaw.edu>; 'Jason Figueroa' <jfigue12@kennesaw.edu>; 'Matthew
Sims' <msims24@kennesaw.edu>; Chris Gaddis <jgaddis6@kennesaw.edu>
Subject: RE: [IMPORTANT] concerning the security of elections.kennesaw.edu




Steven,




The recent scans have been "Safe Scans w/o Spidering". I have been asked
though to begin more aggressive scanning. Since these types of scans have
the potential of creating issues such as completing and submitting forms




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(creating email messages) interfering with services and/or stopping services
which we try to avoid. Since these assessments have the potential of
creating issues we need to schedule these types of assessments. Please
understand that we do not perform any testing that cannot already be
performed by any user on the campus network. We also do not purposefully
perform any DOS or DDOS attempts since the network perimeter firewalls
provide some level of protection against DDOS attempts.




When is the earliest we can schedule more aggressive scanning of the server?




Bill




William C. Moore II CISSP, MEd, MLIS
Associate Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg. Rm 031
1075 Canton Pl
Kennesaw, GA 30144
Tel: 470-578-6620
Fax: 678-915-4940
wcmoore@kennesaw.edu<mailto:wcmoore@kennesaw.edu>

From: Steven Dean (mailto:stevendean@kennesaw.edu]
Sent: Wednesday, August 31, 2016 10:38
To: William C. Moore <wcmoore@kennesaw.edu<mailto:wcmoore@kennesaw.edu> >
Cc: Tyler Hayden <thayden2@kennesaw.edu<mailto:thayden2@kennesaw.edu> >;
Michael Barnes <mbarne28@kennesaw.edu<mailto:mbarne28@kennesaw.edu> >;
Jason Figueroa <jfigue12@kennesaw.edu<mailto:jfique12@kennesaw.edu> >;
Matthew Sims <msims24@kennesaw.edu<mailto:msims24@kennesaw.edu> >
Subject: Re: (IMPORTANT] concerning the security of elections.kennesaw.edu




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Thanks Bill. I see the list appears to be the same as from the first scan.
Jason and I are working on a plan to upgrade to the latest version of Debian
which will also allow us to update to the latest version of PHP, where it
seems most of the vulnerabilities are. Let me know if there is anything in
the scan we should be concerned about that the Debian update may not fix.
Thanks for all the help, we really appreciate your time. It has been
immensely beneficial.


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 4 70-578-6900 F: 4 70-578-9012




On Aug 31, 2016, at 10:34 AM, William C. Moore <wcmoore@kennesaw.edu
<mailto:wcmoore@kennesaw.edu> > wrote:




Steven




The authenticated scan completed last night and I will share the results as
soon as my current meeting completes.




William C. Moore II CISSP, MEd,MLIS
Associate Executive Director

Information Security Office

University Information Technology Services (UITS)
Kennesaw State University

Technology Services Bldg. Rm 031

1075 Canton Pl

Kennesaw, GA 30144




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Tel: 470-578-6620

Fax: 678-915-4940

wcmoore@kennesaw.edu<mailto:wcmoore@kennesaw.edu>


On Aug 31, 2016, at 10:00, Steven Dean <stevendean@kennesaw.edu
<mailto:stevendean@kennesaw.edu> > wrote:

Sounds good to us. Thanks Tyler.




What is the status of the authenticated scan? I couldn't find where it had
been run and when I went to run a scan, the available options made it
difficult to choose while not really understanding them.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




On Wed, Aug 31, 2016 at 9:56 AM -0400, "Tyler Hayden" <thayden2@kennesaw.edu
<mailto:thayden2@kennesaw.edu> > wrote:




Hi Steven,

In addition to the NeXpose scan, we'd also like to scan with IBM AppScan.
AppScan will focus more specifically on the Drupal application rather than
an overarching system scan with NeXpose. Matt Sims will reach out to you to
configure and schedule the AppScan assessment.


Regards,

Tyler Hayden
IT Security Professional Ill
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 026
1075 Canton Pl, MB #3503




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Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9051
thayden2@kennesaw.edu<mailto:thayden2@kennesaw.edu>

----- Original Message -----
From: "William C. Moore" <wcmoore@kennesaw.edu<mailto:wcmoore@kennesaw.edu>



To: "Steven Dean" <sdean29@kennesaw.edu<mailto:sdean29@kennesaw.edu> >
Cc: "Tyler Hayden" <thayden2@kennesaw.edu<mailto:thayden2@kennesaw.edu> >,
"Michael Barnes" <mbarne28@kennesaw.edu<mailto:mbarne28@kennesaw.edu> >,
"Jason Figueroa" <jfigue12@kennesaw.edu<mailto:jfigue12@kennesaw.edu> >,
"Matthew Sims" <msims24@kennesaw.edu<mailto:msims24@kennesaw.edu> >
Sent: Tuesday, August 30, 2016 2:03:57 PM
Subject: RE: [IMPORTANT] concerning the security of elections.kennesaw.edu
<http://elections.kennesaw.edu/>

Yes, this will be a local Linux account. It is preferable that the account
be provided sudo privileges only. I strongly recommend that you limit the
account to only be allowed to log in locally for your testing purposes and
from the IP addresses 130.218.100.80 and 10.97.52.25 (the two current
Nexpose scanning engines).




Bill




William C. Moore II CISSP, MEd, MLIS
Associate Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg. Rm 031
1075 Canton Pl
Kennesaw, GA 30144
Tel: 470-578-6620
Fax: 678-915-4940
wcmoore@kennesaw.edu<mailto:wcmoore@kennesaw.edu>




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From: Steven Dean [mailto:sdean29@kennesaw.edu1
Sent: Tuesday, August 30, 2016 12:21
To: William C. Moore <wcmoore@kennesaw.edu<mailto:wcmoore@kennesaw.edu> >
Cc: Tyler Hayden <thayden2@kennesaw.edu<mailto:thayden2@kennesaw.edu> >;
Michael Barnes
<mbarne28@kennesaw.edu<mailto:mbarne28@kennesaw.edu> >; Jason Figueroa
<jfigue12@kennesaw.edu<mailto:jfigue12@kennesaw.edu> >; Matthew
Sims <msims24@kennesaw.edu<mailto:msims24@kennesaw.edu> >
Subject: Re: [IMPORTANT] concerning the security of elections.kennesaw.edu
<http://elections. kennesaw. edu/>




Just to clarify, are the required credentials a linux account for the server
itself? Also, could you define "privileged account"? Does it need to be an
admin or just have sudo ability?


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




On Aug 30, 2016, at 11 :59 AM, William C. Moore <wcmoore@kennesaw.edu
<mailto:wcmoore@kennesaw.edu>
<mailto:wcmoore@kennesaw.edu> > wrote:




Steven,




Please log back in to Nexpose and use the following steps to add an account
for patching and vulnerability verification.




Select Home then scroll though Sites until you find the site
"Elections-Server".

Select the Edit icon (pencil) for the Elections-Server site.

Select the Authentication tab at the top of the page.

Click the "Elections-Server-Account" link under Scan Credentials.

You should now be in the Edit Credential page. From this page select




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"Account" on the left hand side of the page.

This page already has the Service as Secure Shell (SSH) selected. You
should enter the User Name and enter the appropriate password in both the
Password field and Confirm Password field.

After you have entered and confirmed the account credentials please click
the "Test Credentials" link beside the question mark near the bottom of the
page to verify the account and credentials work.

After successfully testing the credentials click the Save button at the
bottom of the page then click the Save button at the top right hand side of
the page.




Please let us know when you have added, tested and saved the authentication
information and we will test the site again for vulnerabilities.




Bill




William C. Moore II CISSP, MEd, MLIS
Associate Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg. Rm 031
1075 Canton Pl
Kennesaw, GA 30144
Tel: 470-578-6620
Fax: 678-915-4940
<mailto:wcmoore@kennesaw.edu> wcmoore@kennesaw.edu
<mailto:wcmoore@kennesaw.edu>

From: Steven Dean [mailto:sdean29@kennesaw.edu]
Sent: Monday, August 29, 2016 16:46
To: Tyler Hayden <thayden2@kennesaw.edu<mailto:thayden2@kennesaw.edu>
<mailto:thayden2@kennesaw.edu> >




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Cc: Michael Barnes <mbarne28@kennesaw.edu<mailto:mbarne28@kennesaw.edu>
<mailto:mbarne28@kennesaw.edu> >;
Jason Figueroa <jfigue12@kennesaw.edu<mailto:jfigue12@kennesaw.edu>
<mailto:jfigue12@kennesaw.edu> >;
Matthew Sims <msims24@kennesaw.edu<mailto:msims24@kennesaw.edu>
<mailto:msims24@kennesaw.edu> >; William
C. Moore <wmoore36@ken nesaw. edu<mailto:wmoore36@ken nesaw. ed u>
<mailto:wmoore36@kennesaw.edu> >
Subject: Re: [IMPORTANT] concerning the security of elections.kennesaw.edu
<http://elections. ken nesaw. ed u/>
<http://elections.kennesaw.edu<http://elections.kennesaw.edu%3e> >;




Thanks Tyler. I've logged into NeXpose so we're ready to have our server
added. Server info:




Hostname: <http://elections.kennesaw.edu/
<http://elections.kennesaw.edu/%3E> >; elections.kennesaw.edu
<http://elections.kennesaw.edu/>

IP: 130.218.251.50

OS: Debian Wheezy v7.11

Hosted Application: Drupal 7.5


Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




On Aug 29, 2016, at 4:22 PM, Tyler Hayden< <mailto:thayden2@kennesaw.edu>
thayden2@kennesaw.edu<mailto:thayden2@kennesaw.edu> > wrote:




Hi Steven,

Thanks for reaching out. We can definitely assist in assessing the security
and of your site. For starters, we can arrange for a security and
vulnerability assessment scan on your systems via NeXpose to get some better
insight.

We can scan both authenticated or unauthenticated. Authenticated scans will




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produce more accurate results, but also require credentials for a privileged
account. We can configure it to allow you to log in to NeXpose to provide
these credentials, if you do not want to provide them to us directly. We'll
just need information on the systems you'd want assessed. (Host names, OS,
IP address, hosted applications, etc.)

While I am not all too familiar with Drupal, I do know that there are
several modules available for restricting content in Drupal, such as the
Secure Site module which is available here:

<https://www.drupal.org/project/securesite
<https://www.drupal.org/project/securesite%3E> >;
https://www.drupal.org/project/securesite

This is just one of the available modules, so if this does not suit your
needs there are others available. I would also review Drupal's documentation
on secure configuration available here:

<https://www.drupal.org/security/secure-configuration
<https://www.drupal.org/security/secure-configuration%3E> >;
https://www.drupal.org/security/secure-configuration

to ensure that your site is following their best practices.

Without doing some research of my own, I am not certain on how to go about
restricting file access using the htaccess files. Typically you would
include a directive to only allow authenticated users to access the file,
however, I am not certain of how Drupal handles it's authentication or if it
shares it with the Apache web server. This is something we can look into and
let you know what we find.


Regards,

Tyler Hayden
IT Security Professional Ill
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 026
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9051
<mailto:thayden2@kennesaw.edu> thayden2@kennesaw.edu
<mailto:thayden2@kennesaw.edu>

----- Original Message -----
From: "Steven Dean" < <mailto:sdean29@kennesaw.edu> sdean29@kennesaw.edu
<mailto:sdean29@kennesaw.edu> >
To: "Tyler Ray Hayden" < <mailto:thayden2@kennesaw.edu>
thayden2@kennesaw.edu<mailto:thayden2@kennesaw.edu> >




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Cc: "Michael Barnes" < <mailto:mbarne28@kennesaw.edu>
mbarne28@kennesaw.edu<mailto:mbarne28@kennesaw.edu> >, "Merle S. King"<
<mailto:mkinq@kennesaw.edu>
mking@kennesaw.edu<mailto:mking@kennesaw.edu> >, "Jason Figueroa"<
<mailto:jfigue12@kennesaw.edu>
jfigue12@kennesaw.edu<mailto:jfigue12@kennesaw.edu> >
Sent: Monday, August 29, 2016 2:39:41 PM
Subject: Re: [IMPORTANT] concerning the security of
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
elections.kennesaw.edu<http://elections.kennesaw.edu/>

Good afternoon, Tyler. I wanted to reach out for some assistance with our
website as suggested in Stephen's email below.

For some background information, Jason and I have taken responsibility for
the website here at Center for Election Systems. This site was build on
Drupal before either of us were employed here and we have spent the last
several years simply maintaining it in the order it had been working
previously. Obviously this has become untenable in the current atmosphere,
and Jason and I must learn more to get the security of the website under
control. In this regard we appreciate any help you can offer on security
best practices and specific security implementations that will allow us to
secure the site.

This morning we implemented a patch to disallow file tree access by
anonymous users and we updated our Drupal installation to the current
version of Drupal 7. Unfortunately, until today, it seems the file tree had
been available to anonymous users. We have denied access by changing the
"AllowOverride None" in the apache virtualhost configuration for /var/www/
to "AllowOverride All" so that the .htaccess file parameters will disallow
anonymous user access outside Drupal.

While we have denied access to the file tree, we are currently we are having
trouble patching the ability for anonymous users to access individual files
directly without also disallowing Drupal user access to those files. We have
tried adding a <files> tag section tot he apache2.conf to deny access to pdf
files, but this breaks Drupal user access as well. I'm sure there is some
way to do this in the .htaccess file, but we have so far been unable to find
the method.

Please let Jason and I know if you have any insights that will help
accomplish this goal, as well as get a local firewall set up to allow us to
monitor access through logs.

Thank you,

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




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On Aug 29, 2016, at 11 :31 AM, Stephen C. Gay< <mailto:sgay@kennesaw.edu>
sgay@kennesaw.edu<mailto:sgay@kennesaw.edu> > wrote:

Michael,

Thanks for reaching out and we stand on ready to help. The source email
domain, <http://bastille.net/<http://basti11e.net/%3E> >; bastille.net
<http://bastille.net/> < <http://bastille.net/<http://bastille.net/%3E> >;
http://bastille.net/ <http://bastille.net/%3E> >;, has a valid domain
registration through GoDaddy and
located in Atlanta:

Registry Registrant ID:
Registrant Name: Michael Engle
Registrant Organization: Bastille Networks
Registrant Street: 1000 Marietta St NW
Registrant Street: Suite 112
Registrant City: Atlanta
Registrant State/Province: GA
Registrant Postal Code: 30318
Registrant Country: US
Registrant Phone: +1.7328200096
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: <mailto:domains@bastillenetworks.com>
domains@bastillenetworks.com<mailto:domains@bastillenetworks.com> <
<mailto:domains@bastillenetworks.com>
mailto:domains@bastillenetworks.com>

We don't put internal domain blocks in place unless we detect a spike in
phishing or vulnerability scanning from that domain which, at this point,
isn't the case for <http://bastille.net/<http://bastille.net/%3E> >;
bastille.net <http://bastille.net/> <
<http://bastille.net/ <http://bastille.net/%3E> >; http://bastille.net/
<http://bastille.net/%3E> >;. It's very likely that the
tester utilized Google searches on the <http://elections.kennesaw.edu/
<http://elections.kennesaw.edu/%3E> >;
elections. ken nesaw .ed u<http://elections. kennesaw. ed u/> <
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >; domain
which included file extensions, along
with HTML Headers which include the service versions.

Here the the Google search string which reveals the document he references
".pdf site:elections.kennesaw.edu"
Reporting precincts with cards -




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<https://elections.kennesaw.edu/sites/default/files/ExpressPoll%20L
<https://elections.kennesaw.edu/sites/default/files/ExpressPoll%20L&A/Reporting%20Precincts%20with%
20Cards.pdf%3E>
&A/Reporting%20Precincts%20with%20Cards.pdf>;
https://elections.kennesaw.edu/sites/default/files/ExpressPoll%20L
<https://elections.kennesaw.edu/sites/default/files/ExpressPoll%20L&A/Reporting%20Precincts%20with%
20Cards.pdf%3C>
&A/Reporting%20Precincts%20with%20Cards.pdf<;
<https://elections.kennesaw.edu/sites/default/files/ExpressPoll%20L
<https://elections.kennesaw.edu/sites/default/files/ExpressPoll%20L&A/Reporting%20Precincts%20with%
20Cards.pdf%3E>
&A/Reporting%20Precincts%20with%20Cards.pdf>;
https://elections.kennesaw.edu/sites/default/files/ExpressPoll%20L
<https://elections.kennesaw.edu/sites/default/files/ExpressPoll%20L&A/Reporting%20Precincts%20with%
20Cards.pdf%3E>
&A/Reporting%20Precincts%20with%20Cards.pdf>;

And here is the header response for
<https://elections.kennesaw.edu/?q=user/login
<https://elections.kennesaw.edu/?g=user/login%3E> >;
https://elections.kennesaw.edu/?g=user/login
<https://elections.kennesaw.edu/?q=user/login%3C> <;
<https://elections.kennesaw.edu/?g=user/login
<https://elections.kennesaw.edu/?q=user/login%3E> >;
https://elections.kennesaw.edu/?q=user/login
<https://elections.kennesaw.edu/?q=user/loqin%3E> >; that gives away the use
of
Drupal
<https ://elections. ken nesaw. edu/misc/dru pal. js?ococft
<https://elections.kennesaw.edu/misc/drupal.js?ococft%3E> >;
https://elections.kennesaw.edu/misc/drupal.js?ococft <
<https://elections.kennesaw.edu/misc/drupal.js?ococft
<https://elections.kennesaw.edu/misc/drupal.js?ococft%3E> >;
https://elections.kennesaw.edu/misc/drupal.js?ococft
<https://elections.kennesaw.edu/misc/drupal.js?ococft%3E> >;

It is reasonable to assume that these types of unsolicited requests are
going to increase leading up to the general election in November and we
stand on ready to offer application security analysis and recommendations.
In turn, I would highly recommend the use of an server based firewall/IDS to
track this activity (specifically brute force attempts on the login page)
and ensure that all access are logged.

I am cc'ing 2 members of my team, Mr. Tyler Haden and Mr. Bill Moore, to
advise on operating system/application vulnerabilities and provide advice on
mitigating strategies. Tyler will act as your point of contact and if I can
assist in any way please let me know.

In service,

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director




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1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9050
<mailto:sqay@kennesaw.edu> sgay@kennesaw.edu<mailto:sgay@kennesaw.edu> <
<mailto:sqay@kennesaw.edu>
mailto:sgay@kennesaw.edu>

----- Original Message -----
From: "Michael Barnes" < <mailto:mbarne28@kennesaw.edu>
mbarne28@kennesaw.edu<mailto:mbarne28@kennesaw.edu> <
<mailto:mbarne28@kennesaw.edu>
mailto:mbarne28@kennesaw.edu>>
To: "Stephen C Gay" < <mailto:sgay@kennesaw.edu> sqay@kennesaw.edu
<mailto:sgay@kennesaw.edu> <
<mailto:sgay@kennesaw.edu> mailto:sgay@kennesaw.edu>>
Cc: "Merle King" < <mailto:mkinq@kennesaw.edu> mking@kennesaw.edu
<mailto:mkinq@kennesaw.edu> <
<mailto:mking@kennesaw.edu> mailto:mking@kennesaw.edu>>, "Steven Dean"<
<mailto:sdean29@kennesaw.edu> sdean29@kennesaw.edu
<mailto:sdean29@kennesaw.edu> <
<mailto:sdean29@kennesaw.edu> mailto:sdean29@kennesaw.edu>>, "Jason
Figueroa" < <mailto:jfique12@kennesaw.edu> jfique12@kennesaw.edu
<mailto:jfigue12@kennesaw.edu> <
<mailto:jfigue12@kennesaw.edu> mailto:jfigue12@kennesaw.edu»
Sent: Monday, August 29, 2016 9:24:30 AM
Subject: FW: [IMPORTANT] concerning the security of
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
elections.kennesaw.edu<http://elections.kennesaw.edu/> <
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;

Stephen,




We received an unsolicited email over the weekend from a Logan Lamb. The
content of the email has engaged our staff and we are looking into these
claims regarding the security of our website. Would you please add this
individual and the organization he claims to be affiliated with to the list
of IP addresses most recently black listed? Also, our IT staff, Steven Dean
and Jason Figueroa will be reaching out to you and your staff to see what
assistance your group can provide us in pinging our site to verify that we
are addressing security issues within our site.




Thank you in advance,




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Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144
ph: 470-KSU-6900
fax: 470-KSU-9012

From: Merle S. King [ <mailto:mking@kennesaw.edu> mailto:mking@kennesaw.edu]
Sent: Sunday, August 28, 2016 3:56 PM
To: Steven Dean < <mailto:sdean29@kennesaw.edu> sdean29@kennesaw.edu
<mailto:sdean29@kennesaw.edu> >; Jason
Figueroa
< <mailto:jfigue12@kennesaw.edu> jfigue12@kennesaw.edu
<mailto:jfigue12@kennesaw.edu> >
Cc: Michael Barnes < <mailto:mbarne28@kennesaw.edu> mbarne28@kennesaw.edu
<mailto:mbarne28@kennesaw.edu> >
Subject: Fwd: [IMPORTANT] concerning the security of
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
elections. ken nesaw. ed u <http://elections. ken nesaw. ed u/>




Steven and Jason - Please review this email and advise. Sooner is better
than later.




Thanks,




MSK




From: "Logan Lamb"< <mailto:logan@bastille.net> logan@bastille.net
<mailto:loqan@bastille.net> <
<mailto: logan@bastille.net> mailto:logan@bastille. net> <
<mailto:logan@bastille.net> mailto:logan@bastille.net<
<mailto:logan@bastille.net> mailto:loqan@bastille.net» >
To: "Merle King" < <mailto:mkinq@kennesaw.edu> mking@kennesaw.edu
<mailto:mking@kennesaw.edu> <
<mailto:mkinq@kennesaw.edu> mailto:mkinq@kennesaw.edu> <
<mailto:mkinq@kennesaw.edu> mailto:mking@kennesaw.edu<
<mailto:mkinq@kennesaw.edu> mailto:mking@kennesaw.edu>> >




                                                                               LAMB DECLARATION
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Cc: <mailto:research@bastille.net> research@bastille.net
<mailto:research@bastille.net> <
<mailto:research@bastille.net> mailto:research@bastille.net> <
<mailto:research@bastille.net> mailto:research@bastille.net<
<mailto:research@bastille.net> mailto:research@bastille.net>>
Sent: Sunday, August 28, 2016 3:47:50 PM
Subject: [IMPORTANT] concerning the security of
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
elections. kennesaw .ed u<http://elections. kennesaw. ed u/> <
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;




Hello Merle,




My name is Logan Lamb, and I'm a cybersecurity researcher who is a member of

Bastille Threat Research Team. We work to secure devices against new and

existing wireless threats: <https://www.bastille.net/
<https://www.bastille.net/%3E> >;
https://www.bastille.net/ < <https://www.bastille.net/
<https://www.bastille.net/%3E> >;
https://www.bastille.net/<https://www.bastille.net/%3E> >;. This past
Tuesday I
went

to Fulton County Government Center to speak with Rick Barron about securing

voting machines against wireless threats. I was then directed to contact you

and the center. I'd like to collaborate with you on securing our state's

election systems infrastructure against wireless attacks.




While attempting to get more background information on the center prior to

contacting you, I discovered serious vulnerabilities affecting

<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
elections.kennesaw.edu<http://elections.kennesaw.edu/> <
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >; <
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu<http://elections.kennesaw.edu%3c> <;
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E%3E> »; .




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The following google searches reveal documents that shouldn't be indexed and

appear to be critical to the elections process. In addition, the Drupal
install

needs to be immediately upgraded from the current version, 7.31:




"site:elections.kennesaw.edu < <http://elections.kennesaw.edu/
<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu<http://elections.kennesaw.edu/> <
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E%3E> >>;
inurl:pdf"

I generally use this type of search to find documents on websites that
lack

search functionality. This search revealed a completely open Drupal install.

Assume any document that requires authorization has already been downloaded

without authorization.




"site:elections.kennesaw.edu < <http://elections.kennesaw.edu/
<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu<http://elections.kennesaw.edu/> <
<http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E> >;
http://elections.kennesaw.edu/<http://elections.kennesaw.edu/%3E%3E> >>;
L&A"

The second search result appears to be for disseminating critical voting

system software. This is especially concerning because, as the following
article

states, there's a strong probability that your site is already compromised.

<https://www.drupal.org/project/drupalgeddon
<https://www.drupal.org/project/drupalgeddon%3E> >;
https://www.drupal.org/project/drupalgeddon<
<https://www.drupal.org/project/drupalgeddon
<https://www.drupal.org/project/drupalgeddon%3E> >;
https://www.drupal.org/project/drupalqeddon
<https://www.drupal.org/project/drupalgeddon%3E> >;




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<https://www.drupal.org/SA-CORE-2014-005
<https://www.drupal.org/SA-CORE-2014-005%3E> >;
https://www.drupal.org/SA-CORE-2014-005<
<https ://www.drupal.org/SA-CORE-2014-005
<https://www.drupal.org/SA-CORE-2014-005%3E> >;
https://www.drupal.org/SA-CORE-2014-005
<https://www.drupal.org/SA-CORE-2014-005%3E> >;




If you have any questions or concerns please contact me. I'm able to come to
the

center this Monday for a more thorough discussion.




Take care,

Logan




Merle S. King




Executive Director

Center for Election Systems

Kennesaw State University

3205 Campus Loop Road

Kennesaw, Georgia 30144




Voice: 470-578-6900
Fax: 470-578-9012




                                                                               LAMB DECLARATION
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Matt Sims
Information Security Specialist

Identity & Access Management
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 026
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
msims24@kennesaw.edu




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msims24@kennesaw.edu




                                                                           LAMB DECLARATION
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         DECLARATION OF CARRI GIBBS LUSE
      Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 257 of 369




                IN THE UNITED STATES DISTRICT COURT FOR
                   THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                                                 )
DONNA CURLING, et al.                            )
                                                 )
Plaintiff,                                       )
                                                 )   CIVIL ACTION FILE NO.: 1:17-cv-
vs.                                              )   2989-AT
                                                 )
BRIAN P. KEMP, et al.                            )
                                                 )
Defendant.                                       )
                                                 )
                                                 )

                     DECLARATION OF CARRI GIBBS LUSE


       CARRI GIBBS LUSE hereby declares as follows:

             1. I am have been a Georgia voter since at least 1992 and am currently

                registered to vote at 175 Sampson Street NE, Atlanta, Georgia 30312,

                in Fulton County. I have been registered to vote at this address since

                November 2013.

             2. On May 1, 2018 I voted in early voting at the Fulton County Elections

                Office at 140 Pryor Street, Atlanta in the May 22, 2018 primary.

             3. I made a special trip to the central Elections Office to vote because I

                felt more confident of my early vote being counted at the central

                office than at a remote voting location. I took my mother to vote there

                at the same time.




                                                                          LUSE DECLARATION
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    4. I requested a Democratic Party ballot by completing the voter

       application certificate, specifying the Democratic Party ballot. I voted

       a Democratic Party electronic ballot on the touchscreen, and later

       proudly told friends about the candidates I selected on my ballot. I am

       very confident that I voted a Democratic Party ballot on the

       touchscreen machine that day.

    5. On July 2, 2018 I voted in the July 24, 2018 runoff during early

       voting, this time choosing to vote in the Ponce de Leon Library early

       voting location.

    6. When I checked in to vote that day and asked for a Democratic ballot,

       the pollworkers claimed that I had voted a Republican Party ballot in

       May, and could not vote a Democratic Party ballot in the runoff. I was

       in disbelief and continued to challenge the pollworkers, as I was

       confident that I voted a Democratic Party ballot in May.

    7. I repeatedly asked what could be done to correct this error and vote a

       Democratic Party ballot, and the poll workers said that nothing could

       be done, and permitted me only to vote a Republican ballot or a non-

       partisan ballot, or not vote at all.

    8. The pollworkers did not offer to let me vote a Democratic Party

       provisional ballot, despite my repeated request for a solution so that I



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       could vote for Democrats. I don’t understand why I was not offered a

       provisional ballot which could have been counted after reviewing my

       May 1, 2018 voter application documenting the fact that I requested a

       Democratic ballot.

    9. I am concerned that I was disenfranchised in this way, and concerned

       about the integrity of the electronic pollbooks that contain this error

       that caused my disenfranchisement. I am concerned that I might be

       further disenfranchised in the November election by other types of

       electronic election records errors.

    10. I have read a number of recent reports of voter disenfranchisement,

       electronic pollbook errors, and voting machine errors, and I now have

       grave concerns about the integrity of the upcoming November

       election.

    11. Because of my concerns about the integrity of the electronic election

       records in Georgia, I am researching the procedure and pros and cons

       of voting a paper mail-in ballot in November. It is my preference to

       have the flexibility of voting on Election Day in my home precinct, as

       I may want to wait until Election Day to obtain all last minute

       information about all campaigns, and not be required to vote several

       days before Election Day to assure that my mail ballot arrives in time



                                                                  LUSE DECLARATION
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          DECLARATION OF MARILYN MARKS
      Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 262 of 369




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


   DONNA CURLING, ET AL.,
   Plaintiffs
                                                    Civil Action No. 1:17-CV-2989-AT
   , v.

   BRIAN KEMP, ET AL.,
   Defendants.




                       DECLARATION OF MARILYN MARKS

          MARILYN MARKS hereby declares as follows:


          1.   I am Executive Director of Coalition for Good Government, a Plaintiff in

this action.

          2.   Attached as Exhibit 1 are true and correct copies of documents received by

Coalition from Fulton County Board of Elections on June 7, 2017 at a hearing in the

matter of Curling v Kemp (2017cv290630)

          3.   Attached as Exhibit 2 are true and correct copies of a sample of documents

showing differences between the number of voters reported as voting at the polling place

on Election Day and the number of ballots cast as reported on the polling place DRE

machine results tapes. The documents were obtained from Fulton County Board of

Elections as part of the agreed on DRE inventory information submission in this action.

          4.   Attached as Exhibit 3 are true and correct copies of documents appearing

to show greater than 100% voter turnout. The documents are screenshots taken from




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official reports from the Secretary of State’s election results pages on website:

http://sos.ga.gov/index.php/Elections/current_and_past_elections_results )

       5.     This is a link to a news report describing how electronic pollbook

eliminated some voters’ records with recent 4 digit zipcode suffix additions, forcing

them to vote by provisional ballot:

https://www.11alive.com/article/news/politics/voters-in-certain-metro-atlanta-

counties-say-they-were-given-provisional-ballots-because-of-this/85-577127862.

       6.     Attached as Exhibit 4 is a screen shot from Secretary of State’s election

results pages on website:

(http://sos.ga.gov/index.php/Elections/current_and_past_elections_results ) from the

November 8, 2016 election showing a DRE machine vote for a Congressional District 6

candidate from a precinct in Congressional District 5.

       7.     Attached as Exhibit 5 is a letter dated August 1, 2018 addressed to County

Election Officials and Registrars from State Elections Division Director, Chris Harvey. I

obtained this letter from Stephens County voter Packy McKibben via email who

reported that he had obtained it as a public document at the August 2, 2018 Stephens

County Board of Elections meeting.

       In accordance with 28 U.S.C. § 1746, I pledge under penalty of perjury that the

foregoing is true and correct.

       Executed on this date, August 3, 2018.

                                                         ______________________
                                                         Marilyn Marks




                                           PAGE 2
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                                                               MARKS DECLARATION
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Exhibit 2.1
Fulton County Polling Place Recap Sheet Discrepancy
April 18, 2017 (Congressional District 6 Runoff)
Polling Place SS25

Note: The number of voters applying to vote at the polling place should reconcile to the
number of ballots cast and number of votes reported with few, if any, reconciling items.
The example recap sheet shows unreconciled differences. The number of ballots cast
should not exceed the number of voters voting.

Information on Recap Sheet:

Reported ballots cast per DRE results tape=486

Reported number of voter certificates (voters voting)= 477

Reported election day votes for CD6 per official results= 479 (computed)
(http://results.enr.clarityelections.com/GA/Fulton/67378/Web02/#/)




                                                                               MARKS DECLARATION
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                                                                                                                                                       USE BALL POINT PEN
           ELECTION: (Check One)                                      0   General


                                                               i
                                                                          Primary
                                                                                                                                               Bear Down_ - You Are Making Three Copies
                                                                          Runoff (if applicable)                                          WHITE sheet to Secretary of State
                                                                          Special                                                         YEUOW sheet to Superintendent
                                                                      0 / Presidential Preference Primary                                 PINK sheet to Clerk of Superior Court or Municipal Clerk

           DATE OF ELECTION                              _Apr i                      ~~0 l 1                                                  TIME LAST VOTER VOTED                                            _
           COUNTY /MUNICIPALITY                                        fb' \~                                                                 -                                             \. .
                                        0...C..            -                         l v                                                      NUMBER OF REGISTERED
           PRECINCT                    '....-Uc2,b                                                        -.. .                               VOTERS IN PRECINCT                                                   _
                                                                       /i
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                                              DIRECT RECORD'EL.ECTRONIC VOTING MACHINE RECAP···,
          SECTION A: RECORD EACH UNIT
                                                               Before Polls Open                                  Before Polls Open                                                      After Pons-close ..
               DRE UNIT NUMBER                                 SEAL NUMBER                                        COUNT NUMBER                                                           COUNT N-UMBER
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          SECTION B: TOTAL OF ALL VOTES CAST (ALL UNITS COMBINED)
          SECTION C: NUMBERED LISTS and VOTER CERTIFICATES
                                               I           I
               ExpressPoll <See ExpressPoll Recap)                                                Supplemental                                                 Total Voter's Certificates
               Democratic Pfi~afy_'                                                  _            Democratic Primary                                       _   Democratic Primary                              _
               Republican P~(ll~ry.                                                               Republican Primary                                           Republican Primary                              _
               General/Special
                                                           9 /'./
                                                                  7 General/Special
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                                       Total (a)           . / {                           ,,.,r. ,                 Total (b) _-=L--"
                                                                                                                                 =---=-
                                                                                                                                      ·'--                            · Total (c) .,. _ ,
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                                                                      iJ
          SECTION D: TOTAL NUMBER OF PERSONS VOTING AS SHOWN BY:
                      1. Results Tapes (or.Accumulator Tape Results) (Total from Section B above)                                                                                           =        4A6
                      2. "Voters Mar,k,d" (See ExpressPoll Recap)                                LJ2L. + Supplement~! List _0
                                                                                                                            =-.._                                                           = ---177
                      3. Numbered Lists
                                  I'
                                        on ExpressPoll (a)                                       lf7'7 ~ Supplemental (b)                      h                                            = L/77
                     4. Voter's Certificates (c)                                                                                                                                            =        417
          NOT,E: N.ymbers from ,P,1, 02, 03, and 04 should
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   ram

         We, the unders~n~Managers, hereby 9'ftify th~Hhe above is a true and correct accounting on this
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         Manager                   /                                                        Aaalstant Manager                                      -           Aaalstant Manager;,-               "   -
                                                                                                                                                                                           MARKS DECLARATION
                                                                                                                                                                                                     Form RS-DRE-10
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Exhibit 2.2
Fulton County Polling Place Recap Sheet Discrepancy
June 20, 2017 (Congressional District 6 Runoff)
Polling Place RW20

Note: The number of voters applying to vote at the polling place should reconcile to the
number of ballots cast and number of votes reported with few, if any, reconciling items.
The example recap sheet shows unreconciled differences. The number of voter
certificates (voters voting) should be equal to the number of ballots cast.

Information on Recap Sheet:

Reported ballots cast per DRE results tape=347

Reported number of voter certificates (voters voting)= 362

Reported number of voters recorded in electronic pollbook=345




                                                                               MARKS DECLARATION
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                                                                        .       Page
                                                                              USE    273
                                                                                  BALL   of 369
                                                                                       POINT  PEN
                                                                   General


                                               1
    ELECTION: (Check One)                                  0                                                          Bear Down - You Are Making Three ~opie_s
                                                                   Primary                 ~
                                                                   Runoff (if applicable)  -·                       WHITE sheet to Secretary of State



                                              ---.f0 \ fuV\..'
                                                                   Special                                          YELLOW sheet to Superintendent
                                                           0       Presidential Preference Primary                  PINK sheet to Clerk of Superior Court or Municipal Clerk

                                                                       QQ , QU l l                                                                         15 3
                                                                                                                                                                     1

    DATE OF ELECTION ~) Y\ f..                                                                                      TIME LAST VOTER VOTED
    COUNTY /MUNICIPALITY

    PRECINCT                  n/ \)9,_Q  7
                                                                                                                    NUMBER OF REGISTERED
                                                                                                                    VOTERS IN PRECINCT


                                         DIRECT RECORD ELECTRONIC VOTING MACHINE RECAP
    SECTION A: RECORD EACH UNIT
                        Before Polls Open                                                       Before Polls Open         After Polls Close            After Polls Close
      DRE UNIT NUMBER   SEAL NUMBER                                                             COUNT NUMBER              SEAL NU~ER                   coui~7~MBER
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  SECTION B: TOTAL OF ALL VOTES CAST (ALL UNITS COMBINED)
. SECTION C: NUMBERED LISTS and VOTER CERTIFICATES
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       E~pressPoll (See ExpressPoll Recap)                                           Su6plemental                                   Total Voter's Certificates ~/ ;J__


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       Democratic Primary______                                                      Democratic Primary                     _       Democratic Primary         ..., ( 0--
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       Republican Primary __                                                         Republican Primary                             Republican Primary                    _

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                                                                                   ~              Total {b) _---==
                                                                                                                 ./__                           Total (c)     Ji r
                ~       (   \                                                      }
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    SECTION D: T0TAL NUMBER OF PERSOI\IS VOTING AS SHOWN BY:
            1. -Results {ap~s (or Accumulator Ta~_e\~esu!!§) (Total from Section B above)
            2. "Voters ~~rke~ (See ExpressPoll Recap)3 S + Supplemental List ~             1-
                                                                                                                                    ~t J
            3. Numbered ~ists ~'} ExpressPoll {a) \         + Supplemental (b)         _                                                                             =_..5_b_Z.:
                                                                                                                                                                             ~
       4. Voter's Certificates (c)                                                                                                                                   =
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Exhibit 2.3
Fulton County Polling Place Recap Sheet Discrepancy
April 18, 2017 (Congressional District 6 Special Election)
Polling Places SS02A/B, SS19A/B, SS20, SS26 (combined)

Note: The number of voters applying to vote at the polling place should reconcile to the
number of ballots cast and number of votes reported with few, if any, reconciling items.
The example recap sheet shows unreconciled differences. The number of ballots cast
should not exceed the number of voters applying to vote.

Information on Recap Sheet:

Reported ballots cast per DRE results tape= 1,962

Reported number of voter certificates (voters voting)= not reported, unknown

Electronic Pollbook voter count (voters voting)= 1,790




                                                                               MARKS DECLARATION
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                                                                                                              USE BALL POINT PEN

 · I 615-V
  ELECTION: (Check One)                0    General
       ~                               0    Primary
                                                                                                     Bear Down, - You Are Making Three Copies
                            Q__      \ O.,i Runoff (if applicable)                                  WHITE sheet to Secretary of State
                                      'P.   Special                                                 YELLOW sheet to Superintendent
                                   l J"' ~ 'Presidential Preference Primary                         PINK sheet to Clerk of Superior Court or Municipal Clerk
 DATE OF ELECTIONfrV( l
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                             DIRECT RECORD ELECTRONIC VOTING MACHINE RECAP
 SECTION A: RECORD EACH UNIT
                                     Before Polls Open              Before Polls Open                    After Polls Close             After Polls Close
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SECTION B: TOTAL OF ALL VOTES CAST (ALL UNITS COMBINED)                                                  ----'-----'----
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SECTION C: NUMBERED LISTS and VOTER CERTIFICATES
   ExpressPoll /See ExpressPon Recap)                  Supplemental                                                Total Voter's Certificates
   Democratic Primary                         _        Democratic Primary                                 _        Democratic Primary                      _
   Republican.Primary                         _        Republican Primary                                 _        Republican Primary                      _
   General/Special                                     General/Special                                     :I      General/Special
                    Total (a)                 _                         Total (b)                         ~                   Tot~I (c)                   _



SEqTION D: TOTAL NUMBER OF PERSONS VOTING AS SHOWN BY:
      1. Results Tapes (or Accumulator Tape Results) (Total from Section B above)
      2. "Voters Marked" (See ExpressPoll Recap) \ 7 q,u+ Supplemental List-=-'--
    ! 3. Numbered Lists on ExpressPoll (a) \ 1 ~\) + Supplemental (b) (l        .                                                         =-----
      4. Voter's Certificates (c)
NOTE: Numbers from D1, D2l ~3, and D4 should match. If not, explajP difference here..'
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We, the under~l}_,ed Managers, hereby certify
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                     Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 276 of 369


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                                                                                                          USE BALL POINT PEN
 ELECTION: (Check One)                        0    General
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                                                   Runoff {if applicable)                   WHITE sheet to Secretary of State
                f                                  Special                                  YELLOW sheet to Superintendent
                                              I?   Presidential Preference Primary                                     ?'
                                                                                            PINK sheet to Clerk Superior Court or Municipal Clerk

 DATEOFELECTION~ri                                 I Ii ~ll                                 TIME LAST VOTER VOTED                             ].   ,(}._S../
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                                DIRECT RECORD ELECTRONIC VOTING MACHINE RECAP
 SECTION A: RECORD EACH UNIT


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SECTION B: TOTAL OF ALL VOTES CAST (ALL UNITS COMBINED)
SECTION C: NUMBERED LISTS and VOTER CERTIFICATES
   ExpressPoll csee ExpressPoll Recap)                          Supplemental                                     Total Voter's Certificates
   Democratic Primary                                   _       Democratic Primary                       _       Democratic Primary                           _
   Republican ~rimary                                   _       Republican Primary                       _        Republican Primary                          _
   General/Special                                              General/Special                                  General/Special
             Total (a)                              _                     Total (b)                      _                 Total (c)                          _



SECTION D: TOTAL NUMBER OF PERSONS VOTING AS SHOWN BY:
   1. Results Tapes (or Accumulator Tape Results) (Total from Section B above)                                                            =    \v._\,L
         2. "Voters Marked" (See ExpressPoll Recap) + Supplemental List                           _.J___                                  =    \7 ½ \
         3. Numbered Lists on ExpressPoll (a)     + Supplemental (b)            _
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   4. Voter's Certificates (c)                              ··•
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NOTE:c....Numbers from D1, b2, b3, and 04 should match. If not, explain difference here:                                                                        _
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Manager                                                                                                          Assls1ant Mar;iager
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                                                                                                                                                       Form RS-DRE-10
                  Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 277 of 369


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                                                                                                USE BALL POINT PEN
 ELECTION: (Check One) ' 0                 General
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                                           Runoff (if applicable}                -WHITE sheet to Secrelary of State
              (~                           Special                                YELLOW sheet to Superintendent
            ()·c.                    0     Presidential Preference Primary
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                                                                                  PINK sheet to Clerk of Superior Court or Municipal Clerk

  DATE OF EL.ECTION
_ COUNTY / MUNICIPALITY ~~
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                             DIRECT RECORD ELECTRONIC VOTING MACHINE RECAP
 SECTION A: REC.ORD EACH UNIT
                                 Before Polls Open           Before Polls Open         After Polls Close          After Polls Close
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SECTION B: TOTAL OF ALL VOTES CAST (ALL UNITS COMBINED)
SECTION C: NUMBERED LISTS and VOTER CERTIFICATES
   ExpressPo!I /See Expresseon Beca11l,               Supplemental                               Total Voter's Certificates
   Democratic Primary                            _    Democratic Primary_,,__               _    Democratic Rrimary                      _
   Republican Primary                    ___,_, __    Republican Primary                    _    Republican Primary                     _
   GeneraVSpecial                                     General/Special                            GeneraVSpecial
                 Total (a)                  _,;'---           ~ Total (b>--------''---                      Total (c)                   _


SECTION D: TOTAL NUMBER OF PERSONS VOTING AS SHOWN BY:
     1. Results Tapes (or Accumulator Tape Results) (Total from Section B above)
     2. "Voters Marked" (See ExpressPoll Recap}\' qi)         + Supplemental List----'\ __
     3. Numbered Lists on ExpressPoll (a) \ 1 ~ V + Supplemental (b)                    _                               =-----
     4. Voter's Certificates (c)
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· NOTE: Numbers from D1, D2, D~~d 04 should match. If not, explain difference here:
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Exhibit 2.4
Fulton County Polling Place Recap Sheet Discrepancy
December 5, 2017 (Atlanta Municipal Election Runoff)
Polling Place 07F 08L

Note: The number of voters applying to vote at the polling place should reconcile to the
number of ballots cast and number of votes reported with few, if any, reconciling items.
The example recap sheet shows unreconciled differences. The number of ballots cast
should not exceed than the number of voters applying to vote.

Information on Recap Sheet:

Reported ballots cast per DRE results tape=486

Reported number of voter certificates (voters voting)= 477

Reported election day votes for CD6 per official results= 479 (computed)
(http://results.enr.clarityelections.com/GA/Fulton/67378/Web02/#/)




                                                                               MARKS DECLARATION
                Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18
                                                                 USE Page
                                                                     BALL 279 of 369
                                                                          POINT   PEN
ELECTION: (Check Onei                 General                                       Bear Down - You Are Making Three Copies
                                      Primary
                                      Runoff (if applicable)                       WHITE sheet to Secretary of State
                                      Special                                      YELLOW sheet to Superintendent
                                0     Presidential Preference Primary              PINK sheet to Clerk of Superior Court or Municipal Clerk

DATE OF ELECTION                                                )1                 TIME LAST VOTER VOTED                                         _
COUNTY /MUNICIPAL!
                                                                                   NUMBER OF REGISTERED
                                                                                   VOTERS IN PRECINCT


                   DIRECT RECORD ELECTRONIC VOTING MACHINE RECAP
SECTION A: RECORD EACH UNIT
                      Before Polls Open                        Before Polls Open                                     After Polls Close


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SECTION B: TOTAL OF ALL VOTES CAST (ALL UNITS COMBINED)
SECTION C: NUMBERED LISTS and VOTER CERTIFICATES
  ExpressPoll (Sea ExpressPoll Recap} Supplemental                                                Total Voter's Certificates
  Democratic Primary     ./                        Democratic Primary---,,L-+--                   Democratic Primary_-r':..___
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SECTION D: TOTAL NUMBER OF PERSONS VOTING AS SHOWN BY:
     1. Results Tapes (or Accumulator Tape Results) (Total from Section B above)                                         =        ll
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     2. ''Voters Marked" {See ExpressPo11 Recap)    I I Ip l    + Supplemental List O                                    =~  l l~\~n,_(__
     :i Numbered Lists on Express Poll {a)          IQ         + Supplemental (b) t)                                     = ~-.{"7~--
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     4. Voter's Certificates (c)                                                                                         =         I ':/f/i
NOTE:   Numbers from D1, D2, D3, and D4 should match. If not, explain difference here:              I :5Sl\c::"S      W f e-J.- .Pff'S 5,
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We, the undersigned Managers, hereby certify that the above is a true and correct accounting on this
                             day of        '/)f<.([l:he,f                    ,2 0/1        .SIGNEDINTRIPLICATE


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                                                               MARKS DECLARATION
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                                                               MARKS DECLARATION
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  DECLARATION OF LAURIE ADERHOLT MITCHELL
      Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 286 of 369




                IN THE UNITED STATES DISTRICT COURT FOR
                   THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                                                )
DONNA CURLING, et al.                           )
                                                )
Plaintiff,                                      )
                                                )   CIVIL ACTION FILE NO.: 1:17-cv­
vs.                                             )   2989-AT
                                                )
BRIAN P. KEMP, et al.                           )
                                                )
Defendant.                                      )
                                                )
------------ )

             DECLARATION OF LAURIE ADERHOLT MITCHELL


      LAURIE ADERHOLT MITCHELL hereby declares as follows:

             1. I am have been a Georgia voter since 2015 and am currently

                registered to vote at 408 E. Wesley Road NE, Atlanta, GA 30305. I

                have been continuously registered to vote at this address since June

                20, 2015.

             2. I have not made changes to my voter registration while living at this

                address.

             3. I reside with my husband Mark Mitchell, who is also registered to

                vote at the above address, and has been continuously registered at this

                address since February 10, 2014.




                                                                             MITCHELL DECLARATION
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                                                             MITCHELL DECLARATION
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      remained at Precinct 07F with the same polling location at St. Philip's

      Cathedral. (Exhibit C)

   11. I reviewed both my husband's and my registration information on My

      Voter Page and noted that I am assigned to City Council District 8,

      while he is assigned to City Council District 7, although the City

      Council District maps appear to show that we live in District 7.

   12. I plan to vote in the November 2018 election and am concerned that

      I may be given an inaccurate ballot, or that my name may not be

      found in the pollbook, or that I will be otherwise disenfranchised.

   13.After reading of reports of widespread errors in the pollbooks, I am

      also concerned about the impact of such discrepancies on the election

      as a whole, and the impact of widespread errors on voter confidence

      and voter turnout.



I declare under penalty of perjury, in accordance with 28 U.S.C. § 1746, that

the foregoing is true and correct.



Executed on this date, July 30, 2018.                          ,1A'p,1/I }
                                ~~ J'akJ{IJ!/
                                 Laurie Aderholt Mitchell
                                                                    MITCHELL DECLARATION
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  Case 1:17-cv-02989-AT Document 258-1 Filed 08/03/18 Page 290 of 369




  A TTENTl0N: This is your NEW Voter Registration Precinct Card. It replaces any other Voter
                  Cardyou currentlyhave in your possession.Keep for your records.
                           (Cut or fold on the dottedlinefor wallet card)
----------               - ---- - - -- ------      ----------------
                                         YOUR NEW RESIDENCE ADDRESS WITHIN
If you change your address within the                                      COUNTY (PleasePrint)
county, complete this form and mail to
the return address on the front of this
                                                       Nu mber                     Street         Apartment
card .
Note: Change of addressmustbe
                                                         City                                      Zip Code
submittedat.feast30-dayspreceeding
any election.
If you move to another county or if             ~----------------------
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there is a change in your,J~gal name,           0
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you must complete a .ne.wvoter                                                                    Z ip Code
registration application in order ,to
remain qualified to vote.
                                                      Dayt11ne Tele phone                               Date
This card may not be used as evidenceto
prove United States Citizenshipor as
identificationto vote. (ref.1996 UnitedStates                                VOTER'S SIGNATURE
Public Law 104-99)




                     Visit our website@ www.mvp.sos.ga.gov/MVP, download the GA Votes
                                   app or contact your local registrar's p_ffu;e.

    For Android




                                                                                                     MITCHELL DECLARATION
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                                                             MITCHELL DECLARATION
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                                                                    Voter Page




      Corporations                Elections              News Room                 Professional Licensing Boards                   Securities            Charities

    My Voter Page

     Voter Information                                                            Polling Place for State, County, and Municipal Elections

        LAURIE ADERHOLT MITCHELL                                                      Precinct 08H
        408 WESLEY RD NW                                                              SUTTON MIDDLE SCHOOL
        ATLANTA, GA, 30305                                                            2875 NORTHSIDE DRIVE NW
        Race: White not of Hispanic Origin                                            ATLANTA, GA, 30305 - 0000
        Gender: Female Status: Active                                                 Election Day polling place hours are 7:00 am - 7:00 pm.
        Registration Date: 06/20/2015
                                                                                       Directions to Polling Place
            Change Voter Information
                                                                                    Click Here for Early Voting Locations and Times
        Click Here for Sample Ballots                                               Click Here for Municipal Polling Place
                                                                                    NOTE: Non-specific rural addresses may not be available.




     Absentee Ballot Request Information                                           Your Elected Officials


        If you prefer to vote off-site, mail or fax your absentee                     Candidates Elected:        Officials Elected Statewide
                                                                                      District Maps:             Congressional District Maps
        ballot application to your county registrar.
                                                                                      U.S. Congress:             District 005
        Click Here for an Absentee Ballot Application                                 Georgia Senate:            District 039

        Click here for Absentee Ballot status                                         Georgia House:             District 054
                                                                                      Click Here for Qualified Candidates

                                                             Check your Provisional Ballot Status

      Please Note: Polling places are subject to change. Always check your designated polling place location via this website prior to going to vote.

   Newly Registered Voters: Please review your registration date which is located under your name and address above. You must be registered on or
   before the established deadlines to vote in upcoming elections. Please view the current election calendar to confirm the first election in which you will
   be eligible to vote.

                                                           Print / Email Precinct Card         Back




                                                                                                                                                                     Home | GA.gov Home




https://www.mvp.sos.ga.gov/MVP/voterDetails.do                                                                                                                                       1/1
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7/29/2018                 Case 1:17-cv-02989-AT Document 258-1
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                                                                    Voter Page




      Corporations                Elections              News Room                 Professional Licensing Boards                   Securities            Charities

    My Voter Page

     Voter Information                                                            Polling Place for State, County, and Municipal Elections

        MARK ALEXANDER MITCHELL                                                       Precinct 07F
        408 E WESLEY RD NE                                                            CATHEDRAL OF SAINT PHILIP
        ATLANTA, GA, 30305                                                            2744 PEACHTREE RD NW
        Race: White not of Hispanic Origin                                            ATLANTA, GA, 30305 - 2937
        Gender: Male Status: Active                                                   Election Day polling place hours are 7:00 am - 7:00 pm.
        Registration Date: 02/10/2014
                                                                                       Directions to Polling Place
            Change Voter Information
                                                                                    Click Here for Early Voting Locations and Times
        Click Here for Sample Ballots                                               Click Here for Municipal Polling Place
                                                                                    NOTE: Non-specific rural addresses may not be available.




     Absentee Ballot Request Information                                           Your Elected Officials


        If you prefer to vote off-site, mail or fax your absentee                     Candidates Elected:        Officials Elected Statewide
                                                                                      District Maps:             Congressional District Maps
        ballot application to your county registrar.
                                                                                      U.S. Congress:             District 005
        Click Here for an Absentee Ballot Application                                 Georgia Senate:            District 039

        Click here for Absentee Ballot status                                         Georgia House:             District 054
                                                                                      Click Here for Qualified Candidates

                                                             Check your Provisional Ballot Status

      Please Note: Polling places are subject to change. Always check your designated polling place location via this website prior to going to vote.

   Newly Registered Voters: Please review your registration date which is located under your name and address above. You must be registered on or
   before the established deadlines to vote in upcoming elections. Please view the current election calendar to confirm the first election in which you will
   be eligible to vote.

                                                           Print / Email Precinct Card         Back




                                                                                                                                                                     Home | GA.gov Home




https://www.mvp.sos.ga.gov/MVP/voterDetails.do                                                                                                                                       1/1
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         DECLARATION OF REBECCA WILSON
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                                                              WILSON DECLARATION
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                                                              WILSON DECLARATION
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                                                              WILSON DECLARATION
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   Wait times,                               A rrival to Check-in at E-Pollbook
              NOVEMBER 6, 2012 PRESI DENTIA L GENERA L ELECTI ON
     Prince George’s County, MD                       Precinct 17-01        Mt. Rainier Elementary S chool


Chief judges were instructed to report wait times                           Arrival  Check-in Wait time
longer than 90 minutes to the county board of                                Time      Time    (mins)
elections. No directions were provided for how to
                                                                             7:00 AM  8:30 AM         90
assess wait times other than informal estimates. We
decided to gather the data in a more precise way.                            7:05 AM  8:34 AM         89
                                                                             7:15 AM  8:35 AM         80
Data collection method                                                       7:20 AM  8:45 AM         85
Arriving voters were periodically handed slips of paper                      7:25 AM  8:46 AM         81
with their arrival time written on it and instructed                         7:40 AM  9:05 AM         85
to give it to the election judge at check-in. Check-in                       7:45 AM  9:07 AM         82
judges wrote the current time on the paper and gave
                                                                             8:11 AM  9:52 AM        101
it to chief judges. After check-in they usually had
to wait an additional 10 to 20 minutes for a DRE to                          8:20 AM 10:05 AM        105
become available but we did not fornally gather that                        11:10 AM 12:25 PM         75
data.                                                                       12:00 PM   1:05 PM        65
                                                                             1:15 PM   2:00 PM        45
TURNOUT                                                                      1:30 PM   2:20 PM        50
51% of voters registered in this precinct (1582 of                           1:45 PM   2:30 PM        45
3112) voted on DREs on election day.
                                                                             2:00 PM   2:45 PM        45
BALLOT LENGTH                                                                2:30 PM   3:10 PM        40
The ballot contained 21 contests, ­including 7 state                         3:00 PM   3:30 PM        30
ballot questions and 7 county ballot questions.                              3:30 PM   3:50 PM        20
                                                                             4:00 PM   4:35 PM        35
EQUIPMENT                                                                    5:17 PM   6:02 PM        45
Thirteen DREs were deployed in this precinct. One
                                                                             5:55 PM   6:35 PM        40
had to be removed from use at approximately 2:45pm
because of calibration problems with the touchscreen.                        7:23 PM   7:35 PM        12


2 HOURS
              552 VOTE D ON DREs                                               372 VOTE D ON DREs
                                                      477 VOTE D ON DREs                             181 VOTE D
                                                                                                         ON DREs


  90
minutes
                              NOTE:
                         Wait time data
                      were not gathered
                       during this period
 1 HOUR               of heaviest turnout
                        because election
                        judges were too
                      busy ­managing the
                        complex queue,
  30                     formed of two
minutes                intersecting loops
                        so that all voters
                      could wait indoors
                         in the hallway.



       7:00    8:00      9:00       10:00     11:00   12:00   1:00   2:00    3:00   4:00   5:00   6:00    7:00     8:00
       AM      AM        AM          AM        AM      PM     PM     PM      PM     PM     PM     PM      PM       PM
